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         THIS DISCLOSURE STATEMENT IS BEING SUBMITTED FOR APPROVAL BUT HAS NOT
         BEEN APPROVED BY THE BANKRUPTCY COURT. THIS IS NOT A SOLICITATION OF
         ACCEPTANCE OR REJECTION OF THE PLAN. ACCEPTANCE OR REJECTION OF THE
         PLAN MAY NOT BE SOLICITED UNTIL THIS DISCLOSURE STATEMENT HAS BEEN
         APPROVED BY THE BANKRUPTCY COURT. THE INFORMATION IN THE PLAN AND THIS
         DISCLOSURE STATEMENT IS SUBJECT TO CHANGE. THE DEBTOR MAY AMEND,
         SUPPLEMENT, OR OTHERWISE MODIFY THIS DISCLOSURE STATEMENT PRIOR TO
         THE DISCLOSURE STATEMENT HEARING.



                                        IN THE UNITED STATES BANKRUPTCY COURT
                                             FOR THE DISTRICT OF DELAWARE

             ------------------------------------------------------------- x
                                                                           :
             In re:                                                        :       Chapter 11
                                                                           :
             AIG FINANCIAL PRODUCTS CORP.,1                                :       Case No. 22-11309 (_____)
                                                                           :
                                                                           :
                                          Debtor.                          :
                                                                           :
             ------------------------------------------------------------- x


                    DISCLOSURE STATEMENT FOR THE PLAN OF REORGANIZATION FOR
             AIG FINANCIAL PRODUCTS CORP. UNDER CHAPTER 11 OF THE BANKRUPTCY CODE

               YOUNG CONAWAY STARGATT &                                               LATHAM & WATKINS LLP
                        TAYLOR, LLP
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                 Kara Hammond Coyle (No. 4410)                            Keith A. Simon (pro hac vice admission pending)
                    Shane M. Reil (No. 6195)                            David Hammerman (pro hac vice admission pending)
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                                     Proposed Co-Counsel for Debtor and Debtor-in-Possession

         Dated: December 14, 2022



         1
               The Debtor in this case, along with the last four digits of the Debtor’s federal tax identification number, is: AIG
               Financial Products Corp. (9410). The Debtor’s address is 50 Danbury Road, Wilton, Connecticut 06897.
29958254.1



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EXHIBIT A       Plan of Reorganization

EXHIBIT B       Financial Projections

EXHIBIT C       Liquidation Analysis

 THE DEBTOR HEREBY ADOPTS AND INCORPORATES EACH EXHIBIT ATTACHED
   TO THIS DISCLOSURE STATEMENT BY REFERENCE AS THOUGH FULLY SET
                            FORTH HEREIN.




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       THE VOTING DEADLINE IS 5:00 P.M. PREVAILING EASTERN TIME ON
                          [FEBRUARY 22], 2023

              (UNLESS THE DEBTOR EXTENDS THE VOTING DEADLINE).
    TO BE COUNTED AS A VOTE TO ACCEPT OR REJECT THE PLAN, THE
 VOTING AND CLAIMS AGENT MUST ACTUALLY RECEIVE YOUR BALLOT ON
  OR BEFORE THE VOTING DEADLINE AS SET FORTH IN THE DISCLOSURE
                        STATEMENT ORDER.




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                    IMPORTANT INFORMATION FOR YOU TO READ

     THE DEBTOR IS PROVIDING THE INFORMATION IN THIS DISCLOSURE
STATEMENT FOR THE PURPOSE OF SOLICITING VOTES TO ACCEPT THE PLAN.
NOTHING IN THIS DISCLOSURE STATEMENT MAY BE RELIED UPON OR USED
BY ANY ENTITY FOR ANY PURPOSE OTHER THAN TO DETERMINE HOW TO
VOTE ON THE PLAN.

     NO LEGAL OR TAX ADVICE IS PROVIDED TO YOU BY THIS DISCLOSURE
STATEMENT. THE DEBTOR URGES EACH HOLDER OF A CLAIM OR AN EQUITY
INTEREST TO CONSULT WITH ITS OWN ADVISORS WITH RESPECT TO ANY
LEGAL, FINANCIAL, SECURITIES, TAX OR BUSINESS ADVICE IN REVIEWING
THIS DISCLOSURE STATEMENT, THE PLAN AND EACH OF THE PROPOSED
TRANSACTIONS CONTEMPLATED THEREBY.            FURTHERMORE, THE
BANKRUPTCY COURT’S APPROVAL OF THE ADEQUACY OF DISCLOSURE
CONTAINED IN THIS DISCLOSURE STATEMENT DOES NOT CONSTITUTE THE
BANKRUPTCY COURT’S APPROVAL OF THE MERITS OF THE PLAN.

     IT IS THE DEBTOR’S POSITION THAT THIS DISCLOSURE STATEMENT
DOES NOT CONSTITUTE, AND MAY NOT BE CONSTRUED AS, AN ADMISSION OF
FACT, LIABILITY, STIPULATION OR WAIVER. RATHER, THIS DISCLOSURE
STATEMENT SHALL CONSTITUTE A STATEMENT MADE IN SETTLEMENT
NEGOTIATIONS RELATED TO CONTESTED MATTERS, ADVERSARY
PROCEEDINGS, AND OTHER PENDING OR THREATENED LITIGATION OR
ACTIONS.

      NO RELIANCE SHOULD BE PLACED ON THE FACT THAT A PARTICULAR
LITIGATION CLAIM OR PROJECTED OBJECTION TO A PARTICULAR CLAIM IS,
OR IS NOT, IDENTIFIED IN THIS DISCLOSURE STATEMENT. THE DEBTOR OR
THE REORGANIZED DEBTOR MAY SEEK TO INVESTIGATE, FILE, AND
PROSECUTE CLAIMS AND MAY OBJECT TO CLAIMS AFTER THE
CONFIRMATION OR EFFECTIVE DATE OF THE PLAN IRRESPECTIVE OF
WHETHER THIS DISCLOSURE STATEMENT IDENTIFIES ANY SUCH CLAIMS OR
OBJECTIONS TO CLAIMS.




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     THIS DISCLOSURE STATEMENT CONTAINS, AMONG OTHER THINGS,
SUMMARIES OF THE PLAN, CERTAIN STATUTORY PROVISIONS, CERTAIN
EVENTS IN THE DEBTOR’S CHAPTER 11 CASE, AND CERTAIN DOCUMENTS
RELATED TO THE PLAN THAT ARE ATTACHED HERETO AND INCORPORATED
HEREIN BY REFERENCE. THESE SUMMARIES ARE QUALIFIED IN THEIR
ENTIRETY TO THE EXTENT THAT THE SUMMARIES DO NOT SET FORTH THE
ENTIRE TEXT OF SUCH DOCUMENTS OR STATUTORY PROVISIONS OR EVERY
DETAIL OF SUCH EVENTS. IN THE EVENT OF ANY CONFLICT, INCONSISTENCY
OR DISCREPANCY BETWEEN A DESCRIPTION IN THIS DISCLOSURE
STATEMENT AND THE TERMS AND PROVISIONS OF THE PLAN OR ANY OTHER
DOCUMENTS INCORPORATED HEREIN BY REFERENCE, THE PLAN OR SUCH
OTHER DOCUMENTS WILL GOVERN AND CONTROL FOR ALL
PURPOSES. EXCEPT WHERE OTHERWISE SPECIFICALLY NOTED, FACTUAL
INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT HAS BEEN
PROVIDED BY THE DEBTOR’S MANAGEMENT. THE DEBTOR DOES NOT
REPRESENT OR WARRANT THAT THE INFORMATION CONTAINED HEREIN OR
ATTACHED HERETO IS WITHOUT ANY MATERIAL INACCURACY OR OMISSION.

     THE DEBTOR’S MANAGEMENT HAS REVIEWED THE FINANCIAL
INFORMATION PROVIDED IN THIS DISCLOSURE STATEMENT. ALTHOUGH THE
DEBTOR HAS USED ITS REASONABLE BUSINESS JUDGMENT TO ENSURE THE
ACCURACY OF THIS FINANCIAL INFORMATION, THE FINANCIAL
INFORMATION CONTAINED IN, OR INCORPORATED BY REFERENCE INTO, THIS
DISCLOSURE STATEMENT HAS NOT BEEN AUDITED (UNLESS EXPRESSLY
PROVIDED HEREIN).

     THE DEBTOR IS GENERALLY MAKING THE STATEMENTS AND
PROVIDING THE FINANCIAL INFORMATION CONTAINED IN THIS DISCLOSURE
STATEMENT AS OF THE DATE HEREOF WHERE FEASIBLE, UNLESS OTHERWISE
SPECIFICALLY NOTED. ALTHOUGH THE DEBTOR MAY SUBSEQUENTLY
UPDATE THE INFORMATION IN THIS DISCLOSURE STATEMENT, THE DEBTOR
HAS NO AFFIRMATIVE DUTY TO DO SO. HOLDERS OF CLAIMS REVIEWING
THIS DISCLOSURE STATEMENT SHOULD NOT INFER THAT, AT THE TIME OF
THEIR REVIEW, THE FACTS SET FORTH HEREIN HAVE NOT CHANGED SINCE
THIS DISCLOSURE STATEMENT WAS FILED.        THE DEBTOR HAS NOT
AUTHORIZED ANY ENTITY TO GIVE ANY INFORMATION ABOUT OR
CONCERNING THE PLAN OTHER THAN THAT WHICH IS CONTAINED IN THIS
DISCLOSURE STATEMENT.     THE DEBTOR HAS NOT AUTHORIZED ANY
REPRESENTATIONS CONCERNING THE DEBTOR OR THE VALUE OF ITS
PROPERTY OTHER THAN AS SET FORTH IN THIS DISCLOSURE STATEMENT.




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     HOLDERS OF CLAIMS ENTITLED TO VOTE TO ACCEPT OR REJECT THE
PLAN MUST RELY ON THEIR OWN EVALUATION OF THE DEBTOR AND THEIR
OWN ANALYSES OF THE TERMS OF THE PLAN IN DECIDING WHETHER TO
VOTE TO ACCEPT OR REJECT THE PLAN. IMPORTANTLY, PRIOR TO DECIDING
WHETHER AND HOW TO VOTE ON THE PLAN, EACH HOLDER OF A CLAIM IN A
VOTING CLASS SHOULD REVIEW THE PLAN IN ITS ENTIRETY AND CONSIDER
CAREFULLY ALL OF THE INFORMATION IN THIS DISCLOSURE STATEMENT
AND ANY EXHIBITS HERETO, INCLUDING THE RISK FACTORS DESCRIBED IN
GREATER DETAIL IN SECTION VI HEREIN, “PLAN-RELATED RISK FACTORS.”




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                                                   I.
                                           EXECUTIVE SUMMARY

       AIG Financial Products Corp., as debtor and debtor-in-possession (“AIG FP” or
the “Debtor”), submits this Disclosure Statement pursuant to section 1125 of chapter 11 of title
11 of the United States Code, 11 U.S.C. §§ 101-1532 (as amended from time to time, the
“Bankruptcy Code”) in connection with the solicitation of votes on the Plan of Reorganization
for AIG Financial Products Corp. Under Chapter 11 of the Bankruptcy Code (as may be amended,
modified, or supplemented from time to time, the “Plan”),2 which was filed by the Debtor with
the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”) on
December 14, 2022. A hearing to consider confirmation of the Plan (the “Confirmation
Hearing”) is scheduled to commence at [●] prevailing Eastern Time on [March 1], 2023 before
the Bankruptcy Court. A copy of the Plan is attached hereto as Exhibit A.

       Prior to soliciting votes on a proposed plan of reorganization, section 1125 of the
Bankruptcy Code requires debtors to prepare a disclosure statement containing information of a
kind, and in sufficient detail, to enable a hypothetical reasonable investor to make an informed
judgment regarding acceptance or rejection of the plan of reorganization. As such, this Disclosure
Statement is being submitted in accordance with the requirements of section 1125 of the
Bankruptcy Code.

        On [●], 2023, the Bankruptcy Court entered the [●] (the “Disclosure Statement Order”)
which, among other things, (a) approved the dates, procedures and forms applicable to the process
of soliciting votes on and providing notice of the Plan, as well as certain vote tabulation procedures
and (b) established the deadline for filing objections to the Plan and scheduling the hearing to
consider confirmation of the Plan.

        This Executive Summary is being provided as an overview of the material items addressed
in this Disclosure Statement and the Plan, which is qualified by reference to the entire Disclosure
Statement and by the actual terms of the Plan (and including all exhibits attached hereto and to the
Plan), and should not be relied upon for a comprehensive discussion of this Disclosure Statement
and/or the Plan. This Disclosure Statement includes, without limitation, information about:

         •    the Debtor’s prepetition financial history;3

         •    the events leading up to the commencement of the above-captioned chapter 11 case
              (the “Chapter 11 Case”);

         •    the significant events that the Debtor anticipates will occur during the Chapter 11 Case;


2
    All capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Plan. To the
    extent that a definition of a term in the text of this Disclosure Statement and the definition of such term in the Plan
    are inconsistent, the definition included in the Plan shall control and govern.
3
    Additional details regarding the Debtor and the Chapter 11 Case can be found in the Declaration of William C.
    Kosturos, Chief Restructuring Officer of the Debtor, in Support of Chapter 11 Petitions and First Day Pleadings
    (the “First Day Declaration”), filed concurrently herewith.

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        •    the solicitation procedures for voting on the Plan;

        •    the Confirmation process and the voting procedures that Holders of Claims who are
             entitled to vote on the Plan must follow for their votes to be counted;

        •    certain terms and provisions of the Plan, including certain effects of confirmation of
             the Plan, certain risk factors relating to the Debtor or the Reorganized Debtor, the Plan
             and the manner in which distributions will be made under the Plan; and

        •    the proposed reorganization of the Reorganized Debtor if the Plan is confirmed and
             becomes effective.

A.      PURPOSE AND EFFECT OF THE PLAN

        1.      Plan of Reorganization Under Chapter 11 of the Bankruptcy Code

        The Debtor is reorganizing pursuant to chapter 11 of the Bankruptcy Code, which is the
principal business reorganization chapter of the Bankruptcy Code. As a result, the confirmation
of the Plan means that the Reorganized Debtor will continue to operate going forward and conduct
an orderly wind down of its business. Additionally, as discussed in greater detail in Article X.H
of the Plan, titled “Binding Nature of Plan,” a bankruptcy court’s confirmation of a plan binds
debtors, any entity acquiring property under the plan, any holder of a claim or equity interest in a
debtor and all other entities as may be ordered by the bankruptcy court in accordance with the
applicable provisions of the Bankruptcy Code to the terms and conditions of the confirmed plan,
whether or not such entity voted on the particular plan or affirmatively voted to reject the plan.

        2.      Financial Restructurings Under the Plan

        As of the date hereof, American International Group, Inc. (the “Parent” or AIG Inc.”) is
the Holder of (a) the Prepetition Revolving Loan Claim in the Allowed amount of $37.4 billion
and (b) 100% of the Existing AIG FP Interests. The Plan provides for the full satisfaction,
settlement, discharge, and release of the Parent’s Prepetition Revolving Loan Claim in exchange
for the Parent’s retention of its Existing AIG FP Interests. Under the Plan, the Parent will not
retain any Existing AIG FP Interests or receive any other distribution on account of its Allowed
Existing AIG FP Interests.

       As of the date hereof, the Prepetition Revolving Loan Claim is an unsecured Claim against
the Debtor and, therefore, ranks pari passu with the General Unsecured Claims and Intercompany
Claims against the Debtor. The Prepetition Revolving Loan Claim is, however, senior to the
Subordinated Claims against the Debtor because such Subordinated Claims are expressly
subordinated and junior to all other obligations of the Debtor under the terms of the DCP Plans.




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        With respect to the Subordinated Claims, the Plan provides as follows:

             •    If and only if Class 7 (Subordinated Claims) votes to accept the Plan, each DCP
                  Claimant will receive, on or as soon as reasonably practicable after the Effective
                  Date, in full satisfaction, settlement, discharge and release of, and in exchange for,
                  its Allowed Class 7 Claim, an equal share of the Class 7 Cash Pool, based on the
                  number of Holders in Class 7, after payment therefrom of any taxes due with respect
                  to the Class 7 Cash Pool (including, but not limited to, any employer taxes paid or
                  payable by the Debtor or any affiliate of the Debtor with respect to distributions of
                  the Class 7 Cash Pool, as determined by the Debtor), which equals $1,000,000 in
                  the aggregate.

             •    If any only if Class 7 (Subordinated Claims) votes to reject the Plan, to the extent
                  Confirmation and Consummation of the Plan occurs, each DCP Claimant will not
                  receive any distribution nor retain any property on account of its Class 7 Claim and,
                  on the Effective Date, the Class 7 Claims will be discharged without further notice
                  to, approval of, or action by any Person or Entity.

        Concurrently with its solicitation of votes on the Plan, the Debtor is conducting a marketing
process for the sale of all or substantially all of the Debtor’s assets under section 363 of the
Bankruptcy Code (the “363 Sale”). In the event that the Debtor does not receive the requisite
votes to confirm the Plan or otherwise fails to meet the requirements for confirmation under section
1129 of the Bankruptcy Code, the Debtor intends to pursue and consummate a 363 Sale to the
highest and best bidder pursuant to Court-approved bidding and auction procedures, and the
Debtor reserves all rights to seek such Sale. In furtherance of the foregoing, the Debtor intends to
file one or more motions with this Court requesting approval of (a) bidding and auction procedures
in connection with the proposed 363 Sale, and, should the Debtor fail to receive the requisite votes
to confirm the Plan or otherwise fail to meet the requirements for confirmation, (b) the
consummation of the 363 Sale. The Debtor anticipates that Parent will bid at such auction, and if
Parent is determined to be the highest and best bidder, the Debtor will seek Court approval of the
consummation of the 363 Sale to Parent in exchange for the satisfaction, settlement, discharge,
and release of a portion of the Parent’s Prepetition Revolving Loan Claim. The Debtor further
reserves all rights to object to and seek the disallowance of the Subordinated Claims in their
entirety if Confirmation and Consummation of the Plan does not occur.

B.      SOLICITATION PROCEDURES

        1.        The Solicitation and Voting Procedures

        The discussion of the procedures below is a summary of the solicitation and voting
process. Detailed voting instructions will be provided with each Ballot and are also set forth in
greater detail in the Disclosure Statement Order.




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             PLEASE REFER TO THE INSTRUCTIONS ACCOMPANYING
               THE BALLOTS AND THE DISCLOSURE STATEMENT
             ORDER FOR MORE INFORMATION REGARDING VOTING
         REQUIREMENTS TO ENSURE THAT YOUR BALLOT IS PROPERLY
       AND TIMELY SUBMITTED SUCH THAT YOUR VOTE MAY BE COUNTED.

        2.        The Voting and Claims Agent

       The Debtor has employed and plans to seek authority to formally retain Epiq Corporate
Restructuring, LLC (“Epiq” or the “Voting and Claims Agent”) to, among other things, act as
Voting and Claims Agent.

        Specifically, the Voting and Claims Agent will assist the Debtor with: (a) mailing
Confirmation Hearing Notices (as defined in the Disclosure Statement Order); (b) mailing
Solicitation Packages (as defined below); (c) soliciting votes on the Plan; (d) receiving, tabulating,
and reporting on Ballots cast for or against the Plan by Holders of Claims against the Debtor; (e)
responding to inquiries from creditors and stakeholders relating to the Plan, this Disclosure
Statement, the Ballots and matters related thereto, including, without limitation, the procedures
and requirements for voting to accept or reject the Plan and objecting to the Plan; and (f) if
necessary, contacting creditors regarding the Plan and their Ballots.

        3.        Holders of Claims Entitled to Vote on the Plan

        Under the provisions of the Bankruptcy Code, not all holders of claims against and equity
interests in a debtor are entitled to vote on a chapter 11 plan. The following table provides a
summary of the status and voting rights of each Class (and, therefore, of each Holder of a Claim
or Equity Interest within such Class) under the Plan:

                        SUMMARY OF STATUS AND VOTING RIGHTS

         Class      Claim/Equity Interest                Status        Voting Rights

             1      Other Priority Claims                Unimpaired    Deemed to Accept

             2      Other Secured Claims                 Unimpaired    Deemed to Accept

             3      Secured Tax Claims                   Unimpaired    Deemed to Accept

                    Prepetition Revolving Loan           Impaired      Entitled to Vote
             4
                    Claims

             5      General Unsecured Claims             Unimpaired    Deemed to Accept

             6      Intercompany Claims                  Unimpaired    Deemed to Accept




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                          SUMMARY OF STATUS AND VOTING RIGHTS

          Class      Claim/Equity Interest                      Status               Voting Rights

              7      Subordinated Claims4                       Impaired             Entitled to Vote

              8      Existing AIG FP Interests                  Impaired             Deemed to Reject

        Based on the foregoing, the Debtor is soliciting votes to accept the Plan only from Holders
of Claims in Classes 4 and 7 (the “Voting Classes”) because Holders of Claims in the Voting
Classes are Impaired under the Plan and, therefore, have the right to vote to accept or reject the
Plan. The Debtor is not soliciting votes from (a) Holders of Claims in Classes 1, 2, 3, 5, and 6
because such parties are conclusively presumed to have accepted the Plan and (b) the Holder of
Equity Interests in Class 8 because such party is conclusively presumed to have rejected the Plan
(collectively, the “Non-Voting Classes”). In lieu of a Solicitation Package, Holders of Claims in
the Non-Voting Classes will receive a Notice of Non-Voting Status and a notice of the
Confirmation Hearing (the “Confirmation Hearing Notice”); provided, however, that with
respect to Class 6 (Intercompany Claims) and Class 8 (Existing AIG FP Interests), the Disclosure
Statement Order waives any requirement for the Debtor to serve a Notice of Non-Voting Status or
any other type of notice in connection with the Plan because such Claims and Equity Interests are
held by Affiliates of the Debtor.

        Because the Subordinated Claims in Class 7 are contingent, unliquidated, and disputed,
such Claims are being temporarily allowed solely for the purpose of voting to accept or reject the
Plan in the amount of $1.00 each. The temporary allowance of Claims in Class 7 (Subordinated
Claims) is solely for voting purposes and does not constitute an allowance of such Subordinated
Claim for purposes of distribution under the Plan and is without prejudice to the rights of the
Holders or Claims in Class 7 or the rights of the Debtor and any other party in interest in any other
context.

         4.        The Voting Record Date

        [January 18], 2023 is the Voting Record Date with respect to all Claims and Equity
Interests. The Voting Record Date is the date on which it will be determined: (a) which Holders
of Claims in the Voting Classes are entitled to vote to accept or reject the Plan and receive
Solicitation Packages in accordance with the Disclosure Statement Order and (b) which Holders
of Claims and Equity Interests in the Non-Voting Classes are entitled to receive the Confirmation
Hearing Notice, including notice of such Holder’s non-voting status, in accordance with the
Disclosure Statement Order.


4
    For the avoidance of doubt, the Debtor’s description or classification in this Disclosure Statement, the Plan, or the
    First Day Declaration of any obligations arising under or related to the DCP Plans as Claims is not an admission
    that such obligations are debt, and the Debtor reserves the right to object to the allowance of such Claims and to
    classify any such obligations as Equity Interests.



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        5.      Contents of the Solicitation Package

       The following documents and materials will collectively constitute the solicitation package
(the “Solicitation Package”):

        •    a cover letter from the Debtor explaining the solicitation process, describing the
             contents of the Solicitation Package, and urging Holders of Claims in the Voting
             Classes to vote to accept the Plan;

        •    the Confirmation Hearing Notice, attached to the Disclosure Statement Order;

        •    this Disclosure Statement (and exhibits annexed thereto, including the Plan);

        •    the Disclosure Statement Order;

        •    the First Day Declaration;

        •    to the extent applicable, a Ballot and/or notice, appropriate for the specific creditor, in
             substantially the forms attached as Exhibits 2, 3, 4, and 5 to the Disclosure Statement
             Order (as may be modified for particular classes and with instruction attached thereto);
             and

        •    such other materials as the Bankruptcy Court may direct.

        6.      Distribution of the Solicitation Package to Holders of Claims Entitled to Vote
                on the Plan

        With the assistance of the Voting and Claims Agent, the Debtor intends to distribute the
Solicitation Packages on or before [January 23], 2023 (the “Solicitation Mailing Date”). The
Debtor submits that such schedule will provide such Holders of Claims with adequate time within
which to review the materials required to allow such parties to make informed decisions with
respect to voting on the Plan in accordance with Bankruptcy Rules 3017(d) and 2002(b).

        7.      Distribution of Notices to Holders of Claims and Equity Interests in Non-
                Voting Classes

       As set forth above, certain Holders of Claims and Equity Interests are not entitled to vote
on the Plan. As a result, such parties will not receive Solicitation Packages and, instead, will
receive the appropriate form of notice as follows:

        •    Unimpaired Claims – Deemed to Accept. Administrative Claims and Priority Tax
             Claims are unclassified, non-voting Claims, and Claims in Classes 1, 2, 3, 5, and 6 are
             Unimpaired under the Plan and, therefore, are presumed to have accepted the Plan. As
             such, Holders of such Claims in Classes 1, 2, 3, and 5 will receive, in lieu of a
             Solicitation Package, an “Unimpaired Claims Notice” in the form attached as Exhibit 4
             to the Disclosure Statement Order. Although Class 6 (Intercompany Claims) is also
             Unimpaired and presumed to have accepted the Plan, the Disclosure Statement Order
             waives any requirement for the Debtor to serve a Notice of Non-Voting Status or any
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             other type of notice in connection with the Plan on Holders of Intercompany Claims in
             Class 7 because such Claims are held by Affiliates of the Debtor.

        •    Impaired Claims – Deemed to Reject. The Holder of Equity Interests in Class 8 is
             receiving no distribution under the Plan on account of such Equity Interests and,
             therefore, is conclusively deemed to reject the Plan. Nevertheless, the Disclosure
             Statement Order waives any requirement for the Debtor to serve a Notice of Non-
             Voting Status or any other type of notice in connection with the Plan on the Holder of
             Existing AIG FP Interests because such Equity Interests are held by an Affiliate of the
             Debtor.

        8.      Filing of the Plan Supplement

        The Debtor will file the Plan Supplement at least seven (7) days prior to the Plan Objection
Deadline. The Debtor will transmit a copy of the Plan Supplement to the Distribution List, as
defined below. Additionally, parties may request (and obtain at the Debtor’s expense) a copy of
the Plan Supplement by: (a) emailing AIGFPinfo@epiqglobal.com; (b) writing to AIG Financial
Products Corp., c/o Epiq Ballot Processing, 10300 SW Allen Boulevard, Beaverton, Oregon
97005, and requesting a copy; or (c) by visiting the Debtor’s restructuring website at:
https://dm.epiq11.com/AIGFP. Parties may also obtain any documents filed in the Chapter 11
Case for a fee via PACER at http://www.deb.uscourts.gov.

         The Plan Supplement will include all Exhibits and Plan Schedules that were not already
filed as exhibits to the Plan or this Disclosure Statement, all of which are incorporated by reference
into, and are an integral part of, the Plan, as all of the same may be amended, supplemented, or
modified from time to time.

         As used herein, the term “Distribution List” means (a) the Office of the United States
Trustee (the “U.S. Trustee”), (b) the Internal Revenue Service, (c) AIG Inc., and (d) all parties
that, as of the applicable date of determination, may file requests for notice in the Chapter 11 Case
pursuant to Bankruptcy Rule 2002.

C.      VOTING PROCEDURES

       Holders of Claims entitled to vote on the Plan are advised to read the Disclosure Statement
Order, which sets forth in greater detail the voting instructions summarized herein.

        1.      The Voting Deadline

       The Bankruptcy Court has approved 5:00 p.m. (prevailing Eastern Time) on [February 22],
2023 as the Voting Deadline. The Voting Deadline is the date by which all Ballots must be
properly executed, completed and delivered to the Voting and Claims Agent in order to be counted
as votes to accept or reject the Plan.




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        2.      Ballots

       The Debtor, through the Voting and Claims Agent, will provide Ballots to Holders of
Claims in the Voting Classes (i.e., Classes 4 and 7), the forms of which are attached to the
Disclosure Statement Order as Exhibit 2 and Exhibit 3, respectively.

        3.      Voting Instructions

        Under the Plan, Holders of Claims in the Voting Classes are entitled to vote to accept or
reject the Plan. Those Holders may so vote by completing a Ballot and returning it to the Voting
and Claims Agent prior to the Voting Deadline.

  PLEASE REFER TO THE INSTRUCTIONS ATTACHED TO THE BALLOTS FOR
 MORE DETAILED INFORMATION REGARDING THE VOTING REQUIREMENTS,
     RULES, AND PROCEDURES APPLICABLE TO VOTING YOUR CLAIM.

       To be counted as votes to accept or reject the Plan, all Ballots (which will clearly
indicate the appropriate return address) must be properly executed, completed, dated and
delivered by following the instructions set forth on the Ballot, so that they are actually
received on or before the Voting Deadline by the Voting and Claims Agent. If you have any
questions about the procedures for voting on the Plan, you may contact the Debtor’s Voting
and Claims Agent by (1) calling the Voting and Claims Agent at (855) 929-4075
(U.S./Canada)      or     +1     (971)    407-1066      (International),   (2)    emailing
AIGFPinfo@epiqglobal.com, or (3) writing to AIG Financial Products Corp., c/o Epiq Ballot
Processing, 10300 SW Allen Boulevard, Beaverton, Oregon 97005.

        4.      Tabulation of Votes

THE FOLLOWING IS IMPORTANT INFORMATION REGARDING VOTING THAT
SHOULD BE READ CAREFULLY BY ALL HOLDERS OF CLAIMS IN THE VOTING
                           CLASSES.

        •    FOR YOUR VOTE TO BE COUNTED, YOUR BALLOT MUST BE PROPERLY
             EXECUTED, COMPLETED, DATED, AND DELIVERED/SUBMITTED SUCH
             THAT IT IS ACTUALLY RECEIVED ON OR BEFORE THE VOTING
             DEADLINE BY THE VOTING AND CLAIMS AGENT.

        •    THERE ARE TWO WAYS BY WHICH HOLDERS OF CLAIMS IN THE VOTING
             CLASSES MAY SUBMIT THEIR BALLOTS: (1) YOU MAY RETURN YOUR
             BALLOT TO THE VOTING AND CLAIMS AGENT VIA MAIL BY FOLLOWING
             THE INSTRUCTIONS ATTACHED TO YOUR BALLOT OR (2) YOU MAY
             SUBMIT YOUR BALLOT VIA THE VOTING AND CLAIMS AGENT’S ONLINE
             BALLOTING PORTAL. TO SUBMIT YOUR BALLOT VIA THE VOTING AND
             CLAIMS         AGENT’S        ONLINE    PORTAL,     PLEASE     VISIT
             https://dm.epiq11.com/aigfp. CLICK ON THE “E-BALLOT” SECTION OF THE
             CASE WEBSITE AND FOLLOW THE INSTRUCTIONS TO SUBMIT YOUR
             BALLOT.
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        •    A HOLDER OF A CLAIM MAY CAST ONLY ONE VOTE PER EACH CLAIM SO
             HELD. BY SIGNING AND RETURNING A BALLOT, EACH HOLDER OF A
             CLAIM WILL CERTIFY TO THE BANKRUPTCY COURT AND THE DEBTOR
             THAT NO OTHER BALLOTS WITH RESPECT TO SUCH CLAIM HAVE BEEN
             CAST OR, IF ANY OTHER BALLOTS HAVE BEEN CAST WITH RESPECT TO
             SUCH CLAIM, SUCH EARLIER BALLOTS ARE THEREBY SUPERSEDED AND
             REVOKED.

        •    ANY BALLOT THAT IS RECEIVED AFTER THE VOTING DEADLINE
             WILL NOT BE COUNTED TOWARD CONFIRMATION OF THE PLAN
             UNLESS THE DEBTOR HAS GRANTED AN EXTENSION OF THE VOTING
             DEADLINE IN WRITING WITH RESPECT TO SUCH BALLOT.

        •    ADDITIONALLY, THE FOLLOWING BALLOTS WILL NOT BE COUNTED:

                o   any Ballot that is illegible or contains insufficient information to permit the
                    identification of the claimant;

                o   any Ballot cast by a person or entity that does not hold a Claim in a Class that
                    is entitled to vote to accept or reject the Plan;

                o   any Ballot that is properly completed, executed, and timely filed, but (a) does
                    not indicate an acceptance or rejection of the Plan, (b) indicates both an
                    acceptance and rejection of the Plan, or (c) partially accepts and partially
                    rejects the Plan;

                o   any Ballot sent to the Debtor, the Debtor’s agents/representatives (other than
                    the Voting and Claims Agent), any administrative agent, or the Debtor’s
                    financial or legal advisors;

                o   any unsigned Ballot; or

                o   any Ballot not cast in accordance with the procedures described herein and in
                    the Disclosure Statement Order.

D.      CONFIRMATION OF THE PLAN

        1.      The Confirmation Hearing

       The Confirmation Hearing will commence at [●] prevailing Eastern Time on [March 1],
2023 before the Honorable [●], United States Bankruptcy Judge, in the United States Bankruptcy
Court for the District of Delaware, located at 824 North Market Street, [●] Floor, Courtroom [●],
Wilmington, DE 19801.




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        The Confirmation Hearing may be continued from time to time by the Bankruptcy Court
or the Debtor without further notice other than by such adjournment being announced in open court
or by a notice of adjournment filed with the Bankruptcy Court and served on such parties as the
Bankruptcy Court may order. Moreover, the Plan may be modified or amended, if necessary,
pursuant to section 1127 of the Bankruptcy Code, prior to, during or as a result of the Confirmation
Hearing, without further notice to parties in interest.

        2.      The Deadline for Objecting to Confirmation of the Plan

        The Plan Objection Deadline is 4:00 p.m. (prevailing Eastern Time) on [February 22],
2023. Section 1128(b) of the Bankruptcy Code provides that any party in interest may object to
the confirmation of a plan of reorganization. Any objection to confirmation of the Plan must: (i) be
in writing; (ii) conform to the Bankruptcy Rules and the Local Rules; (iii) state the name and
address of the objecting party and the amount and nature of the Claim or Equity Interest of such
Entity; (iv) state with particularity the legal and factual bases and nature of any objection to the
Plan and, if practicable, a proposed modification to the Plan that would resolve such objection;
and (v) be filed, contemporaneously with a proof of service, with the Bankruptcy Court and served
so that it is actually received no later than the Plan Objection Deadline by the parties specified
below (the “Notice Parties”).

        (a) Proposed Co-Counsel to the Debtor: Latham & Watkins LLP, 1270 Avenue of the
Americas, New York, New York 10020 (Attn: Keith Simon (keith.simon@lw.com); Annemarie
Reilly (annemarie.reilly@lw.com); Madeleine C. Parish (madeleine.parish@lw.com)) and Young
Conaway Stargatt & Taylor, LLP, Rodney Square, 1000 North King Street, Wilmington, Delaware
19801 (Attn: Michael R. Nestor (mnestor@ycst.com) (No. 3526), Kara Hammond Coyle
(kcoyle@ycst.com) (No. 4410), Shane M. Reil (sreil@ycst.com) (No. 6195), and Catherine C.
Lyons (clyons@ycst.com) (No. 6854));

        (b) Counsel to any statutory committee appointed in the Chapter 11 Case; and.

       (c) The Office of the U.S. Trustee: 844 King Street, Suite 2207, Wilmington, Delaware
19801 (Attn: Jane M. Leamy (jane.m.leamy@usdoj.gov)).

    CONFIRMATION OBJECTIONS NOT TIMELY FILED AND SERVED IN THE
MANNER SET FORTH HEREIN MAY NOT BE CONSIDERED BY THE BANKRUPTCY
COURT AND MAY BE OVERRULED WITHOUT FURTHER NOTICE.

        3.      Effect of Confirmation of the Plan

        Article X of the Plan contains certain provisions relating to (a) the compromise and
settlement of Claims, (b) the release of the Released Parties by the Debtor and its Related Persons,
and (c) exculpation of certain parties. It is important to read such provisions carefully so that
you understand the implications of these provisions with respect to your Claim such that you
may cast your vote accordingly.




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     THE PLAN WILL BIND ALL HOLDERS OF CLAIMS AGAINST AND EQUITY
     INTERESTS IN THE DEBTOR TO THE MAXIMUM EXTENT PERMITTED BY
    APPLICABLE LAW, NOTWITHSTANDING WHETHER OR NOT SUCH HOLDER
(A) WILL RECEIVE OR RETAIN ANY PROPERTY OR INTEREST IN PROPERTY UNDER
 THE PLAN, (B) HAS FILED A PROOF OF CLAIM OR INTEREST IN THE CHAPTER 11
  CASE, OR (C) FAILED TO VOTE TO ACCEPT OR REJECT THE PLAN OR VOTED TO
                             REJECT THE PLAN.

E.      CONSUMMATION OF THE PLAN

        It will be a condition to confirmation of the Plan that all provisions, terms and conditions
of the Plan are approved in the Confirmation Order unless otherwise satisfied or waived pursuant
to the provisions of Article IX of the Plan. Following confirmation, the Plan will be consummated
on the Effective Date.

F.      RISK FACTORS

     PRIOR TO DECIDING WHETHER AND HOW TO VOTE ON THE PLAN, EACH
HOLDER OF A CLAIM IN A VOTING CLASS SHOULD CONSIDER CAREFULLY ALL
OF THE INFORMATION IN THIS DISCLOSURE STATEMENT, INCLUDING THE
RISK FACTORS DESCRIBED IN SECTION VI HEREIN TITLED, “PLAN-RELATED
RISK FACTORS.”

G.      363 SALE ALTERNATIVE

        Concurrently with its solicitation of votes on the Plan, the Debtor is conducting a marketing
process for a 363 Sale. The Debtor intends to file one or more motions with the Bankruptcy Court
requesting approval of (a) bidding procedures in connection with the proposed 363 Sale, and (b)
the consummation of the 363 Sale. In the event that the Debtor does not receive the requisite votes
to confirm the Plan or otherwise fails to meet the requirements for confirmation under section 1129
of the Bankruptcy Code, the Debtor intends to pursue and consummate the 363 Sale. The Debtor
anticipates that Parent will bid at such auction, and if Parent is determined to be the highest and
best bidder, the Debtor will seek Court approval of the consummation of the 363 Sale to Parent in
exchange for the satisfaction, settlement, discharge, and release of a portion of the Parent’s
Prepetition Revolving Loan Claim. The Debtor further reserves all rights to object to and seek the
disallowance of the Subordinated Claims in their entirety if Confirmation and Consummation of
the Plan does not occur.




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                                          II.
                           BACKGROUND TO THE CHAPTER 11 CASE

        AIG FP is a wholly-owned, direct subsidiary of AIG Inc. AIG FP, a Delaware corporation
founded in 1987 and based in Wilton, Connecticut, is a financial products company. As discussed
more fully in Part I of the First Day Declaration, AIG FP was founded for the purpose of trading
in the capital markets and offering corporate finance, structured finance, and financial risk
management products, including complex derivatives transactions. While initially profitable, AIG
FP suffered billions of dollars of losses from its derivatives trading positions during the financial
crisis of 2008–2009 (the “Financial Crisis”). AIG FP has never recovered those losses.

       Following the Financial Crisis, AIG FP predominantly operated to manage and wind down
the remaining transactions in its portfolio. As of the Petition Date, AIG FP had assets totaling
$315 million in book value, comprised of $216 million of intra- and intercompany receivables and
investments in subsidiaries and the remaining $99 million consists primarily of a credit linked note
and $10 million in cash on hand. It has liabilities of $37.7 billion in book value, comprised
primarily of the AIG FP Revolver in the amount of $37.4 billion and $269 million of intra- and
intercompany payables. Thus, AIG FP is balance sheet insolvent by approximately $37.4 billion.

        Despite its insolvency, AIG FP has been subject to various lawsuits related to its Financial
Crisis losses. In 2014, former London-based executives of AIG FP brought a case against AIG FP
in an English trial court seeking to recoup their deferred compensation account balances that were
wiped out by AIG FP’s Financial Crisis losses.5 That case was resolved in favor of AIG FP in
2020. In 2019, a group of similarly situated executives filed suit against AIG FP in Connecticut
seeking to recover deferred compensation that was wiped out by AIG FP’s performance during the
Financial Crisis. As discussed more fully in Part III.B of the First Day Declaration, AIG FP
successfully defended the English trial, which was dismissed, and AIG FP is continuing to
vigorously defend the Connecticut litigation to date, but the defense has been, and will continue to
be, costly, and time-consuming.

        After winding down for over 14 years, and with billions in valid liabilities, as well as
additional costs to continue to defend the most recent Connecticut state court litigation (as
discussed in Part III of the First Day Declaration), AIG FP determined that it was prudent to
address its capital structure holistically. To that end, in January 2022, AIG FP appointed an
independent Special Committee (as defined in the First Day Declaration) tasked with assessing the
assets and liabilities of AIG FP and exploring potential strategic alternatives. As a result, AIG FP,
under the direction of the Special Committee, commenced the Chapter 11 Case to reorganize in
order to maximize the value of its estate for the benefit of its creditors in order of contractual and
statutory priority.

        Additional information regarding the Debtor’s (i) business and organizational structure,
(ii) prepetition capital structure and indebtedness, and (iii) the circumstances leading to the


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    The plaintiffs in the United Kingdom litigation sought, in connection with Plan Balances reduced and not restored,
    amounts totaling $90,799,648.00, £4,346,315.00 and €893,916.00, due to the fact that plaintiffs had elected to
    receive compensation in different currencies.

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commencement of the Chapter 11 Case can be found in the First Day Declaration filed
concurrently herewith.




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                                        III.
                         EVENTS DURING THE CHAPTER 11 CASE

A.      FIRST DAY MOTIONS AND CERTAIN RELATED RELIEF

      The Debtor filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code
on December 14, 2022 (the “Petition Date”). The filing of the petition commenced the Chapter
11 Case, during which the Debtor is afforded the benefits and subject to the limitations of the
Bankruptcy Code.

       On the Petition Date, the Debtor filed certain motions (collectively referred to herein as the
“First Day Motions”) with the Bankruptcy Court. At a hearing conducted on [●], 2022 (the “First
Day Hearing”), the Bankruptcy Court entered certain orders in connection with the First Day
Motions to, among other things, prevent interruptions to the Debtor’s ongoing business and wind
down and allow the Debtor to retain certain advisors to assist with the administration of the Chapter
11 Case.

        1.      Cash Management Motion

        On the Petition Date, the Debtor filed a First Day Motion seeking to obtain an interim order
granting the Debtor authority to maintain its cash management system (subject to certain
modifications) to help facilitate the stabilization of its business and effectuate, as much as possible,
a smooth transition into operation as a debtor-in-possession. The Bankruptcy Court entered an
order granting the relief requested on an interim basis at the First Day Hearing [Docket No. [●]].
At a hearing held on [●], 2023, the Bankruptcy Court entered an order granting such relief on a
final basis. [Docket No. [●]].

        2.      Epiq Retention Application

        To facilitate the efficient administration of the Chapter 11 Case, on the Petition Date, the
Debtor filed a First Day Motion seeking entry of an order from the Bankruptcy Court authorizing
the retention and appointment of Epiq as its Voting and Claims Agent. The Bankruptcy Court
entered an order granting the relief requested at the First Day Hearing [Docket No. [●]].

B.      SECOND DAY MOTIONS AND CERTAIN RELATED RELIEF

      In addition to the First Day Motions, shortly after the Petition Date, the Debtor filed
motions seeking additional relief, including the following:

        1.      Professional Retention Applications

        To assist the Debtor in carrying out its duties as debtor-in-possession and to represent its
interests in the Chapter 11 Case, on [●], 2022, the Debtor filed applications seeking authority to
retain and employ the following advisors: (a) Latham & Watkins LLP and Young Conaway
Stargatt & Taylor, LLP, as restructuring co-counsel; (b) Alvarez & Marsal North America, LLC



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(“A&M”), as financial advisor, and William Kosturos of A&M as Chief Restructuring Officer of
the Debtor; and (c) Epiq as Administrative Advisor.

C.      FILING OF THE SCHEDULES

       The Debtor intends to file its schedules of assets and liabilities, schedules of executory
contracts, and statements of financial affairs (collectively, the “Schedules”) with the Bankruptcy
Court pursuant to section 521 of the Bankruptcy Code on [●], 2022.




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                                         IV.
                                  SUMMARY OF THE PLAN

   THIS SECTION IV IS INTENDED ONLY TO PROVIDE A SUMMARY OF THE
 MATERIAL TERMS OF THE PLAN AND IS QUALIFIED BY REFERENCE TO THE
   ENTIRE DISCLOSURE STATEMENT AND THE PLAN AND SHOULD NOT BE
  RELIED ON FOR A COMPREHENSIVE DISCUSSION OF THE PLAN. TO THE
 EXTENT THERE ARE ANY INCONSISTENCIES OR CONFLICTS BETWEEN THIS
SECTION IV AND THE PLAN, THE TERMS AND CONDITIONS SET FORTH IN THE
                  PLAN SHALL CONTROL AND GOVERN.

A.      ADMINISTRATIVE AND PRIORITY TAX CLAIMS

        The following is a summary of the treatment of Administrative and Priority Tax Claims
under the Plan. For a more detailed description of the treatment of such Claims under the Plan,
please see Article II of the Plan.

        1.      Administrative Claims

        On the later of the Effective Date or the date on which an Administrative Claim becomes
an Allowed Administrative Claim, or, in each such case, as soon as practicable thereafter, each
Holder of an Allowed Administrative Claim (other than an Allowed Professional Fee Claim) will
receive, in full satisfaction, settlement, discharge and release of, and in exchange for, such Claim
either (i) Cash equal to the amount of such Allowed Administrative Claim; or (ii) such other less
favorable treatment as to which the Debtor or Reorganized Debtor, as applicable, and the Holder
of such Allowed Administrative Claim will have agreed upon in writing; provided, however, that
Administrative Claims incurred by the Debtor in the ordinary course of business may be paid in
the ordinary course of business by the Debtor or Reorganized Debtor in accordance with such
applicable terms and conditions relating thereto without further notice to or order of the
Bankruptcy Court.

        Professionals or other Entities asserting a Professional Fee Claim for services rendered
before the Effective Date must File and serve on the Reorganized Debtor and such other Persons
and Entities who are designated in the Confirmation Order an application for final allowance of
such Professional Fee Claim no later than the Professional Fees Bar Date; provided that the
Reorganized Debtor will pay the reasonable fees, costs, and out-of-pocket expenses of the Debtor’s
Professionals in the ordinary course of business for any work performed after the Effective Date,
including those reasonable and documented fees, costs, and expenses incurred by such
Professionals in connection with the implementation and consummation of the Plan, in each case
without further application or notice to or order of the Bankruptcy Court; provided, further, that
any Debtor Professional who may receive compensation or reimbursement of expenses pursuant
to the Ordinary Course Professionals Order may continue to receive such compensation and
reimbursement of expenses from the Debtor and Reorganized Debtor for services rendered before
the Effective Date pursuant to the Ordinary Course Professionals Order, in each case without
further application or notice to or order of the Bankruptcy Court. If the Debtor or Reorganized
Debtor, as applicable, disputes the reasonableness of any Professionals’ post-Effective Date fees,

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costs, or expenses, the Debtor or Reorganized Debtor, as applicable, or the affected Professional,
may submit such dispute to the Bankruptcy Court for a determination of the reasonableness of any
such invoice, and the disputed portion of such invoice will not be paid until the dispute is resolved.

        Objections to any Professional Fee Claim must be Filed and served on the Reorganized
Debtor and the requesting party by no later than thirty (30) days after the Filing of the applicable
final request for payment of the Professional Fee Claim. Each Holder of an Allowed Professional
Fee Claim will be paid in full in Cash by the Reorganized Debtor, including from the Professional
Fee Reserve, within five (5) Business Days after entry of the order approving such Allowed
Professional Fee Claim. The Reorganized Debtor will use such funds to pay only the Professional
Fee Claims, as and when allowed by order of the Bankruptcy Court (except that the Unused
Professional Fee Reserve Amount may be distributed from the Professional Fee Reserve as and
when provided in the Plan). Notwithstanding anything to the contrary contained in the Plan, the
failure of the Professional Fee Reserve to satisfy in full the Professional Fee Claims will not, in
any way, operate or be construed as a cap or limitation on the amount of Professional Fee Claims
due and payable by the Reorganized Debtor.

        2.      Priority Tax Claims

        Subject to Error! Reference source not found. of the Plan, on the Effective Date, or as
soon as reasonably practicable thereafter, each Holder of an Allowed Priority Tax Claim will
receive in full satisfaction, settlement, discharge and release of, and in exchange for, such Allowed
Priority Tax Claim, at the election of the Debtor or Reorganized Debtor, as applicable: (A) Cash
equal to the amount of such Allowed Priority Tax Claim; (B) such other less favorable treatment
as to which the Debtor or Reorganized Debtor, as applicable, and the Holder of such Allowed
Priority Tax Claim will have agreed upon in writing; (C) such other treatment such that it will not
be Impaired pursuant to section 1124 of the Bankruptcy Code or (D) pursuant to and in accordance
with sections 1129(a)(9)(C) and 1129(a)(9)(D) of the Bankruptcy Code, Cash in an aggregate
amount of such Allowed Priority Tax Claim payable in regular installment payments over a period
ending not more than five (5) years after the Petition Date, plus simple interest at the rate required
by applicable non-bankruptcy law on any outstanding balance from the Effective Date, or such
lesser rate as is agreed to in writing by a particular taxing authority and the Debtor or Reorganized
Debtor, as applicable, pursuant to section 1129(a)(9)(C) of the Bankruptcy Code; provided,
however, that Priority Tax Claims incurred by the Debtor in the ordinary course of business may
be paid in the ordinary course of business by the Debtor or Reorganized Debtor in accordance with
such applicable terms and conditions relating thereto without further notice to or order of the
Bankruptcy Court. Any installment payments to be made under clause (C) or (D) above will be
made in equal quarterly Cash payments beginning on the Effective Date (or as soon as reasonably
practicable thereafter) and continuing on a quarterly basis until payment in full of the applicable
Allowed Priority Tax Claim.




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B.      CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS UNDER
        THE PLAN

       The following table provides a summary of the classification and treatment of Claims and
Equity Interests and the potential distributions to Holders of Allowed Claims and Equity Interests
under the Plan.

        The categories of Claims and Equity Interests listed below classify Claims and Equity
Interests for all purposes, including, without limitation, for voting, confirmation and distribution
pursuant hereto and pursuant to sections 1122 and 1123(a)(1) of the Bankruptcy Code. The Plan
deems a Claim or Equity Interest to be classified in a particular Class only to the extent that the
Claim or Equity Interest qualifies within the description of that Class and will be deemed classified
in a different Class to the extent that any remaining portion of such Claim or Equity Interest
qualifies within the description of such different Class. A Claim or Equity Interest is in a particular
Class only to the extent that any such Claim or Equity Interest is Allowed in that Class and has not
been paid, released, disallowed or otherwise settled prior to the Effective Date.

       Except as otherwise provided herein, nothing under the Plan will affect or limit the
Debtor’s or the Reorganized Debtor’s rights and defenses (whether legal or equitable) in respect
of any Unimpaired Claims, including, without limitation, all rights in respect of legal and equitable
defenses to or setoffs or recoupments against any such Unimpaired Claims.

      THE PROJECTED RECOVERIES SET FORTH IN THE TABLE BELOW ARE
ESTIMATES ONLY AND THEREFORE ARE SUBJECT TO CHANGE. FOR A
COMPLETE DESCRIPTION OF THE DEBTOR’S CLASSIFICATION AND
TREATMENT OF CLAIMS AND EQUITY INTERESTS, REFERENCE SHOULD BE
MADE TO THE ENTIRE PLAN AND THE RISK FACTORS DESCRIBED IN ARTICLE
VI BELOW. THE TABLE IS INTENDED FOR ILLUSTRATIVE PURPOSES ONLY AND
IS NOT A SUBSTITUTE FOR A REVIEW OF THE PLAN AND DISCLOSURE
STATEMENT IN THEIR ENTIRETY. FOR CERTAIN CLASSES OF CLAIMS, THE
ACTUAL AMOUNT OF ALLOWED CLAIMS COULD BE MATERIALLY DIFFERENT
THAN THE ESTIMATED AMOUNTS SHOWN IN THE TABLE BELOW.




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                                           SUMMARY OF EXPECTED RECOVERIES

                                                                                                          Projected
                                                                                                          Recovery
Class   Claim/Equity               Treatment of Claim/Equity Interest                      Voting         Under the
        Interest                                                                                            Plan
 1      Other Priority   Subject to Article VIII of the Plan, on the Effective Date      Unimpaired;        100%
        Claims           or as soon as reasonably practicable thereafter, each         Deemed to Accept
                         Holder of an Allowed Class 1 Claim will receive in full
                         satisfaction, settlement, discharge and release of, and in
                         exchange for, such Allowed Class 1 Claim, at the election
                         of the Debtor or Reorganized Debtor, as applicable: (A)
                         Cash equal to the amount of such Allowed Class 1 Claim;
                         (B) such other less favorable treatment as to which the
                         Debtor or Reorganized Debtor, as applicable, and the
                         Holder of such Allowed Class 1 Claim will have agreed
                         upon in writing; or (C) such other treatment such that it
                         will not be impaired pursuant to section 1124 of the
                         Bankruptcy Code; provided, however, that Class 1 Claims
                         incurred by the Debtor in the ordinary course of business
                         may be paid in the ordinary course of business by the
                         Debtor or Reorganized Debtor in accordance with the
                         terms and conditions of any agreements relating thereto
                         without further notice to or order of the Bankruptcy Court.

 2      Other Secured    Subject to Article VIII of the Plan, on the Effective Date,     Unimpaired;        100%
        Claims           on the Effective Date, or as soon as reasonably practicable   Deemed to Accept
                         thereafter, each Holder of an Allowed Class 2 Claim will
                         receive in full satisfaction, settlement, discharge and
                         release of, and in exchange for, such Allowed Class 2
                         Claim, at the election of the Debtor or Reorganized
                         Debtor, as applicable: (A) Cash equal to the amount of
                         such Allowed Class 2 Claim; (B) such other less favorable
                         treatment as to which the Debtor or Reorganized Debtor,
                         as applicable, and the Holder of such Allowed Class 2
                         Claim will have agreed upon in writing; (C) the Collateral
                         securing such Allowed Class 2 Claim; or (D) such other
                         treatment such that it will not be impaired pursuant to
                         section 1124 of the Bankruptcy Code; provided, however,
                         that Class 2 Claims incurred by the Debtor in the ordinary
                         course of business may be paid in the ordinary course of
                         business by the Debtor or Reorganized Debtor in
                         accordance with the terms and conditions of any
                         agreements relating thereto without further notice to or
                         order of the Bankruptcy Court.

 3      Secured Tax      Subject to Article VIII of the Plan, on the Effective Date,     Unimpaired;        100%
        Claims           or as soon as reasonably practicable thereafter, each         Deemed to Accept
                         Holder of an Allowed Class 3 Claim will receive in full
                         satisfaction, settlement, discharge and release of, and in
                         exchange for, such Allowed Class 3 Claim, at the election
                         of the Debtor or Reorganized Debtor, as applicable:
                         (A) Cash equal to the amount of such Allowed Class 3
                         Claim; (B) such other less favorable treatment as to which

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                                           SUMMARY OF EXPECTED RECOVERIES

                                                                                                            Projected
                                                                                                            Recovery
Class   Claim/Equity              Treatment of Claim/Equity Interest                         Voting         Under the
        Interest                                                                                              Plan
                       the Debtor or Reorganized Debtor, as applicable, and the
                       Holder of such Allowed Class 3 Claim will have agreed
                       upon in writing; (C) the Collateral securing such Allowed
                       Class 3 Claim; (D) such other treatment such that it will
                       not be impaired pursuant to section 1124 of the
                       Bankruptcy Code or (E) pursuant to and in accordance
                       with sections 1129(a)(9)(C) and 1129(a)(9)(D) of the
                       Bankruptcy Code, Cash in an aggregate amount of such
                       Allowed Class 3 Claim payable in regular installment
                       payments over a period ending not more than five (5)
                       years after the Petition Date, plus simple interest at the rate
                       required by applicable non-bankruptcy law on any
                       outstanding balance from the Effective Date, or such
                       lesser rate as is agreed to in writing by a particular taxing
                       authority and the Debtor or Reorganized Debtor, as
                       applicable, pursuant to section 1129(a)(9)(C) of the
                       Bankruptcy Code; provided, however, that Class 3 Claims
                       incurred by the Debtor in the ordinary course of business
                       may be paid in the ordinary course of business by the
                       Debtor or Reorganized Debtor in accordance with such
                       applicable terms and conditions relating thereto without
                       further notice to or order of the Bankruptcy Court. Any
                       installment payments to be made under clause (D) or (E)
                       above will be made in equal quarterly Cash payments
                       beginning on the Effective Date (or as soon as reasonably
                       practicable thereafter), and continuing on a quarterly basis
                       until payment in full of the applicable Allowed Class 3
                       Claim.

 4      Prepetition    The Existing AIG FP Interests will remain effective and             Impaired;          [●]%
        Revolving      outstanding on the Effective Date. The Prepetition                Entitled to Vote
        Loan Claims    Revolving Loan Claims are deemed Allowed Claims in the
                       aggregate principal amount of $37,438,254,000, plus any
                       accrued and unpaid fees, expenses, charges, indemnities
                       and other obligations incurred in connection therewith
                       through the Effective Date. The Parent, as the sole Holder
                       of the Allowed Class 4 Prepetition Revolving Loan Claim,
                       will retain the Existing AIG FP Interests in exchange for,
                       and in full satisfaction, settlement, discharge and release of,
                       such Allowed Class 4 Claim. For the avoidance of doubt,
                       the Parent will be entitled to retain the Existing AIG FP
                       Interests solely on account of the Parent’s Allowed Class 4
                       Claim, and not on account of the Parent’s Allowed Class 8
                       Existing AIG FP Interests.




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                                          SUMMARY OF EXPECTED RECOVERIES

                                                                                                              Projected
                                                                                                              Recovery
Class   Claim/Equity             Treatment of Claim/Equity Interest                            Voting         Under the
        Interest                                                                                                Plan
 5      General        Subject to Article VIII of the Plan, on the Effective Date,       Unimpaired; Deemed     100%
        Unsecured      or as soon as reasonably practicable thereafter, each                 to Accept
        Claims         Holder of an Allowed Class 5 Claim will receive, in full
                       satisfaction, settlement, discharge and release of, and in
                       exchange for, such Allowed Class 5 Claim, at the election
                       of the Debtor or Reorganized Debtor, as applicable:
                       (A) Cash equal to the amount of such Allowed Class 5
                       Claim; (B) such other less favorable treatment as to which
                       the Debtor or Reorganized Debtor, as applicable, and the
                       Holder of such Allowed Class 5 Claim will have agreed
                       upon in writing; or (C) such other treatment such that it
                       will not be impaired pursuant to section 1124 of the
                       Bankruptcy Code; provided, however, that Class 5 Claims
                       incurred by the Debtor in the ordinary course of business
                       may be paid in the ordinary course of business by the
                       Debtor or Reorganized Debtor in accordance with the
                       terms and conditions of any agreements relating thereto
                       without further notice to or order of the Bankruptcy Court.
 6      Intercompany   The Intercompany Claims will be paid, adjusted, reinstated,          Unimpaired;         N/A
        Claims         compromised, or cancelled, in each case at the option of the       Deemed to Accept
                       relevant Holder of such Intercompany Claims.

 7      Subordinated   (i) IF AND ONLY IF CLASS 7 VOTES TO ACCEPT                            Impaired;          [●]%
        Claims             THE PLAN:                                                       Entitled to Vote

                           Each Holder of a Class 7 Claim will receive, on or as
                           soon as reasonably practicable after the Effective Date,
                           in full satisfaction, settlement, discharge and release of,
                           and in exchange for, its Allowed Class 7 Claim, an
                           equal share of the Class 7 Cash Pool based on the
                           number of Holders in Class 7 after payment therefrom
                           of any taxes due with respect to the Class 7 Cash Pool
                           (including, but not limited to, any employer taxes
                           payable by the Debtor or any affiliate of the Debtor with
                           respect to distributions of the Class 7 Cash Pool, as
                           determined by the Debtor).

                       (ii) IF AND ONLY IF CLASS 7 VOTES TO REJECT
                            THE PLAN:

                           Each Holder of a Class 7 Claim will not receive any
                           distribution nor retain any property on account of such
                           Class 7 Claim and, on the Effective Date, the Class 7
                           Claims will be discharged without further notice to,
                           approval of, or action by any Person or Entity.




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                                               SUMMARY OF EXPECTED RECOVERIES

                                                                                                                  Projected
                                                                                                                  Recovery
Class     Claim/Equity                Treatment of Claim/Equity Interest                           Voting         Under the
          Interest                                                                                                  Plan
 8        Existing AIG      The Existing AIG FP Interests will remain effective and              Impaired;           0%
          FP Interests      outstanding on the Effective Date. In accordance with             Deemed to Reject6
                            Article III.B.4 of the Plan, the Parent, as the sole Holder of
                            the Allowed Class 4 Prepetition Revolving Loan Claim,
                            will retain the Existing AIG FP Interests in exchange for,
                            and in full satisfaction, settlement, discharge and release of,
                            such Allowed Class 4 Claim. The Parent will not retain any
                            Existing AIG FP Interests or receive any other distribution
                            on account of its Allowed Class 9 Existing AIG FP
                            Interests.

  C.        ACCEPTANCE OR REJECTION OF THE PLAN

            1.       Presumed Acceptance of Plan

          Classes 1, 2, 3, 5, and 6 are Unimpaired under the Plan. Therefore, the Holders of Claims
  in such Classes are deemed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy
  Code and are not entitled to vote to accept or reject the Plan.

            2.       Presumed Rejection of Plan

          Class 8 is Impaired, and the Holder of Equity Interests in such Class will receive no
  distribution under the Plan on account of such Equity Interests. Therefore, such Holder is deemed
  to have rejected the Plan pursuant to section 1126(g) of the Bankruptcy Code and is not entitled to
  vote to accept or reject the Plan.

            3.       Voting Classes

         Classes 4 and 7 are Impaired under the Plan. The Holders of Claims in such Classes as of
  the Voting Record Date are entitled to vote to accept or reject the Plan.

            4.       Acceptance by Impaired Classes of Claims

          Pursuant to section 1126(c) of the Bankruptcy Code and except as otherwise provided in
  section 1126(e) of the Bankruptcy Code, an Impaired Class of Claims has accepted the Plan if the
  Holders of at least two-thirds (2/3) in dollar amount and more than one-half (1/2) in number of the
  Allowed Claims in such Class actually voting have voted to accept the Plan.




  6
        Class 8 is an Impaired Class and the Parent, in its capacity as Holder of the Allowed Existing AIG FP Interests in
        Class 8, is conclusively deemed to have rejected the Plan pursuant to section 1126(g) of the Bankruptcy Code.
        Therefore, the Parent is not entitled to vote to accept or reject the Plan in its capacity as Holder of the Allowed
        Class 8 Existing AIG FP Interests.

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        5.      Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the
                Bankruptcy Code

        Section 1129(a)(10) of the Bankruptcy Code will be satisfied for purposes of Confirmation
by acceptance of the Plan by Class 7. The Debtor requests confirmation of the Plan under section
1129(b) of the Bankruptcy Code with respect to the Impaired Classes that do not accept the Plan
pursuant to section 1126 of the Bankruptcy Code. The Debtor reserves the right to modify the
Plan or any Exhibit or Plan Schedule in order to satisfy the requirements of section 1129(b) of the
Bankruptcy Code, if necessary.

        6.      Votes Solicited in Good Faith

       The Debtor is soliciting, and upon the Confirmation Date will be deemed to have solicited,
votes on the Plan from the Voting Classes in good faith and in compliance with the applicable
provisions of the Bankruptcy Code, including, without limitation, sections 1125 and 1126 of the
Bankruptcy Code, and any applicable non-bankruptcy law, rule, or regulation governing the
adequacy of disclosure in connection with the solicitation. Accordingly, the Debtor, the
Reorganized Debtor, and each of their respective Related Persons will be entitled to, and upon the
Confirmation Date will be granted, the protections of section 1125(e) of the Bankruptcy Code.

D.      EXIT FACILITY CREDIT AGREEMENT

        On the Effective Date, the Debtor and the Reorganized Debtor, as applicable, will be
authorized to execute and deliver, and to consummate the transactions contemplated by, the Exit
Facility Credit Agreement and any related loan documents, without further notice to or order of
the Bankruptcy Court, act or action under applicable law, regulation, order, or rule or the vote,
consent, authorization or approval of any Person or Entity (other than as expressly required by the
Exit Facility Credit Agreement or any related loan documents). On the Effective Date, the Exit
Facility Credit Agreement and any related loan documents will constitute legal, valid, binding and
authorized indebtedness and obligations of the Reorganized Debtor, enforceable in accordance
with their respective terms and such indebtedness and obligations will not be, and will not be
deemed to be, enjoined or subject to discharge, impairment, release or avoidance under the Plan,
the Confirmation Order or on account of the Confirmation or Consummation of the Plan.

E.      GLOBAL SETTLEMENT

        The Plan incorporates a compromise and settlement of the Released and Settled Claims
held by the DCP Claimants in the form of a “Global Settlement,” which the Parent supports.
Pursuant to the Global Settlement, solely in the event that Class 7 votes to accept the Plan, the
Parent has agreed to permit each DCP Claimant to receive, in full satisfaction, settlement,
discharge and release of, and in exchange for, its Class 7 Subordinated Claim, an equal share of
the Class 7 Cash Pool based on the number of Holders in Class 7, after payment therefrom of any
taxes due with respect to the Class 7 Cash Pool (including, but not limited to, any employer taxes
paid or payable by the Debtor or any affiliate of the Debtor with respect to distributions of the
Class 7 Cash Pool, as determined by the Debtor). The Parent has consented to the funding of the
Class 7 Cash Pool with Cash, the value of which the Parent would otherwise be entitled to receive
as part of its recovery on account of its Class 4 Prepetition Revolving Loan Claims pursuant to

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section 1129(b)(2) of the Bankruptcy Code. All taxes paid or payable by the Debtor or any affiliate
of the Debtor with respect to distributions of the Class 7 Cash Pool will be deducted from the Class
7 Cash Pool prior to the payment to each DCP Claimant of any distribution from the Class 7 Cash
Pool. Any distribution of the Class 7 Cash Pool to each DCP Claimant will be subject to any
withholding or deduction for taxes required by applicable law.

        The Global Settlement is a cornerstone of the Plan and necessary to achieve a beneficial
and efficient resolution of the Chapter 11 Case for all parties-in-interest. The Plan will be deemed
to constitute a motion seeking approval of the Global Settlement, and the entry of the Confirmation
Order will constitute the Bankruptcy Court’s approval of such motion and each of the compromises
or settlements that comprise the Global Settlement, and the Bankruptcy Court’s findings will
constitute its determination that such compromises and settlements are within the range of
reasonableness, in the best interests of the Debtor, its Estate, its creditors, and other parties-in-
interest, and fair and equitable.

F.      TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

        1.         Assumption of Executory Contracts and Unexpired Leases

       On the Effective Date, the Reorganized Debtor will assume all Executory Contracts and
Unexpired Leases of the Debtor in accordance with, and subject to, the provisions and
requirements of sections 365 and 1123 of the Bankruptcy Code, except for those Executory
Contracts and Unexpired Leases that:

             i.    have been assumed or rejected by the Debtor by prior order of the Bankruptcy
                   Court;

          ii.      previously expired or terminated pursuant to its own terms;

         iii.      are the subject of a motion to reject filed by the Debtor that is pending on the
                   Effective Date;

         iv.       are identified in the Plan Supplement, which Plan Supplement may be amended by
                   the Debtor to add or remove Executory Contracts and Unexpired Leases by filing
                   with the Bankruptcy Court an amended Plan Schedule and serving it on the affected
                   non-Debtor contract parties at least seven (7) days prior to the Plan Objection
                   Deadline or as soon as reasonably practicable thereafter, provided that any such
                   non-Debtor counterparty will have seven (7) days to object to the inclusion of their
                   Executory Contract and/or Unexpired Lease on such schedule; or

          v.       are rejected by the Debtor or terminated pursuant to the terms of the Plan.

       Without amending or altering any prior order of the Bankruptcy Court approving the
assumption or rejection of any Executory Contract or Unexpired Lease, entry of the Confirmation
Order by the Bankruptcy Court will constitute approval of such assumptions pursuant to sections
365(a) and 1123 of the Bankruptcy Code.



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        To the maximum extent permitted by law, to the extent any provision in any Executory
Contract or Unexpired Lease assumed or assumed and assigned (as applicable) pursuant to the
Plan or any prior order of the Bankruptcy Court (including, without limitation, any “change in
control” provision, “change of control” provision, or provision with words of similar import)
prohibits, restricts or conditions, or purports to prohibit, restrict or condition, or is modified,
breached or terminated, or deemed modified, breached or terminated by, (i) the commencement of
this Chapter 11 Case or the insolvency or financial condition of the Debtor at any time before the
closing of its Chapter 11 Case, (ii) the Debtor’s or the Reorganized Debtor’s assumption or
assumption and assignment (as applicable) of such Executory Contract or Unexpired Lease or (iii)
the Confirmation or Consummation of the Plan, then such provision will be deemed modified such
that the transactions contemplated by the Plan will not entitle the non-Debtor party thereto to
modify or terminate such Executory Contract or Unexpired Lease or to exercise any other default-
related rights or remedies with respect thereto, and any required consent under any such contract
or lease will be deemed satisfied by the Confirmation of the Plan.

       Each Executory Contract and Unexpired Lease assumed and/or assigned pursuant to the
Plan will revest in and be fully enforceable by the Reorganized Debtor or the applicable assignee
in accordance with its terms and conditions, except as modified by the provisions of the Plan, any
order of the Bankruptcy Court approving its assumption and/or assignment, or applicable law.

         Neither the assumption of any Executory Contract or Unexpired Lease pursuant to the Plan
nor the inclusion or exclusion of any contract or lease on any schedule or exhibit nor anything
contained in the Plan or Plan Supplement, will constitute an admission by the Debtor that any such
contract or lease is in fact an Executory Contract or Unexpired Lease or that the Debtor or the
Reorganized Debtor has any liability thereunder. If there is a dispute regarding whether a contract
or lease is or was executory or unexpired at the time of assumption, the Debtor or the Reorganized
Debtor, as applicable, will have thirty (30) calendar days following entry of a Final Order resolving
such dispute to alter its treatment of such contract or lease, including by rejecting such contract or
lease nunc pro tunc to the Confirmation Date. The deemed assumption provided for in the Plan will
not apply to any such contract or lease, and any such contract or lease will be assumed or rejected
only upon motion of the Debtor following the Bankruptcy Court’s determination that the contract
is executory or the lease is unexpired.

        2.      Cure of Defaults; Assignment of Executory Contracts and Unexpired Leases

        Any defaults under each Executory Contract and Unexpired Lease to be assumed, or
assumed and assigned, pursuant to the Plan will be satisfied, pursuant to and to the extent required
by section 365(b)(1) of the Bankruptcy Code, by payment of the applicable default amount in Cash
on or in connection with the Effective Date or on such other terms as the Bankruptcy Court may
order or the parties to such Executory Contracts or Unexpired Leases may otherwise agree in
writing (the “Cure Claim Amount”).




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          In the event of an assumption, or an assumption and assignment, of an Executory Contract
or Unexpired Lease under the Plan, at least fourteen (14) days prior to the Plan Objection Deadline,
the Debtor will File and serve upon counterparties to such Executory Contracts and Unexpired
Leases, a notice of the proposed assumption, or proposed assumption and assignment, which will:
(a) list the applicable Cure Claim Amount, if any; (b) if applicable, identify the party to which the
Executory Contract or Unexpired Lease will be assigned; (c) describe the procedures for filing
objections thereto; and (d) explain the process by which related disputes will be resolved by the
Bankruptcy Court.

        Any objection by a counterparty to an Executory Contract or Unexpired Lease to a
proposed assumption, or proposed assumption and assignment under the Plan, or any related cure
amount, must be Filed, served and actually received by the Debtor prior to the Plan Objection
Deadline (notwithstanding anything in the Schedules or a proof of Claim to the contrary). Any
counterparty to an Executory Contract or Unexpired Lease that fails to object timely to the
proposed assumption, or proposed assumption and assignment, or cure amount will be deemed to
have consented to such matters and will be deemed to have forever released and waived any
objection to such proposed assumption, proposed assumption and assignment, and cure amount.
The Confirmation Order will constitute an order of the Bankruptcy Court approving each proposed
assumption, or proposed assumption and assignment, of Executory Contracts and Unexpired
Leases pursuant to sections 365 and 1123 of the Bankruptcy Code as of the Effective Date.

        In the event of a dispute regarding (a) the amount of any cure payment, (b) the ability of
the Debtor or assignee to provide “adequate assurance of future performance” (within the meaning
of section 365 of the Bankruptcy Code) under the Executory Contract or Unexpired Lease to be
assumed, or assumed and assigned, or (c) any other matter pertaining to assumption or assignment,
the applicable cure payments required by section 365(b)(1) of the Bankruptcy Code will be made
following the entry of a Final Order resolving the dispute and approving such assumption, or
assumption and assignment. If such objection is sustained by Final Order of the Bankruptcy Court,
the Debtor or the Reorganized Debtor, as applicable, may elect to reject such Executory Contract
or Unexpired Lease in lieu of assuming or assigning it. The Debtor or the Reorganized Debtor, as
applicable, will be authorized to effect such rejection by filing a written notice of rejection with
the Bankruptcy Court and serving such notice on the applicable counterparty within ten (10) days
of the entry of such Final Order.

        Subject to any cure claims Filed with respect thereto, assumption or assumption and
assignment of any Executory Contract or Unexpired Lease pursuant to the Plan will result in the
full release and satisfaction of any Claims or defaults, whether monetary or nonmonetary,
including defaults of provisions restricting the change in control or ownership interest composition
or other bankruptcy-related defaults, arising under any assumed Executory Contract or Unexpired
Lease at any time prior to the effective date of assumption or assumption and assignment, in each
case as provided in section 365 of the Bankruptcy Code. Any proofs of Claim filed with respect
to an Executory Contract or Unexpired Lease that has been assumed or assumed and assigned by
Final Order will be deemed disallowed and expunged (subject to any cure claims Filed with respect
thereto), without further notice to or action, order, or approval of the Bankruptcy Court.




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         With respect to any Executory Contract or Unexpired Lease assumed and assigned
pursuant to the Plan, upon and as of the Effective Date, the applicable assignee will be deemed to
be substituted as a party thereto for the Debtor party to such assigned Executory Contract or
Unexpired Lease and, accordingly, the Debtor and the Reorganized Debtor will be relieved,
pursuant to and to the extent set forth in section 365(k) of the Bankruptcy Code, from any further
liability under such assigned Executory Contract or Unexpired Lease.

        3.      Rejection of Executory Contracts and Unexpired Leases

        The Debtor reserves the right, at any time prior to the Effective Date, except as otherwise
specifically provided herein, to seek to reject any Executory Contract or Unexpired Lease and to
file a motion requesting authorization for the rejection of any such contract or lease. All Executory
Contracts and Unexpired Leases listed in the Plan Schedules will be deemed rejected as of the
Effective Date. The Confirmation Order will constitute an order of the Bankruptcy Court
approving the rejections described in Article VI of the Plan pursuant to sections 365 and 1123 of
the Bankruptcy Code as of the Effective Date. Rejection of any Executory Contract or Unexpired
Lease pursuant to the Plan or otherwise will not constitute a termination of any preexisting
obligations owed to the Debtor or the Reorganized Debtor, as applicable, under such Executory
Contracts or Unexpired Leases.

        4.      Claims on Account of the Rejection of Executory Contracts or Unexpired
                Leases

        All proofs of Claim with respect to Claims arising from the rejection of Executory
Contracts or Unexpired Leases, pursuant to the Plan or the Confirmation Order, if any, must be
filed with the Bankruptcy Court within thirty (30) days after service of an order of the Bankruptcy
Court (including the Confirmation Order) approving such rejection.

        Any Person or Entity that is required to file a proof of Claim arising from the rejection of
an Executory Contract or an Unexpired Lease that fails to timely do so will be forever barred,
estopped and enjoined from asserting such Claim, and such Claim will not be enforceable, against
the Debtor, the Reorganized Debtor or the Estate, and the Debtor, the Reorganized Debtor and
their Estate and their respective assets and property will be forever discharged from any and all
indebtedness and liability with respect to such Claim unless otherwise ordered by the Bankruptcy
Court or as otherwise provided in the Plan. All such Claims will, as of the Effective Date, be
subject to the permanent injunction set forth in Article X.G of the Plan.

        5.      D&O Liability Insurance Policies

        On the Effective Date, each D&O Liability Insurance Policy (including any “tail policy”)
will be deemed and treated as an Executory Contract that is and will be assumed by the Debtor
(and assigned to the Reorganized Debtor, if necessary) pursuant to section 365(a) and section 1123
of the Bankruptcy Code as to which no proof of Claim, request for administrative expense, or cure
claim need be Filed, and all Claims arising from the D&O Liability Insurance Policies will survive
the Effective Date and be Unimpaired. Unless previously effectuated by separate order entered by
the Bankruptcy Court, entry of the Confirmation Order will constitute the Bankruptcy Court’s
approval of the Debtor’s assumption of each of the D&O Liability Insurance Policies (including

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any “tail policies”). After the Effective Date, neither the Debtor nor the Reorganized Debtor will
terminate or otherwise reduce the coverage under any such policies (including any “tail policies”)
with respect to conduct occurring prior to the Effective Date, and all officers and directors of the
Debtor who served in such capacity at any time before the Effective Date will be entitled to the
full benefits of any such policies regardless of whether such officers or directors remain in such
positions after the Effective Date. Confirmation and Consummation of the Plan will not impair or
otherwise modify any available defenses of the Reorganized Debtor under the D&O Liability
Insurance Policies. For the avoidance of doubt, the D&O Liability Insurance Policies will continue
to apply with respect to actions, or failures to act, that occurred on or prior to the Effective Date,
subject to the terms and conditions of the D&O Liability Insurance Policies. The Debtor is further
authorized to take such actions, and to execute and deliver such documents, as may be reasonably
necessary or appropriate to implement, maintain, cause the binding of, satisfy any terms or
conditions of, or otherwise secure for the insureds the benefits of the D&O Liability Insurance
Policies (including any “tail policies”), without further notice to or order of the Bankruptcy Court
or approval or consent of any Person or Entity.

        6.      Indemnification Provisions

       On the Effective Date, all Indemnification Provisions will be deemed and treated as
Executory Contracts that are and will be assumed by the Debtor (and assigned to the Reorganized
Debtor, if necessary) pursuant to section 365(a) and section 1123 of the Bankruptcy Code as to
which no proof of Claim, request for administrative expense, or cure claim need be Filed, and all
Claims arising from the Indemnification Provisions will survive the Effective Date and be
Unimpaired. Unless previously effectuated by separate order entered by the Bankruptcy Court,
entry of the Confirmation Order will constitute the Bankruptcy Court’s approval of the Debtor’s
assumption of such Indemnification Provisions. Confirmation and Consummation of the Plan will
not impair or otherwise modify any available defenses of the Reorganized Debtor or other
applicable parties under the Indemnification Provisions. For the avoidance of doubt, the
Indemnification Provisions will continue to apply with respect to actions, or failures to act, that
occurred on or prior to the Effective Date, subject to the terms and conditions of the
Indemnification Provisions.

        7.      Extension of Time to Assume or Reject

        Notwithstanding anything to the contrary set forth in Article VI of the Plan, in the event of
a dispute as to whether a contract is executory or a lease is unexpired, the right of the Reorganized
Debtor to move to assume or reject such contract or lease will be extended until the date that is ten
(10) days after entry of a Final Order by the Bankruptcy Court determining that the contract is
executory or the lease is unexpired. The deemed assumption provided for in Article VI.A of the
Plan will not apply to any such contract or lease, and any such contract or lease will be assumed
or rejected only upon motion of the Reorganized Debtor following the Bankruptcy Court’s
determination that the contract is executory or the lease is unexpired.




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        8.      Modifications, Amendments, Supplements, Restatements, or Other
                Agreements

        Unless otherwise provided in the Plan, each Executory Contract or Unexpired Lease that
is assumed by the Debtor or the Reorganized Debtor will include all modifications, amendments,
supplements, restatements, or other agreements that in any manner affect such Executory Contract
or Unexpired Lease, and all rights related thereto, if any, including all easements, licenses, permits,
rights, privileges, immunities, options, rights of first refusal, and any other interests, unless any of
the foregoing has been previously rejected or repudiated or is rejected or repudiated pursuant to
the Plan. Modifications, amendments, supplements, and restatements to prepetition Executory
Contracts and Unexpired Leases that have been executed by the Debtor during the Chapter 11 Case
will not be deemed to alter the prepetition nature of the Executory Contract or Unexpired Lease,
or the validity, priority, or amount of any Claims that may arise in connection therewith.

G.      CONDITIONS PRECEDENT TO CONFIRMATION AND CONSUMMATION OF
        THE PLAN

        1.      Conditions Precedent to Confirmation

       It will be a condition to Confirmation of the Plan that the following conditions will have
been satisfied or waived pursuant to the provisions of Article IX.C of the Plan:

                •   The Plan and the Restructuring Documents will be in form and substance
                    acceptable to the Debtor and the Parent; and

                •   The Confirmation Order, which will be in form and substance acceptable to the
                    Debtor and the Parent, will have been entered by the Bankruptcy Court.

        2.      Conditions Precedent to Consummation

       It will be a condition to Consummation of the Plan that the following conditions will have
been satisfied or waived pursuant to the provisions of Article IX.C of the Plan:

                •   The Confirmation Order will have become a Final Order and such order will
                    not have been amended, modified, vacated, stayed, or reversed;

                •   The Bankruptcy Court will have entered one or more Final Orders (which may
                    include the Confirmation Order) authorizing the assumption, assumption and
                    assignment, and/or rejection of the Executory Contracts and Unexpired Leases
                    by the Debtor as contemplated in the Plan and the Plan Supplement;

                •   The Plan and the Restructuring Documents will not have been amended or
                    modified other than in a manner in form and substance acceptable to the Debtor
                    and the Parent;

                •   The Restructuring Documents will have been filed, tendered for delivery, and
                    been effectuated or executed by all Persons or Entities party thereto (as
                    appropriate), and in each case in full force and effect. All conditions precedent
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                    to the effectiveness of such Restructuring Documents will have been satisfied
                    or waived pursuant to the terms of such applicable Restructuring Documents
                    (or will be satisfied concurrently with the occurrence of the Effective Date);

                •   All consents, actions, documents, certificates and agreements necessary to
                    implement the Plan and the transactions contemplated by the Plan will have
                    been, as applicable, obtained and not otherwise subject to unfulfilled
                    conditions, effected or executed and delivered to the required parties and, to the
                    extent required, filed with the applicable governmental units in accordance with
                    applicable laws, and in each case in full force and effect;

                •   All governmental approvals and consents, including Bankruptcy Court
                    approval, that are applicable and legally required for the consummation of the
                    Plan will have been obtained, not be subject to unfulfilled conditions and be in
                    full force and effect; and

                •   The Professional Fee Reserve will have been funded in full in Cash by the
                    Debtor in accordance with the terms and conditions of the Plan.

        3.      Waiver of Conditions

        Subject to section 1127 of the Bankruptcy Code, the conditions to Confirmation and
Consummation of the Plan set forth in IV.F of the Plan may be waived by the Debtor, with the
consent of the Parent, without notice, leave or order of the Bankruptcy Court or any formal action
other than proceeding to confirm or consummate the Plan. The failure of the Debtor or
Reorganized Debtor to exercise any of the foregoing rights will not be deemed a waiver of any
other rights, and each right will be deemed an ongoing right that may be asserted at any time.

        4.      Effect of Non-Occurrence of Conditions to Confirmation or Consummation

        If the Confirmation or the Consummation of the Plan does not occur, then the Plan will be
null and void in all respects and nothing contained in the Plan or the Disclosure Statement will:
(1) constitute a waiver or release of any claims by or Claims against or Equity Interests in the
Debtor; (2) prejudice in any manner the rights of the Debtor, any Holders or any other Person or
Entity; (3) constitute an Allowance of any Claim or Equity Interest; or (4) constitute an admission,
acknowledgment, offer or undertaking by the Debtor, any Holders or any other Person or Entity in
any respect.

H.      RELEASE, DISCHARGE, INJUNCTION AND RELATED PROVISIONS

        1.      General

        With respect to Class 7 Claims only, pursuant to section 1123 of the Bankruptcy Code, and
in consideration for the classification, distributions, releases, and other benefits provided under the
Plan, upon the Effective Date, the provisions of the Plan will constitute a good faith compromise
and settlement of such Class 7 Claims.


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        Notwithstanding anything contained in the Plan to the contrary, the allowance,
classification and treatment of all Allowed Claims and Equity Interests and their respective
distributions (if any) and treatments hereunder, takes into account the relative priority and rights
of the Claims and the Equity Interests in each Class in connection with any contractual, legal and
equitable subordination rights relating thereto whether arising under general principles of equitable
subordination, section 510 of the Bankruptcy Code or otherwise. As of the Effective Date, any
and all contractual, legal and equitable subordination rights, whether arising under general
principles of equitable subordination, section 510 of the Bankruptcy Code or otherwise, relating
to the allowance, classification and treatment of all Allowed Claims and Equity Interests and their
respective distributions (if any) and treatments hereunder, are settled, compromised, terminated
and released pursuant hereto; provided, however, that nothing contained in Article X of the Plan
will preclude any Person or Entity from exercising their rights pursuant to and consistent with the
terms of the Plan and the contracts, instruments, releases, indentures, and other agreements or
documents delivered under or in connection with the Plan.

        2.      Release by the Debtor and its Estate

        Pursuant to section 1123(b) and any other applicable provisions of the Bankruptcy
Code, and except as otherwise expressly provided in the Plan, effective as of the Effective
Date, for good and valuable consideration provided by each of the Released Parties, the
adequacy and sufficiency of which is hereby confirmed, the Debtor, in its capacity as debtor-
in-possession, and the Reorganized Debtor, on behalf of themselves and the Estate, including,
without limitation, any successor to the Debtor or any Estate representative appointed or
selected pursuant to section 1123(b)(3) of the Bankruptcy Code (collectively, the “Debtor
Releasing Parties”) will be deemed to have conclusively, absolutely, unconditionally,
irrevocably, and forever provided a full discharge, waiver and release to each of the Released
Parties (and each such Released Party so released will be deemed forever released, waived
and discharged by the Debtor Releasing Parties) and their respective assets and properties
(the “Debtor Release”) from any and all Claims, Causes of Action, Litigation Claims and any
other debts, obligations, rights, suits, damages, actions, remedies, and liabilities whatsoever,
whether known or unknown, foreseen or unforeseen, whether directly or derivatively held,
existing as of the Effective Date or thereafter arising, in law, at equity or otherwise, whether
for tort, contract, violations of federal or state securities laws, or otherwise, based in whole
or in part upon any act or omission, transaction, or other occurrence or circumstances
existing or taking place prior to or on the Effective Date arising from or related in any way
in whole or in part to any of the Debtor or its Affiliates, including, without limitation, (i) the
Chapter 11 Case, the Disclosure Statement, the Plan, the Restructuring Documents, or the
Prepetition Revolving Loan Documents, (ii) the subject matter of, or the transactions or
events giving rise to, any Claim or Equity Interest that is treated in the Plan, (iii) the business
or contractual arrangements between the Debtor and any Released Parties, (iv) the
negotiation, formulation or preparation of the Plan, the Disclosure Statement, the Plan
Supplement, the Restructuring Documents, the Prepetition Revolving Loan Documents or
related settlements, agreements, instruments or other documents, (v) the restructuring of
Claims or Equity Interests prior to or during the Chapter 11 Case, (vi) the purchase, sale, or
rescission of the purchase or sale of any Equity Interest of the Debtor or the Reorganized
Debtor, and/or (vii) the Confirmation or Consummation of the Plan or the solicitation of
votes on the Plan that such Debtor Releasing Party would have been legally entitled to assert
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(whether individually or collectively) or that any Holder of a Claim or Equity Interest or
other Person or Entity would have been legally entitled to assert for, or on behalf or in the
name of, the Debtor, its Estate or the Reorganized Debtor (whether directly or derivatively)
against any of the Released Parties; provided, however, that the foregoing provisions of this
Debtor Release will not operate to waive or release the rights of such Debtor Releasing Party
to enforce the Plan and the contracts, instruments, releases, indentures, and other
agreements or documents delivered under or in connection with the Plan (including, without
limitation, the Exit Facility Credit Agreement) or assumed pursuant to the Plan or assumed
pursuant to Final Order of the Bankruptcy Court.

       The foregoing release will be effective as of the Effective Date without further notice
to or order of the Bankruptcy Court, act or action under applicable law, regulation, order,
or rule or the vote, consent, authorization or approval of any Person or Entity and the
Confirmation Order will permanently enjoin the commencement or prosecution by any
Person or Entity, whether directly, derivatively or otherwise, of any claims, obligations, suits,
judgments, damages, demands, debts, rights, Causes of Action, or liabilities released
pursuant to this Debtor Release. Notwithstanding the foregoing, nothing in Article X.B of
the Plan will or will be deemed to (i) prohibit the Debtor or the Reorganized Debtor from
asserting and enforcing any claims, obligations, suits, judgments, demands, debts, rights,
Causes of Action or liabilities they may have against any Person or Entity that is based upon
an alleged breach of a confidentiality or non-compete obligation owed to the Debtor or the
Reorganized Debtor and/or (ii) operate as a release or waiver of any Intercompany Claims,
in each case unless otherwise expressly provided for in the Plan.

        Entry of the Confirmation Order will constitute the Bankruptcy Court’s approval of
the Debtor Release, which includes by reference each of the related provisions and definitions
contained in the Plan and Article X.B thereof, and further, will constitute the Bankruptcy
Court’s finding that the Debtor Release is: (i) in exchange for the good and valuable
consideration provided by the Released Parties; (ii) a good faith settlement and compromise
of the Claims and Causes of Action released by the Debtor Release; (iii) in the best interest
of the Debtor and its Estate; (iv) fair, equitable and reasonable; and (v) given and made after
due notice and opportunity for hearing.

        3.      Waiver of Statutory Limitations on Debtor Release

        Each of the Debtor Releasing Parties in each of the releases contained above expressly
acknowledges that although ordinarily a general release may not extend to Claims which the
Debtor Releasing Party does not know or suspect to exist in its favor, which if known by it may
have materially affected its settlement with the party released, they have carefully considered and
taken into account in determining to enter into the above releases the possible existence of such
unknown losses or claims. Without limiting the generality of the foregoing, each Debtor Releasing
Party expressly waives any and all rights conferred upon it by any statute or rule of law which
provides that a release does not extend to claims which the claimant does not know or suspect to
exist in its favor at the time of providing the release, which if known by it may have materially
affected its settlement with the released party. Except as otherwise provided in the Plan, the
releases contained in the Plan are effective regardless of whether those released matters are
presently known, unknown, suspected or unsuspected, foreseen or unforeseen.

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        4.      Discharge of Claims and Equity Interests

       To the fullest extent provided under section 1141(d)(1)(A) and other applicable
provisions of the Bankruptcy Code, except as otherwise expressly provided by the Plan
(including, without limitation, Article V.E and Article V.F of the Plan) or the Confirmation
Order, effective as of the Effective Date, all consideration distributed under the Plan will be
in exchange for, and in complete satisfaction, settlement, discharge, and release of, all
Claims, Equity Interests and Causes of Action of any kind or nature whatsoever against the
Debtor or any of its assets or properties, and regardless of whether any property will have
been distributed or retained pursuant to the Plan on account of such Claims, Equity Interests
or Causes of Action.

       Except as otherwise expressly provided by the Plan (including, without limitation,
Article V.E and Article V.F of the Plan) or the Confirmation Order, upon the Effective Date,
the Debtor and its Estate will be deemed discharged and released under and to the fullest
extent provided under sections 524 and 1141(d)(1)(A) and other applicable provisions of the
Bankruptcy Code from any and all Claims of any kind or nature whatsoever, including, but
not limited to, demands and liabilities that arose before the Confirmation Date, and all debts
of the kind specified in sections 502(g), 502(h), or 502(i) of the Bankruptcy Code. Such
discharge will void any judgment obtained against the Debtor or the Reorganized Debtor at
any time, to the extent that such judgment relates to a discharged Claim.

        Except as otherwise expressly provided by the Plan (including, without limitation,
Article V.E and Article V.F of the Plan) or the Confirmation Order, upon the Effective Date:
(i) the rights afforded in Article X.D of the Plan and the treatment of all Claims and Equity
Interests will be in exchange for and in complete satisfaction, settlement, discharge, and
release of all Claims and Equity Interests of any nature whatsoever, including any interest
accrued on such Claims from and after the Petition Date, against the Debtor or any of its
assets, property, or Estate; (ii) all Claims and Equity Interests will be satisfied, discharged,
and released in full, and the Debtor’s liability with respect thereto will be extinguished
completely without further notice or action; and (iii) all Persons and Entities will be
precluded from asserting against the Debtor, the Estate, the Reorganized Debtor, each of
their respective successors and assigns, and each of their respective assets and properties,
any such Claims or Equity Interests, whether based upon any documents, instruments or
any act or omission, transaction, or other activity of any kind or nature that occurred prior
to the Effective Date or otherwise.

        5.      Exculpation

       Effective as of the Effective Date, to the fullest extent permitted by law, the
Exculpated Parties will neither have nor incur any liability to any Person or Entity for any
Claims, Causes of Action, or Released and Settled Claims for any act taken or omitted to be
taken on or after the Petition Date and on or before the Effective Date in connection with, or
related to, formulating, negotiating, preparing, disseminating, implementing, administering,
confirming or effecting the Confirmation or Consummation of the Plan, the Disclosure
Statement, the Restructuring Documents, or any contract, instrument, release or other
settlement, agreement or document created or entered into in connection with the Plan or

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any other prepetition or postpetition act taken or omitted to be taken in connection with or
in contemplation of the restructuring of the Debtor, the approval of the Disclosure Statement
or Confirmation or Consummation of the Plan; provided, however, that the foregoing
provisions of this exculpation will not operate to waive or release: (i) any Causes of Action
arising from willful misconduct, actual fraud, or gross negligence of such applicable
Exculpated Party as determined by Final Order of the Bankruptcy Court or any other court
of competent jurisdiction; and/or (ii) the rights of any Person or Entity to enforce the Plan
and the contracts, instruments, releases, indentures, and other agreements and documents
delivered under or in connection with the Plan or assumed pursuant to the Plan or Final
Order of the Bankruptcy Court; provided, further, that each Exculpated Party will be entitled
to rely upon the advice of counsel concerning its respective duties pursuant to, or in
connection with, the above referenced documents, actions or inactions. The foregoing
exculpation will be effective as of the Effective Date without further notice to or order of the
Bankruptcy Court, act or action under applicable law, regulation, order, or rule or the vote,
consent, authorization or approval of any Person or Entity. Notwithstanding the foregoing,
nothing in Article X.E of the Plan will or will be deemed to prohibit the Debtor or the
Reorganized Debtor from asserting and enforcing any claims, obligations, suits, judgments,
demands, debts, rights, Causes of Action or liabilities they may have against any Person or
Entity that is based upon an alleged breach of a confidentiality or non-compete obligation
owed to the Debtor or the Reorganized Debtor, in each case unless otherwise expressly
provided for in the Plan.

        6.      Preservation of Causes of Action

                (a)    Maintenance of Causes of Action

        Except as otherwise provided in Error! Reference source not found. of the Plan
(including, without limitation, and for the avoidance of doubt, the Debtor Release contained in
IV.H.2 of the Plan, and Exculpation contained in Article X.E of the Plan) or elsewhere in the Plan
or the Confirmation Order, after the Effective Date, the Reorganized Debtor will retain all rights
to commence, pursue, litigate or settle, as appropriate, any and all Litigation Claims, whether
existing as of the Petition Date or thereafter arising, in any court or other tribunal including,
without limitation, in an adversary proceeding Filed in the Chapter 11 Case. The Reorganized
Debtor, as the successor-in-interest to the Debtor and the Estate, may, and will have the exclusive
right to, enforce, sue on, settle, compromise, transfer or assign (or decline to do any of the
foregoing) any or all of such Litigation Claims without notice to or approval from the Bankruptcy
Court.

                (b)    Preservation of All Causes of Action Not Expressly Settled or Released

        Except as expressly set forth in the Plan, the Debtor expressly reserves all Causes of Action
and Litigation Claims for later adjudication by the Debtor or the Reorganized Debtor (including,
without limitation, Causes of Action and Litigation Claims not specifically identified or of which
the Debtor may presently be unaware or which may arise or exist by reason of additional facts or
circumstances unknown to the Debtor at this time or facts or circumstances that may change or be
different from those the Debtor now believe to exist) and, therefore, no preclusion doctrine,
including, without limitation, the doctrines of res judicata, collateral estoppel, issue preclusion,

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claim preclusion, waiver, estoppel (judicial, equitable or otherwise) or laches will apply to such
Causes of Action or Litigation Claims upon or after the Confirmation or Consummation of the
Plan based on the Disclosure Statement, the Plan, or the Confirmation Order, except in each case
where such Causes of Action or Litigation Claims have been expressly waived, relinquished,
released, compromised or settled in the Plan (including, without limitation, and for the avoidance
of doubt, the Debtor Release contained in IV.H.2 and Exculpation contained in Article X.E of the
Plan) or any other Final Order (including, without limitation, the Confirmation Order). In addition,
the Debtor and the Reorganized Debtor expressly reserve the right to pursue or adopt any claims
alleged in any lawsuit in which the Debtor is a plaintiff, defendant or an interested party, against
any Person or Entity, including, without limitation, the plaintiffs or co-defendants in such lawsuits.

        No Person or Entity may rely on the absence of a specific reference in the Plan, the Plan
Supplement, or the Disclosure Statement to any Cause of Action or Litigation Claim against them
as any indication that the Debtor or the Reorganized Debtor will not pursue any and all available
Causes of Action or Litigation Claims against them. The Debtor and the Reorganized Debtor
expressly reserve all rights to prosecute any and all Causes of Action and Litigation Claims against
any Person or Entity, except as otherwise expressly provided in the Plan or the Confirmation Order
(including, without limitation, and for the avoidance of doubt, the Debtor Release contained in
Article X.B and the Exculpation contained in Article X.E).

        7.      Injunction

       EXCEPT AS OTHERWISE EXPRESSLY PROVIDED IN THE PLAN OR THE
CONFIRMATION ORDER, FROM AND AFTER THE EFFECTIVE DATE, ALL
PERSONS AND ENTITIES ARE, TO THE FULLEST EXTENT PROVIDED UNDER
SECTION 524 AND OTHER APPLICABLE PROVISIONS OF THE BANKRUPTCY
CODE, PERMANENTLY ENJOINED FROM (I) COMMENCING OR CONTINUING, IN
ANY MANNER OR IN ANY PLACE, ANY SUIT, ACTION OR OTHER PROCEEDING;
(II) ENFORCING, ATTACHING, COLLECTING, OR RECOVERING IN ANY MANNER
ANY JUDGMENT, AWARD, DECREE, OR ORDER; (III) CREATING, PERFECTING,
OR ENFORCING ANY LIEN OR ENCUMBRANCE; (IV) ASSERTING A SETOFF OR
RIGHT OF SUBROGATION OF ANY KIND; OR (V) COMMENCING OR CONTINUING
IN ANY MANNER ANY ACTION OR OTHER PROCEEDING OF ANY KIND, IN EACH
CASE ON ACCOUNT OF OR WITH RESPECT TO ANY CLAIM, DEMAND,
LIABILITY, OBLIGATION, DEBT, RIGHT, CAUSE OF ACTION, EQUITY INTEREST,
OR REMEDY RELEASED OR TO BE RELEASED, EXCULPATED OR TO BE
EXCULPATED, SETTLED OR TO BE SETTLED OR DISCHARGED OR TO BE
DISCHARGED PURSUANT TO THE PLAN OR THE CONFIRMATION ORDER
AGAINST ANY PERSON OR ENTITY SO RELEASED, DISCHARGED, OR
EXCULPATED (OR THE PROPERTY OR ESTATE OF ANY PERSON OR ENTITY SO
RELEASED, DISCHARGED, OR EXCULPATED). ALL INJUNCTIONS OR STAYS
PROVIDED FOR IN THE CHAPTER 11 CASE UNDER SECTION 105 OR SECTION 362
OF THE BANKRUPTCY CODE, OR OTHERWISE, AND IN EXISTENCE ON THE
CONFIRMATION DATE, WILL REMAIN IN FULL FORCE AND EFFECT UNTIL THE
EFFECTIVE DATE.



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        8.      Released and Settled Claims

        Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, the Plan
incorporates an integrated compromise, settlement, and release of the Released and Settled Claims,
to achieve a beneficial and efficient resolution of this Chapter 11 Case for all parties in interest.
The entry of the Confirmation Order will constitute the Bankruptcy Court’s approval, as of the
Effective Date, of the compromise or settlement of all such Released and Settled Claims and the
Bankruptcy Court’s determination that such compromises and settlements are in the best interests
of the Debtor, its Estate, the Reorganized Debtor, creditors, and all other parties in interest, and
are fair, equitable, and within the range of reasonableness. The compromises, settlements, and
releases described herein will be deemed nonseverable from each other and from all other terms
of the Plan.




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                                        V.
                    CONFIRMATION AND CONSUMMATION PROCEDURES

A.      CONFIRMATION OBJECTION PROCEDURES

        1.      Confirmation Hearing

        The Confirmation Hearing will commence at [●] prevailing Eastern Time on [February 28],
2023 before the Honorable [●], United States Bankruptcy Judge, in the United States Bankruptcy
Court for the District of Delaware, located at 824 North Market Street North, [●] Floor,
Wilmington, DE 19801. The Confirmation Hearing may be continued from time to time by the
Bankruptcy Court or the Debtor without further notice other than by such adjournment being
announced in open court or by a notice of adjournment filed with the Bankruptcy Court and served
on such parties as the Bankruptcy Court may order. Moreover, the Plan may be modified or
amended, if necessary, pursuant to section 1127 of the Bankruptcy Code, prior to, during or as a
result of the Confirmation Hearing, without further notice to parties in interest.

        2.      Filing Objections to the Plan

        Section 1128(b) of the Bankruptcy Code provides that any party in interest may object to
the confirmation of a plan of reorganization. Any objection to confirmation of the Plan must: (i) be
in writing; (ii) conform to the Bankruptcy Rules and the Local Rules; (iii) state the name and
address of the objecting party and the amount and nature of the Claim or Equity Interest of such
Entity; (iv) state with particularity the legal and factual bases and nature of any objection to the
Plan and, if practicable, a proposed modification to the Plan that would resolve such objection;
and (v) be filed, contemporaneously with a proof of service, with the Bankruptcy Court and served
so that it is actually received no later than the Plan Objection Deadline by the Notice Parties (as
defined in Section I.D herein).

 CONFIRMATION OBJECTIONS NOT TIMELY FILED AND SERVED IN THE MANNER
  SET FORTH HEREIN MAY NOT BE CONSIDERED BY THE BANKRUPTCY COURT
           AND MAY BE OVERRULED WITHOUT FURTHER NOTICE.

B.      STATUTORY REQUIREMENTS FOR CONFIRMATION OF THE PLAN

         At the Confirmation Hearing, the Bankruptcy Court will determine whether the Plan
satisfies the requirements of section 1129 of the Bankruptcy Code. The Debtor believes that:
(i) the Plan satisfies or will satisfy all of the statutory requirements of chapter 11 of the Bankruptcy
Code; (ii) the Debtor has complied or will have complied with all of the requirements of chapter
11 of the Bankruptcy Code; and (iii) the Plan has been proposed in good faith. Specifically, the
Debtor believes that the Plan satisfies or will satisfy the applicable confirmation requirements of
section 1129 of the Bankruptcy Code set forth below:

        •    The Plan complies with the applicable provisions of the Bankruptcy Code;

        •    The Debtor complied with the applicable provisions of the Bankruptcy Code;


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        •   The Plan has been proposed in good faith and not by any means forbidden by law;

        •   Any payment made or promised under the Plan for services or for costs and expenses
            in, or in connection with, the Chapter 11 Case, or in connection with the Plan and
            incident to the case, has been or will be disclosed to the Bankruptcy Court, and any
            such payment: (a) made before the confirmation of the Plan is reasonable; or (b) if it is
            to be fixed after confirmation of the Plan, is subject to the approval of the Bankruptcy
            Court for the determination of reasonableness;

        •   The Debtor has disclosed the identity and affiliations of any individual proposed to
            serve, after confirmation of the Plan, as a director, officer, or voting trustee of the
            Debtor, an affiliate of the Debtor participating in the Plan with the Debtor, or a
            successor to the Debtor under the Plan. The appointment to, or continuance in, such
            office by such individual will be consistent with the interests of creditors and equity
            security holders and with public policy and the Debtor will have disclosed the identity
            of any insider that the Reorganized Debtor will employ or retain, and the nature of any
            compensation for such insider;

        •   Either each Holder of an Impaired Claim or an Impaired Equity Interest has accepted
            the Plan, or will receive or retain under the Plan on account of such Claim or Equity
            Interest, property of a value, as of the Effective Date of the Plan, that is not less than
            the amount that such Holder would receive or retain if the Debtor were liquidated on
            that date under chapter 7 of the Bankruptcy Code;

        •   Each Class of Claims that is entitled to vote on the Plan has either accepted the Plan or
            will not be Impaired under the Plan, or the Plan can be confirmed without the approval
            of such Voting Class pursuant to section 1129(b) of the Bankruptcy Code;

        •   Except to the extent that the Holder of a particular Claim agrees to a different treatment
            of its Claim, the Plan provides that Administrative Claims and Other Priority Claims
            will be paid in full in Cash on the Effective Date, or as soon thereafter as is reasonably
            practicable, and that Priority Tax Claims will be paid in accordance with
            section 1129(a)(9)(C) of the Bankruptcy Code;

        •   At least one Class of Impaired Claims has accepted the Plan, determined without
            including any acceptance of the Plan by any insider holding a Claim in that Class;

        •   Confirmation of the Plan will not likely be followed by the liquidation or the need for
            further financial reorganization of the Debtor or any successor thereto under the Plan;
            and

        •   All outstanding fees payable pursuant to section 1930 of title 28 of the United States
            Code will be paid when due.

       Concurrently with its solicitation of votes on the Plan, the Debtor is conducting a marketing
process for a 363 Sale. The Debtor intends to file one or more motions with the Bankruptcy Court
requesting approval of (a) bidding procedures in connection with the proposed 363 Sale, and (b)

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the consummation of the 363 Sale. In the event that the Debtor does not receive the requisite votes
to confirm the Plan or otherwise fails to meet the requirements for confirmation under section 1129
of the Bankruptcy Code, the Debtor intends to pursue and consummate the 363 Sale. The Debtor
anticipates that Parent will bid at such auction, and if Parent is determined to be the highest and
best bidder, the Debtor will seek Court approval of the consummation of the 363 Sale to Parent in
exchange for the satisfaction, settlement, discharge, and release of a portion of the Parent’s
Prepetition Revolving Loan Claim. The Debtor further reserves all rights to object to and seek the
disallowance of the Subordinated Claims in their entirety if Confirmation and Consummation of
the Plan does not occur.

        1.      Best Interests of Creditors Test/Liquidation Analysis

        Often called the “best interests” test, section 1129(a)(7) of the Bankruptcy Code requires
that a bankruptcy court find, as a condition to confirmation, that a chapter 11 plan provide, with
respect to each class, that each holder of a claim or an equity interest in such class either (a) has
accepted the plan or (b) will receive or retain under the plan property of a value, as of the effective
date of the plan, that is not less than the amount that such holder would receive or retain if the
debtor or debtors were liquidated under chapter 7 of the Bankruptcy Code. To make these findings,
the Bankruptcy Court must: (a) estimate the cash liquidation proceeds that a chapter 7 trustee
would generate if the Chapter 11 Case were converted to a chapter 7 case and the assets of the
debtor’s estate were liquidated; (b) determine the liquidation distribution that each non-accepting
holder of a claim or an equity interest would receive from such liquidation proceeds under the
priority scheme dictated in chapter 7; and (c) compare such holder’s liquidation distribution to the
distribution under the chapter 11 plan that such holder would receive if the chapter 11 plan were
confirmed.

        In chapter 7 cases, creditors and interest holders of a debtor are paid from available assets
generally in the following order, with no junior class receiving any payments until all amounts due
to senior classes have been paid in full: (a) holders of secured claims (to the extent of the value of
their collateral); (b) holders of priority claims; (c) holders of unsecured claims; (d) holders of debt
expressly subordinated by its terms or by order of the bankruptcy court; and (e) holders of equity
interests.

        Accordingly, the cash amount that would be available for satisfaction of claims (other than
secured claims) would consist of the proceeds resulting from the disposition of the unencumbered
assets of the debtor, augmented by the unencumbered cash held by the debtor at the time of the
commencement of the liquidation. Such cash would be reduced by the amount of the costs and
expenses of the liquidation and by such additional administrative and priority claims that may
result from termination of the debtor’s business and the use of chapter 7 for purposes of a
liquidation.

        As described in more detail in the liquidation analysis attached hereto as Exhibit C
(the “Liquidation Analysis”), the Debtor believes that confirmation of the Plan will provide each
Holder of an Allowed Claim or Allowed Equity Interest in each Class with a recovery greater than
or equal to the value of any distributions if the Chapter 11 Case were converted to a case under
chapter 7 of the Bankruptcy Code because, among other reasons, proceeds received in a chapter 7
liquidation are likely to be significantly discounted due to the distressed nature of the sale of the

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Debtor’s assets and the fees and expenses of a chapter 7 trustee would likely further reduce Cash
available for distribution. In addition, distributions in a chapter 7 case may not occur for a longer
period of time than distributions under the Plan, thereby reducing the present value of such
distributions. In this regard, it is possible that distribution of the proceeds of a liquidation could
be delayed for a significant period while the chapter 7 trustee and its advisors become
knowledgeable about, among other things, the Chapter 11 Case and the Claims against the Debtor.
As set forth in the Liquidation Analysis, Holders of Claims in Class 7 would receive no recovery
in respect of their Allowed Subordinated Claims under a chapter 7 liquidation, which is less than
the projected [●]% recovery for such Class pursuant to the Plan.

        2.      Feasibility

        Section 1129(a)(11) of the Bankruptcy Code requires that the bankruptcy court find that
confirmation is not likely to be followed by the liquidation of the reorganized debtor or the need
for further financial reorganization, unless the plan contemplates such liquidation. For purposes
of demonstrating that the Plan meets this “feasibility” standard, the Debtor has analyzed the ability
of the Reorganized Debtor to meet its obligations under the Plan and to retain sufficient liquidity
and capital resources to continue operations while winding down in an efficient and orderly
fashion.

        The Debtor believes that the Plan meets the feasibility requirement set forth in
section 1129(a)(11) of the Bankruptcy Code. In connection with the development of the Plan and
for the purposes of determining whether the Plan satisfies this feasibility standard, the Debtor
analyzed the ability of the Reorganized Debtor to satisfy its financial obligations while maintaining
sufficient liquidity and capital resources. Financial projections of the Reorganized Debtor
(the “Financial Projections”) are attached hereto as Exhibit B.

        In general, as illustrated by the Financial Projections, the Debtor believes that post-
Effective Date, the Reorganized Debtor should have sufficient cash flow and availability to make
all payments required pursuant to the Plan while conducting its business operations. The Debtor
believes that confirmation and consummation is, therefore, not likely to be followed by the
liquidation or further reorganization of the Reorganized Debtor. Accordingly, the Debtor believes
that the Plan satisfies the feasibility requirement of section 1129(a)(11) of the Bankruptcy Code.

     THE   FINANCIAL   PROJECTIONS,  INCLUDING  THE   UNDERLYING
ASSUMPTIONS, SHOULD BE CAREFULLY REVIEWED IN EVALUATING THE PLAN.
WHILE MANAGEMENT BELIEVES THE ASSUMPTIONS UNDERLYING THE
FINANCIAL PROJECTIONS, WHEN CONSIDERED ON AN OVERALL BASIS, ARE
REASONABLE IN LIGHT OF CURRENT CIRCUMSTANCES AND EXPECTATIONS, NO
ASSURANCE CAN BE GIVEN THAT THE FINANCIAL PROJECTIONS WILL BE
REALIZED.

      THE FINANCIAL PROJECTIONS HAVE NOT BEEN EXAMINED OR COMPILED
BY INDEPENDENT ACCOUNTANTS. THE DEBTOR MAKES NO REPRESENTATION OR
WARRANTY AS TO THE ACCURACY OF THE FINANCIAL PROJECTIONS OR ITS
ABILITY TO ACHIEVE THE PROJECTED RESULTS. MANY OF THE ASSUMPTIONS ON
WHICH THE PROJECTIONS ARE BASED ARE INHERENTLY SUBJECT TO

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SIGNIFICANT ECONOMIC UNCERTAINTIES AND CONTINGENCIES THAT ARE
BEYOND THE CONTROL OF THE DEBTOR. INEVITABLY, SOME ASSUMPTIONS WILL
NOT MATERIALIZE AND UNANTICIPATED EVENTS AND CIRCUMSTANCES MAY
AFFECT THE ACTUAL FINANCIAL RESULTS. THEREFORE, THE ACTUAL RESULTS
ACHIEVED THROUGHOUT THE PERIOD OF THE FINANCIAL PROJECTIONS MAY
VARY FROM THE PROJECTED RESULTS AND THE VARIATIONS MAY BE MATERIAL.
ALL HOLDERS OF CLAIMS THAT ARE ENTITLED TO VOTE TO ACCEPT OR REJECT
THE PLAN ARE URGED TO EXAMINE CAREFULLY ALL OF THE ASSUMPTIONS ON
WHICH THE FINANCIAL PROJECTIONS ARE BASED IN CONNECTION WITH THEIR
EVALUATION OF THE PLAN.

     BASED ON THE FINANCIAL PROJECTIONS SET FORTH IN EXHIBIT B HERETO,
THE DEBTOR BELIEVES THAT IT WILL BE ABLE TO MAKE ALL DISTRIBUTIONS AND
PAYMENTS UNDER THE PLAN AND THAT CONFIRMATION OF THE PLAN IS NOT
LIKELY TO BE FOLLOWED BY LIQUIDATION OF THE REORGANIZED DEBTOR OR
THE NEED FOR FURTHER FINANCIAL REORGANIZATION OF THE REORGANIZED
DEBTOR.

        3.      Acceptance by Impaired Classes

        The Bankruptcy Code requires, as a condition to confirmation, that, except as described in
the following section, each class of claims or equity interests that is impaired under a plan, accept
the plan. A class that is not “impaired” under a plan is deemed to have accepted the plan and,
therefore, solicitation of acceptances with respect to such class is not required. A class is
“impaired” unless the plan: (a) leaves unaltered the legal, equitable and contractual rights to which
the claim or the equity interest entitles the holder of such claim or equity interest; (b) cures any
default and reinstates the original terms of such obligation; or (c) provides that, on the
consummation date, the holder of such claim or equity interest receives cash equal to the allowed
amount of that claim or, with respect to any equity interest, any fixed liquidation preference to
which the holder of such equity interest is entitled to any fixed price at which the debtor may
redeem the security.

        Section 1126(c) of the Bankruptcy Code defines acceptance of a plan by a class of impaired
claims as acceptance by holders of at least two-thirds (2/3) in dollar amount and more than one-
half (1/2) in number of claims in that class, but for that purpose counts only those who actually
vote to accept or to reject the plan. Thus, a class of claims will have voted to accept the plan only
if two-thirds (2/3) in amount and a majority in number actually voting cast their Ballots in favor
of acceptance.

       Claims in Classes 1, 2, 3, 5, and 6 are Unimpaired under the Plan, and, as a result, the
Holders of such Claims are deemed to have accepted the Plan.

        Claims in Classes 4 and 7 are Impaired under the Plan, and as a result, the Holders of
Claims in Classes 4 and 7 are entitled to vote on the Plan. Pursuant to section 1129 of the
Bankruptcy Code, the Holders of Claims in the Voting Classes must accept the Plan for the Plan
to be confirmed without application of the “fair and equitable test” to Classes 4 and 7 and without
considering whether the Plan “discriminates unfairly” with respect to Classes 4 and 7, as both

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standards are described herein. As explained above, each of Classes 4 and 7 will have accepted
the Plan if the Plan is accepted by at least two-thirds (2/3) in amount and a majority in number of
the Claims of each of Classes 4 and 7, as applicable (other than any Claims of creditors designated
under section 1126(e) of the Bankruptcy Code) that have voted to accept or reject the Plan.

        Equity Interests in Class 8 are Impaired and deemed to have rejected the Plan. The Debtor,
therefore, will request confirmation of the Plan, as it may be modified from time to time, under
section 1129(b) of the Bankruptcy Code as more fully described below.

        4.      Confirmation Without Acceptance by All Impaired Classes

         Section 1129(b) of the Bankruptcy Code allows a bankruptcy court to confirm a plan even
if less than all impaired classes entitled to vote on the plan have accepted it, provided that the plan
has been accepted by at least one impaired class of claims. Pursuant to section 1129(b) of the
Bankruptcy Code, notwithstanding an impaired Class’s rejection or deemed rejection of the Plan,
the Plan will be confirmed, at the Debtor’s request, in a procedure commonly known as “cram
down,” so long as the Plan does not “discriminate unfairly” and is “fair and equitable” with respect
to each class of claims or equity interests that is impaired under, and has not accepted, the Plan.

        5.      No Unfair Discrimination

        This test applies to classes of claims or equity interests that are of equal priority and are
receiving different treatment under the Plan. The test does not require that the treatment be the
same or equivalent, but that such treatment be “fair.” In general, bankruptcy courts consider
whether a plan discriminates unfairly in its treatment of classes of claims of equal rank (e.g.,
classes of the same legal character). Bankruptcy courts will take into account a number of factors
in determining whether a plan discriminates unfairly, and, accordingly, a plan could treat two
classes of unsecured creditors differently without unfairly discriminating against either class.

        6.      Fair and Equitable Test

        This test applies to classes of different priority and status (e.g., secured versus unsecured)
and includes the general requirement that no class of claims receive more than 100% of the amount
of the allowed claims in such class. As to the dissenting class, the test sets different standards
depending on the type of claims or equity interests in such class:

        •    Secured Claims. The condition that a plan be “fair and equitable” to a non-accepting
             class of secured claims includes the requirements that: (a) the holders of such secured
             claims retain the liens securing such claims to the extent of the allowed amount of the
             claims, whether the property subject to the liens is retained by the debtor or transferred
             to another entity under the plan; and (b) each holder of a secured claim in the class
             receives deferred cash payments totaling at least the allowed amount of such claim with
             a present value, as of the effective date of the plan, at least equivalent to the value of
             the secured claimant’s interest in the debtor’s property subject to the liens.

        •    Unsecured Claims. The condition that a plan be “fair and equitable” to a non-accepting
             class of unsecured claims includes the following requirement that either: (a) the plan
             provides that each holder of a claim of such class receive or retain on account of such
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             claim property of a value, as of the effective date of the plan, equal to the allowed
             amount of such claim; or (b) the holder of any claim or any equity interest that is junior
             to the claims of such class will not receive or retain under the plan on account of such
             junior claim or junior equity interest any property.

        •    Equity Interests. The condition that a plan be “fair and equitable” to a non-accepting
             class of equity interests includes the requirements that either:

             o      the plan provides that each holder of an equity interest in that class receives or
                    retains under the plan on account of that equity interest property of a value, as of
                    the effective date of the plan, equal to the greater of: (a) the allowed amount of
                    any fixed liquidation preference to which such holder is entitled; (b) any fixed
                    redemption price to which such holder is entitled; or (c) the value of such interest;
                    or

             o      if the class does not receive the amount required in the paragraph directly above,
                    no class of equity interests junior to the non-accepting class may receive a
                    distribution under the plan.

        As noted above, the Debtor will seek confirmation of the Plan under section 1129(b)
of the Bankruptcy Code, to the extent applicable, in view of the deemed rejection by Class 8.
To the extent that any of the Voting Classes votes to reject the Plan, the Debtor reserves the right
to seek (a) confirmation of the Plan under section 1129(b) of the Bankruptcy Code and/or
(b) modify the Plan in accordance with Article XII.D of the Plan.

        The vote of the Holder of Equity Interests in Class 8 is not being solicited because, under
Articles III and VII of the Plan, there will be no distribution to such Holder and, therefore, such
Holder is conclusively deemed to have rejected the Plan pursuant to section 1126(g) of the
Bankruptcy Code. The Holder of Equity Interests in Class 8 will also not retain any property on
account of such Equity Interests.

       Notwithstanding the deemed rejection by Class 8, the Debtor does not believe that the Plan
discriminates unfairly against any Impaired Class of Claims or Equity Interests. The Debtor
believes that the Plan and the treatment of all Classes of Claims and Equity Interests under the
Plan satisfy the foregoing requirements for non-consensual confirmation of the Plan.

        7.        363 Sale Alternative

        Concurrently with its solicitation of votes on the Plan, the Debtor is conducting a marketing
process for a 363 Sale. The Debtor intends to file one or more motions with the Bankruptcy Court
requesting approval of (a) bidding procedures in connection with the proposed 363 Sale, and
(b) the consummation of the 363 Sale. In the event that the Debtor does not receive the requisite
votes to confirm the Plan or otherwise fails to meet the requirements for confirmation under section
1129 of the Bankruptcy Code, the Debtor intends to pursue and consummate the 363 Sale. The
Debtor anticipates that Parent will bid at such auction, and if Parent is determined to be the highest
and best bidder, the Debtor will seek Court approval of the consummation of the 363 Sale to Parent
in exchange for the satisfaction, settlement, discharge, and release of a portion of the Parent’s

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Prepetition Revolving Loan Claim. The Debtor further reserves all rights to object to and seek the
disallowance of the Subordinated Claims in their entirety if Confirmation and Consummation of
the Plan does not occur.

C.      CONSUMMATION OF THE PLAN

       The Plan will be consummated on the Effective Date. For a more detailed discussion of
the conditions precedent to the consummation of the Plan and the impact of failure to meet such
conditions, see Article IX of the Plan.




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                                          VI.
                               PLAN-RELATED RISK FACTORS

PRIOR TO VOTING TO ACCEPT OR REJECT THE PLAN, ALL HOLDERS OF CLAIMS
THAT ARE IMPAIRED SHOULD READ AND CONSIDER CAREFULLY THE FACTORS
SET FORTH HEREIN, AS WELL AS ALL OTHER INFORMATION SET FORTH OR
OTHERWISE REFERENCED IN THIS DISCLOSURE STATEMENT. ALTHOUGH THESE
RISK FACTORS ARE MANY, THESE FACTORS SHOULD NOT BE REGARDED AS
CONSTITUTING THE ONLY RISKS PRESENT IN CONNECTION WITH THE DEBTOR’S
BUSINESS, THE PLAN OR THE IMPLEMENTATION OF THE PLAN.

A.      CERTAIN BANKRUPTCY LAW CONSIDERATIONS

        1.      General

        Although the Plan is designed to minimize the length of the Chapter 11 Case, it is
impossible to predict with certainty the amount of time that the Debtor may spend in bankruptcy
or to assure parties in interest that the Plan will be confirmed. Even if confirmed on a timely basis,
the Chapter 11 Case could have a material adverse effect on the Debtor’s financial condition,
liquidity, and anticipated wind down. So long as the Chapter 11 Case continues, the Debtor’s
management may be required to spend a significant amount of time and effort managing the
bankruptcy process instead of focusing exclusively on the Debtor’s business operations.

        2.      The Debtor Will Be Subject to the Risks and Uncertainties Associated with
                Chapter 11 Proceedings.

       As a consequence of the Debtor’s filing for relief under chapter 11 of the Bankruptcy Code,
the Debtor’s business will be subject to the risks and uncertainties associated with bankruptcy.
These risks include the following:

        •    the Debtor’s ability to develop, confirm, and consummate the Plan;

        •    the Debtor’s ability to obtain court approval with respect to motions filed in the Chapter
             11 Case from time to time;

        •    the Debtor’s ability to maintain relationships with certain third parties;

        •    the Debtor’s ability to maintain strategic control as debtor-in-possession during the
             pendency of the Chapter 11 Case;

        •    the ability of third parties to seek and obtain court approval to terminate contracts and
             other agreements with the Debtor;

        •    the ability of third parties to seek and obtain the Bankruptcy Court’s approval to
             terminate or shorten the exclusivity period for the Debtor to propose and confirm the
             Plan, to appoint a Chapter 11 trustee, or to convert the Chapter 11 Case to a proceeding
             under chapter 7 of the Bankruptcy Code; and

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        •    the actions and decisions of the Debtor’s creditors and other third parties who have
             interests in the Debtor’s Chapter 11 Case that may be inconsistent with the Debtor’s
             plans.

       Because of the risks and uncertainties associated with the Chapter 11 Case, the Debtor
cannot accurately predict or quantify the ultimate impact of events that will occur during the
Chapter 11 Case.

        3.      Risk of Non-Confirmation of the Plan.

         Although the Debtor believes that the Plan will satisfy all requirements necessary for
confirmation by the Bankruptcy Court, there can be no assurance that the Bankruptcy Court will
reach the same conclusion or that modifications to the Plan will not be required for confirmation
or that such modifications would not necessitate re-solicitation of votes. Moreover, the Debtor
can make no assurances that it will receive the requisite acceptances to confirm the Plan, and even
if all Voting Classes voted in favor of the Plan or the requirements for “cram down” are met with
respect to any Class that rejected the Plan, the Bankruptcy Court could decline to confirm the Plan
if it finds that any of the statutory requirements for confirmation are not met. If the Plan is not
confirmed, the Debtor intends to pursue and consummate the 363 Sale.

        4.      Risk of Failing to Satisfy the Vote Requirement.

         In the event that the Debtor is nevertheless unable to obtain sufficient votes from the Voting
Classes, the Debtor will seek to accomplish a modified chapter 11 plan or seek to “cram down”
(i.e., achieve non-consensual confirmation of) the Plan on non-accepting Classes. There can be
no assurance that the terms of any such modified chapter 11 plan would be similar or as favorable
to Holders of Allowed Claims as those proposed in the Plan.

       In the event that the Debtor does not receive the requisite votes to confirm the Plan or
otherwise fails to meet the requirements for confirmation under section 1129 of the Bankruptcy
Code, the Debtor intends to pursue and consummate the 363 Sale.

        5.      Non-Consensual Confirmation of the Plan May be Necessary.

        If any impaired class of claims or equity interests does not accept or is deemed not to accept
a plan of reorganization, a bankruptcy court may nevertheless confirm such plan at the proponent’s
request if at least one impaired class has accepted the plan (with such acceptance being determined
without including the vote of any “insider” in such class), and as to each impaired class that has
accepted the plan, the bankruptcy court determines that the plan “does not discriminate unfairly”
and is “fair and equitable” with respect to the dissenting impaired classes. These requirements
must be satisfied with respect to the Classes deemed to, and any other Class that may vote to, reject
the Plan.

        6.      Risks Related to Parties in Interest Objecting to the Debtor’s Classification of
                Claims and Equity Interests.

        Section 1122 of the Bankruptcy Code provides that a plan may place a claim or an equity
interest in a particular class only if such claim or equity interest is substantially similar to the other
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claims or equity interests in such class. The Debtor believes that the classification of Claims and
Equity Interests under the Plan complies with the requirements set forth in the Bankruptcy Code.
However, there can be no assurance that a party in interest will not object or that the Bankruptcy
Court will approve the classifications.

        7.      Risks Related to Possible Objections to the Plan.

       There is a risk that certain parties could oppose and object to either the entirety of the Plan
or specific provisions of the Plan. Although the Debtor believes that the Plan complies with all
relevant Bankruptcy Code provisions, there can be no guarantee that a party in interest will not file
an objection to the Plan or that the Bankruptcy Court will not sustain such an objection.

        8.      The Debtor May Object to the Amount or Classification of a Claim.

        Except as otherwise provided in the Plan, the Debtor and Reorganized Debtor reserve the
right to object to the amount or classification of any Administrative Claim or Claim in Classes 1,
2, 3, 5, 6, and 7 under the Plan. The estimates set forth in this Disclosure Statement cannot be
relied on by any Holder of a Claim where such Claim is or may become subject to an objection.
Any Holder of a Claim that is or may become subject to an objection thus may not receive its
expected share of the estimated distributions described in this Disclosure Statement.

        9.      The Effective Date May Not Occur.

        As more fully set forth in Article IX of the Plan, the Effective Date is subject to a number
of conditions precedent. If such conditions precedent are not met or waived, the Effective Date
will not take place. Although the Debtor believes that the Effective Date may occur quickly after
the Confirmation Date, there can be no assurance as to such timing or as to whether the Effective
Date will, in fact, occur.

        10.     Contingencies May Affect Votes of the Voting Classes to Accept or Reject the
                Plan.

        The distributions available to Holders of Allowed Claims under the Plan can be affected
by a variety of contingencies. The occurrence of any and all such contingencies, which could
affect distributions available to Holders of Allowed Claims under the Plan, will not affect the




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validity of the vote taken by the Voting Classes to accept or reject the Plan or require any sort of
revote by the Impaired Classes.

        11.     The Chapter 11 Case Could Consume a Substantial Portion of the Time and
                Attention of the Debtor’s Management

        Although the Plan is designed to minimize the length of the Debtor’s chapter 11
proceedings, it is impossible to predict with certainty the amount of time that the Debtor may spend
in bankruptcy or to assure parties in interest that the Plan will be confirmed. The requirements of
the Chapter 11 Case could consume a substantial portion of the Debtor’s management’s time and
attention and leave them with less time to devote to the operations and orderly wind down of its
business. This diversion of management’s attention may have a material adverse effect on the
Debtor’s financial condition, particularly if the Chapter 11 Case is protracted.

        12.     Conversion into Chapter 7 Case.

        If the Chapter 11 Case is converted to a case under chapter 7 of the Bankruptcy Code, a
trustee would be appointed or elected to liquidate the Debtor’s assets for distribution in accordance
with the priorities established by the Bankruptcy Code. See Section IV.B. herein, as well as the
Liquidation Analysis attached hereto as Exhibit C, for a discussion of the effects that a chapter 7
liquidation would have on the recoveries of Holders of Claims and Equity Interests. No party in
interest would recover more in a case under chapter 7 than in a case under chapter 11.

        13.     Releases, Injunctions, and Exculpation Provisions May Not Be Approved.

        The Plan provides for certain releases, injunctions, and exculpations. However, such
releases, injunctions, and exculpations are subject to objection by parties in interest and may not
be approved. If the releases are not approved, certain Released Parties may not support and may
object to the Plan.

B.      RISK FACTORS THAT MAY AFFECT THE VALUE OF THE REORGANIZED
        DEBTOR UNDER THE PLAN AND/OR RECOVERIES UNDER THE PLAN

        1.      The Valuation of the Reorganized Debtor May Not Be Adopted by the
                Bankruptcy Court.

        Parties in interest in the Chapter 11 Case may oppose confirmation of the Plan by alleging
that the value of the Reorganized Debtor is higher than estimated by the Debtor and that the Plan
thereby improperly limits or extinguishes their rights to recoveries under the Plan. At the
Confirmation Hearing, the Bankruptcy Court will hear evidence regarding the views of the Debtor
and opposing parties, if any, with respect to the valuation of the Reorganized Debtor. Based on
that evidence, the Bankruptcy Court will determine the appropriate valuation for the Reorganized
Debtor for purposes of the Plan.

        2.      The Estimated Valuation of the Reorganized Debtor and the Estimated
                Recoveries to Holders of Allowed Claims Are Not Intended to Represent the
                Private or Public Sale Values.


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         The Debtor’s estimated recoveries to Holders of Allowed Claims are not intended to
represent the private or public sale values of the Reorganized Debtor’s securities. The estimated
recoveries are based on numerous assumptions (the realization of many of which is beyond the
control of Reorganized Debtor), including, without limitation: (a) the successful reorganization of
the Debtor; (b) an assumed date for the occurrence of the Effective Date; and (c) the Debtor’s
ability to maintain adequate liquidity to fund operations.

C.      RISK FACTORS THAT COULD NEGATIVELY IMPACT THE DEBTOR AND
        REORGANIZED DEBTOR

        1.      Fluctuation of the currencies in which the Debtor’s and Reorganized Debtor’s
                conduct operations could adversely affect financial condition, results of
                operations and Cash flows.

        The Debtor’s and Reorganized Debtor’s reporting currency is the U.S. dollar. A portion
of assets and liabilities are denominated in currencies other than the U.S. dollar, primarily the
British pound. In the Debtor’s Consolidated Financial Statements, they translate local currency
financial results into U.S. dollars based on the exchange rates prevailing during the reporting
period. During times of a strengthening U.S. dollar, the reported revenues and earnings of its
international operations will be reduced because the local currencies will translate into fewer U.S.
dollars. This could have a material adverse effect on the financial condition of the business, results
of operations and cash flow. In addition, changes in the value, relative to the U.S. dollar, of the
various currencies in which the Debtor’s and Reorganized Debtor’s conduct operations, including
the British pound, may result in significant changes in the indebtedness of non-U.S. subsidiaries.

        2.      The Debtor and Reorganized Debtor may incur additional tax expense as a
                result of changes to tax laws, regulations and evolving interpretations thereof.

        The Debtor and Reorganized Debtor are subject to the tax laws, regulations, and legal
decisions in various tax jurisdictions. The Debtor’s worldwide tax provision is based in part on
many material judgments and interpretations of these bodies of law. Tax authorities in the various
jurisdictions may not agree with the Debtor’s judgments and interpretations and may assess
additional taxes which could result in material changes to the Debtor’s and Reorganized Debtor’s
tax liabilities and/or significant legal and consulting fees in defense thereof. Additionally, tax
laws, regulations and legal precedents may change over time resulting in material changes to the
Debtor’s and Reorganized Debtor’s tax provisions and deferred tax positions. Changes to tax laws,
regulations, and legal precedents could contain statutory changes or interpretations that are
inconsistent with the Company’s application of the law in the absence of such changes and could
result in material adjustments to tax liabilities.

        3.      Estimates and assumptions that the Debtor and Reorganized Debtor make in
                accounting for its results from operations are dependent on future results,
                involve significant judgments, may be imprecise and may differ materially
                from actual results.

        Several estimates and assumptions are made that affect the accounting for and recognition
of assets, liabilities, revenues and expenses. These estimates and assumptions must be made due

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to certain information used in preparation of the Debtor’s financial statements that is dependent on
future events, cannot be calculated with a high degree of precision from data available or is not
capable of being readily calculated based on generally accepted methodologies. The Debtor
believes that accounting for goodwill, intangible assets, contingencies and litigation, and income
taxes involves significant judgments and estimates used in the preparation of its Consolidated
Financial Statements. Actual results for all estimates could differ materially from the estimates
and assumptions that the Debtor uses, which could have a material adverse effect on its financial
condition and results of operations.

D.      RISKS ASSOCIATED WITH FORWARD-LOOKING STATEMENTS

        1.      The Financial Information Contained Herein Is Based on the Debtor’s Books
                and Records and, Unless Otherwise Stated, No Audit Was Performed.

        The financial information contained in this Disclosure Statement has not been
audited. In preparing this Disclosure Statement, the Debtor relied on financial data derived from
its books and records that was available at the time of such preparation. Although the Debtor has
used its reasonable business judgment to ensure the accuracy of the financial information provided
in this Disclosure Statement, and while the Debtor believes that such financial information fairly
reflects the financial condition of the Debtor, the Debtor is unable to warrant or represent that the
financial information contained herein and attached hereto is without inaccuracies.

        2.      Financial Projections and Other Forward-Looking Statements Are Not
                Assured, Are Subject to Inherent Uncertainty Due to the Numerous
                Assumptions Upon Which They Are Based and, as a Result, Actual Results
                May Vary.

       This Disclosure Statement contains various projections concerning the financial results of
the Reorganized Debtor’s business, including the Financial Projections, which are, by their nature,
forward-looking, and which projections are necessarily based on certain assumptions and
estimates. Should any or all of these assumptions or estimates ultimately prove to be incorrect,
the actual future experiences of the Reorganized Debtor may turn out to be different from the
Financial Projections.

       Specifically, the projected financial results contained in this Disclosure Statement reflect
numerous assumptions concerning the anticipated future performance of the Reorganized Debtor,
some of which may not materialize, including, without limitation, assumptions concerning the
timing of confirmation and consummation of the Plan in accordance with its terms and general
business and economic conditions.

     DUE TO THE INHERENT UNCERTAINTIES ASSOCIATED WITH PROJECTING
FINANCIAL RESULTS GENERALLY, THE PROJECTIONS CONTAINED IN THIS
DISCLOSURE STATEMENT SHOULD NOT BE CONSIDERED ASSURANCES OR
GUARANTEES OF THE AMOUNT OF FUNDS OR THE AMOUNT OF CLAIMS THAT MAY
BE ALLOWED IN THE VARIOUS CLASSES. WHILE THE DEBTOR BELIEVES THAT THE
FINANCIAL PROJECTIONS CONTAINED IN THIS DISCLOSURE STATEMENT ARE
REASONABLE, THERE CAN BE NO ASSURANCE THAT THEY WILL BE REALIZED.

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E.      DISCLAIMERS

        1.      The Information Contained Herein Is for Soliciting Votes Only.

        The information contained in this Disclosure Statement is for purposes of soliciting votes
on the Plan and may not be relied upon for any other purpose.

        2.      This Disclosure Statement Was Not Approved by the SEC.

       This Disclosure Statement has not been filed with the SEC or any state regulatory authority.
Neither the SEC nor any state regulatory authority has passed upon the accuracy or adequacy of
this Disclosure Statement, or the exhibits or the statements contained herein, and any
representation to the contrary is unlawful.

        3.      The Debtor Relied on Certain Exemptions from Registration Under the
                Securities Act.

        This Disclosure Statement has been prepared pursuant to section 1125 of the Bankruptcy
Code and Rule 3016(b) of the Federal Rules of Bankruptcy Procedure and is not necessarily in
accordance with the requirements of federal or state securities laws or other similar laws. The
Existing AIG FP Interests will remain effective and outstanding on the Effective Date and will
continue to be owned and held by the Parent without registration under the Securities Act or any
similar federal, state, or local law in reliance on section 1145(a) of the Bankruptcy Code. To the
maximum extent permitted by section 1145 of the Bankruptcy Code, the Securities Act and other
applicable nonbankruptcy law, the distribution and issuance, as applicable, of the Plan Securities
and Documents will be exempt from registration under the Securities Act by virtue of section 1145
of the Bankruptcy Code or section 4(a)(2) of the Securities Act.

        4.      This Disclosure Statement Contains Forward-Looking Statements.

        This Disclosure Statement contains “forward-looking statements” within the meaning of
the Private Securities Litigation Reform Act of 1995. Such statements consist of any statement
other than a recitation of historical fact and can be identified by the use of forward-looking
terminology such as “may,” “expect,” “anticipate,” “estimate” or “continue” or the negative
thereof or other variations thereon or comparable terminology. The reader is cautioned that all
forward-looking statements are necessarily speculative and there are certain risks and uncertainties
that could cause actual events or results to differ materially from those referred to in such forward-
looking statements. The Liquidation Analysis, distribution projections and other information
contained herein and attached hereto are estimates only, and the timing and amount of actual
distributions to Holders of Allowed Claims may be affected by many factors that cannot be
predicted. Therefore, any analyses, estimates or recovery projections may or may not turn out to
be accurate.

        5.      No Legal or Tax Advice Is Provided to You by this Disclosure Statement.

       This Disclosure Statement is not legal advice to you. The contents of this Disclosure
Statement should not be construed as legal, business or tax advice. Each Holder of a Claim or an
Equity Interest should consult his or her own legal counsel and accountant with regard to any legal,

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tax and other matters concerning his or her Claim or Equity Interest. This Disclosure Statement
may not be relied upon for any purpose other than to determine how to vote on the Plan or whether
object to confirmation of the Plan.

        6.      No Admissions Are Made by This Disclosure Statement.

        The information and statements contained in this Disclosure Statement will neither
(a) constitute an admission of any fact or liability by any Entity (including, without limitation, the
Debtor) nor (b) be deemed evidence of the tax or other legal effects of the Plan on the Debtor, the
Reorganized Debtor, Holders of Allowed Claims or Allowed Equity Interests or any other parties
in interest.

        7.      No Reliance Should be Placed on any Failure to Identify Litigation Claims or
                Projected Objections.

        No reliance should be placed on the fact that a particular litigation claim or projected
objection to a particular Claim or Equity Interest is, or is not, identified in this Disclosure
Statement. The Debtor or the Reorganized Debtor may seek to investigate, file and prosecute
Claims or Causes of Action and may object to Claims after the Confirmation Date or Effective
Date of the Plan irrespective of whether this Disclosure Statement identifies such Claims, Causes
of Action or objections to Claims.

        8.      Nothing Herein Constitutes a Waiver of any Right to Object to Claims or
                Recover Transfers and Assets.

        The vote by a Holder of an Allowed Claim for or against the Plan does not constitute a
waiver or release of any Claims or rights of the Debtor or the Reorganized Debtor (or any party in
interest, as the case may be) to object to that Holder’s Allowed Claim or recover any preferential,
fraudulent or other voidable transfer or assets, regardless of whether any Claims or Causes of
Action of the Debtor or its Estate are specifically or generally identified herein.

        9.      The Information Used Herein Was Provided by the Debtor and Was Relied
                Upon by the Debtor’s Advisors.

        Counsel to and other advisors retained by the Debtor have relied upon information provided
by the Debtor in connection with the preparation of this Disclosure Statement. Although counsel
to and other advisors retained by the Debtor have performed certain limited due diligence in
connection with the preparation of this Disclosure Statement, they have not verified independently
the information contained herein.

        10.     The Potential Exists for Inaccuracies, and the Debtor Has No Duty to Update.

         The statements contained in this Disclosure Statement are made by the Debtor as of the
date hereof, unless otherwise specified herein, and the delivery of this Disclosure Statement after
that date does not imply that there has not been a change in the information set forth herein since
that date. While the Debtor has used its reasonable business judgment to ensure the accuracy of
all of the information provided in this Disclosure Statement and in the Plan, the Debtor nonetheless
cannot, and does not, confirm the current accuracy of all statements appearing in this Disclosure

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Statement. Further, although the Debtor may subsequently update the information in this
Disclosure Statement, the Debtor has no affirmative duty to do so unless ordered to do so by the
Bankruptcy Court.

        11.     No Representations Made Outside this Disclosure Statement Are Authorized.

        No representations concerning or relating to the Debtor, the Chapter 11 Case or the Plan
are authorized by the Bankruptcy Court or the Bankruptcy Code, other than as set forth in this
Disclosure Statement. Any representations or inducements made to secure your acceptance or
rejection of the Plan that are other than as contained in, or included with, this Disclosure Statement,
should not be relied upon by you in arriving at your decision. You should promptly report
unauthorized representations or inducements to counsel to the Debtor and the United States
Trustee.

                                VII.
     ALTERNATIVES TO CONFIRMATION AND CONSUMMATION OF THE PLAN

A.      363 SALE ALTERNATIVE

        Concurrently with its solicitation of votes on the Plan, the Debtor is conducting a marketing
process for a 363 Sale. The Debtor intends to file one or more motions with the Bankruptcy Court
requesting approval of (a) bidding procedures in connection with the proposed 363 Sale, and (b)
the consummation of the 363 Sale. In the event that the Debtor does not receive the requisite votes
to confirm the Plan or otherwise fails to meet the requirements for confirmation under section 1129
of the Bankruptcy Code, the Debtor intends to pursue and consummate the 363 Sale. The Debtor
anticipates that Parent will bid at such auction, and if Parent is determined to be the highest and
best bidder, the Debtor will seek Court approval of the consummation of the 363 Sale to Parent in
exchange for the satisfaction, settlement, discharge, and release of a portion of the Parent’s
Prepetition Revolving Loan Claim. The Debtor further reserves all rights to object to and seek the
disallowance of the Subordinated Claims in their entirety if Confirmation and Consummation of
the Plan does not occur.

B.      LIQUIDATION UNDER CHAPTER 7 OF THE BANKRUPTCY CODE

        If the Chapter 11 Case is converted to a case under chapter 7 of the Bankruptcy Code, a
trustee would be elected or appointed to liquidate the Debtor’s assets. A discussion of the effect a
chapter 7 liquidation would have on the recovery of Holders of Claims is set forth in Section V.B
herein, titled “Statutory Requirements for Confirmation of the Plan.” The Debtor believes that
liquidation under chapter 7 would result in (i) smaller or equal distributions being made to creditors
entitled to a recovery than those provided for in the Plan based on the liquidation value of the
Debtor’s assets and because of the additional administrative expenses involved in the appointment
of a trustee and attorneys and other professionals to assist such trustee, (ii) additional expenses and
claims, some of which would be entitled to priority, which would be generated during the
liquidation and from the rejection of unexpired leases and executory contracts in connection with
the cessation of the Debtor’s operations, and (iii) the failure to realize the greater value of all of
the Debtor’s assets that would be obtained through continued operations and an orderly wind
down. The statutory priority for distributions to holders of claims, including the Bankruptcy Code
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provision enforcing subordination agreements, applies equally in chapter 7 as it does in chapter
11.

C.      FILING OF AN ALTERNATIVE PLAN OF REORGANIZATION

        If the Plan is not confirmed, the Debtor or any other party in interest could attempt to
formulate a different chapter 11 plan of reorganization. Such a plan might involve different
recoveries to Holders of Claims and Interests, including recoveries to certain creditors that are
materially less than those recoveries contained in the Plan. Absent consent from Parent, the
Subordinated Creditors are not entitled to recover unless and until, among other things, Parent’s
Prepetition Revolving Loan Claim is satisfied in full.

         The Debtor believes that the Plan will enable the Debtor to emerge from chapter 11
successfully and expeditiously and will allow its creditors to realize the highest recoveries under
the circumstances. The prolonged continuation of the Chapter 11 Case is likely to adversely affect
the Debtor’s business and recoveries to creditors. So long as the Chapter 11 Case continues, senior
management of the Debtor will be required to spend a significant amount of time and effort dealing
with the Debtor’s reorganization instead of focusing exclusively on its business. In addition, so
long as the Chapter 11 Case continues, the Debtor will be required to incur substantial costs for
professional fees and other expenses associated with the proceedings. Under these circumstances,
it is unlikely the Debtor could successfully reorganize without material decreases in recoveries for
creditors.

                                         VIII.
                            CERTAIN U.S. FEDERAL INCOME
                           TAX CONSEQUENCES OF THE PLAN

A.      INTRODUCTION

        The following discussion summarizes certain U.S. federal income tax consequences
expected to result from the consummation of the Plan. This discussion is only for general
information purposes and only describes the expected tax consequences to the Debtor and to
Holders of Class 7 Claims (the “Holders”). This discussion does not address the expected tax
consequences to the Holder of the Prepetition Revolving Loan Claims because the Parent, as the
sole Holder of such Claims, is represented by its own tax advisors. This discussion is not a
complete analysis of all potential U.S. federal income tax consequences and does not address any
tax consequences arising under any U.S. state, U.S. local or non-U.S. tax laws or U.S. federal
estate or gift tax laws. This discussion is based on the U.S. Internal Revenue Code of 1986, as
amended (the “Tax Code”), regulations promulgated thereunder by the U.S. Department of the
Treasury (“Treasury Regulations”), judicial decisions, and published rulings and administrative
pronouncements of the U.S. Internal Revenue Service (the “IRS”), all as in effect on the date of
this Disclosure Statement. These authorities may change, possibly retroactively, resulting in U.S.
federal income tax consequences different from those discussed below. No ruling has been or will
be sought from the IRS, and no legal opinion of counsel will be rendered, with respect to the
matters discussed below. There can be no assurance that the IRS will not take a contrary position


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regarding the U.S. federal income tax consequences resulting from the consummation of the Plan
or that any contrary position would not be sustained by a court.

         This discussion assumes that each Holder is an individual who is a citizen or resident of the
United States for U.S. federal income tax purposes. In addition, this discussion assumes that the
Debtor’s obligations under the Prepetition Revolving Loan Claims will be treated as debt for U.S.
federal income tax purposes and that the DCP Plans comply with the requirements of Section 409A
of the Tax Code. Furthermore, this discussion assumes that the consummation of the Plan will not
result in an ownership change of the Debtor for purposes of Section 382 of the Tax Code.

         This discussion does not address all U.S. federal income tax considerations that may be
relevant to a particular Holder in light of that Holder’s particular circumstances, including the
impact of the tax on net investment income imposed by Section 1411 of the Tax Code. In addition,
it does not address considerations relevant to Holders subject to the alternative minimum tax or
other special rules under the U.S. federal income tax laws. Furthermore, except where specifically
stated, this discussion does not address U.S. federal income tax considerations that may be relevant
to the Debtor under the application of the consolidated return rules.

     HOLDERS SHOULD CONSULT THEIR TAX ADVISORS REGARDING THE
U.S. FEDERAL INCOME TAX CONSEQUENCES TO THEM OF THE
CONSUMMATION OF THE PLAN, AS WELL AS ANY TAX CONSEQUENCES
ARISING UNDER ANY U.S. STATE, U.S. LOCAL OR NON-U.S. TAX LAWS, OR ANY
OTHER U.S. FEDERAL TAX LAWS. THE DEBTOR AND THE REORGANIZED
DEBTOR SHALL NOT BE LIABLE TO ANY PERSON WITH RESPECT TO THE TAX
LIABILITY OF A HOLDER OR ITS AFFILIATES.

B.      U.S. FEDERAL INCOME TAX CONSEQUENCES TO THE DEBTOR

        The full satisfaction, settlement, discharge and release of the Prepetition Revolving Loan
Claims in exchange for retaining the Existing AIG FP Interests pursuant to the Plan would be
treated as a contribution by the Parent of the debt underlying such Claims to the Debtor’s capital,
under which the Debtor would be treated as having satisfied the relevant indebtedness with an
amount of money equal to the Parent’s adjusted basis in the indebtedness for U.S. federal income
tax purposes.

        Under this treatment, the Debtor generally should realize cancellation of indebtedness
(“COD”) income to the extent the adjusted issue price of the indebtedness underlying the
Prepetition Revolving Loan Claims discharged pursuant to the Plan exceeds the amount by which
the Debtor is deemed to have satisfied such indebtedness, as described above.

       Under Section 108 of the Tax Code, COD income realized by a debtor will generally be
excluded from gross income if the discharge of debt occurs in a case brought under the Bankruptcy
Code, the debtor is under the court’s jurisdiction in such case and the discharge is granted by the
court or is pursuant to a plan approved by the court (the “Bankruptcy Exception”). Under
Section 108(b) of the Tax Code, a debtor that excludes COD income from gross income under the
Bankruptcy Exception generally must reduce certain tax attributes by the amount of the excluded
COD income. Attributes subject to reduction include net operating losses (“NOLs”), NOL

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carryforwards and certain other losses, credits and carryforwards, and the debtor’s tax basis in its
assets (including stock of subsidiaries). The reduction in tax attributes occurs only after the taxable
income (or loss) for the taxable year of the debt discharge has been determined.

        Because the Debtor is a member of a consolidated group, the determination of COD income
(if any) realized by the Debtor in connection with the discharge of Prepetition Revolving Loan
Claims, the treatment of such COD income (if any) and any effect on the Debtor’s tax attributes
may differ due to the application of the consolidated return rules. For example, the Bankruptcy
Exception generally would not be available under Treasury Regulations Section 1.1502-13(g) for
the COD income arising from the discharge of Prepetition Revolving Loan Claims, in which case
such COD income would be includable in the Debtor’s gross income and no reduction in tax
attributes would be made. The amount of COD income that would be realized by the Debtor in
connection with the discharge of the Prepetition Revolving Loan Claims is not expected to be
material.

        The U.S. federal income tax considerations relating to the Plan are complex and subject to
uncertainties. No assurance can be given that the IRS will agree with the Debtor’s interpretation
of the tax rules applicable to, or tax positions taken with respect to, the transactions undertaken to
effect the Plan. If the IRS were to successfully challenge any such interpretation or position, the
Debtor may recognize additional taxable income for U.S. federal income tax purposes.

C.      U.S. FEDERAL INCOME TAX CONSEQUENCES TO HOLDERS OF CLASS 7
        CLAIMS

        The U.S. federal income tax consequences to a Holder may depend on a number of factors,
including the nature of the Class 7 Claim, the Holder’s method of accounting, the Holder’s own
particular circumstances, characterizations of Cash payments received or deemed received by the
Holder and how Cash payments are allocated among different characterizations. Because each
Holder’s particular circumstances may differ, Holders should consult their tax advisors to
determine how the consummation of the Plan affects them for U.S. federal income tax purposes
based on their particular circumstances.
        Among other things, the U.S. federal income tax consequences of the consummation of
the Plan may depend on the nature of payments under the DCP Plans pursuant to which the Class
7 Claims arose. Because Class 7 Claims arose in connection with the Holders’ former
employment by, and provision of personal services to, the Debtor, payment of Cash on the Class
7 Claims generally will be treated as payment of employee compensation for services performed
by applicable Holders and a payment by the Debtor of employment taxes (if any) related to such
compensation. As a result, payment of Cash on the Class 7 Claims may be subject to applicable
employment tax withholding or deduction (including, but not limited to, both the employee and
employer portions of applicable employment taxes, as described in Article VII.E of the Plan).
The Class 7 Cash Pool will be inclusive of all taxes imposed with respect to the payments to DCP
Claimants, including, but not limited to, any employer portion of the employment taxes due with
respect to payments on the Class 7 Claims. In addition, if a portion of Cash payment to a Holder
is characterized as interest income for U.S. federal income tax purposes (for example, if a portion
of the payment on a Class 7 Claim is attributable to implied interest based on the timing of the
allowance of the Claim and the receipt of payment), such portion generally will be taxable to the
Holder as ordinary income at the time such portion is received. The U.S. federal income tax
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consequences of the consummation of the Plan may also depend on whether the item to which the
relevant payment relates has previously been included in the Holder’s gross income or has
previously been subject to a loss or bad debt deduction.
       The payment of Cash on the Class 7 Claims under the Plan is subject to all applicable
information reporting and withholding, including withholding of employment taxes, if applicable.
As a condition of making any distribution to any Holder under the Plan, a Holder will be required
to provide a duly completed and executed copy of IRS Form W-4 and IRS Form W-9 and any
other applicable documentation.

       THE FOREGOING DISCUSSION OF U.S. FEDERAL INCOME TAX
CONSIDERATIONS IS FOR GENERAL INFORMATION PURPOSES ONLY AND IS
NOT TAX ADVICE. EACH HOLDER SHOULD CONSULT ITS TAX ADVISOR
REGARDING THE U.S. FEDERAL, STATE, AND LOCAL AND NON-U.S. TAX
CONSEQUENCES OF THE PLAN DESCRIBED HEREIN. NEITHER THE DEBTOR,
THE REORGANIZED DEBTOR NOR THEIR PROFESSIONALS WILL HAVE ANY
LIABILITY TO ANY PERSON OR HOLDER ARISING FROM OR RELATED TO THE
U.S. FEDERAL, STATE, AND LOCAL AND NON-U.S. TAX CONSEQUENCES OF THE
PLAN OR THE FOREGOING DISCUSSION.




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                                    RECOMMENDATION

        In the opinion of the Debtor, the Plan is preferable to the alternatives described in this
Disclosure Statement because it provides for a larger distribution to Holders of Allowed Claims
than would otherwise result in a liquidation under chapter 7 of the Bankruptcy Code. In addition,
any alternative other than confirmation of the Plan could result in extensive delays and increased
administrative expenses resulting in smaller distributions to Holders of Allowed Claims than that
which is proposed under the Plan. Accordingly, the Debtor recommends that Holders of Claims
entitled to vote on the Plan support confirmation of the Plan and vote to accept the Plan.


                                                Respectfully submitted,

                                                 /s/ William C. Kosturos
                                                AIG FINANCIAL PRODUCTS CORP.
                                                By:      William C. Kosturos
                                                Title:   Chief Restructuring Officer
                                                Dated: December 14, 2022


Prepared by:

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                                     Exhibit A

                              Plan of Reorganization




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        THIS IS NOT A SOLICITATION OF AN ACCEPTANCE OR REJECTION OF THE PLAN.
        ACCEPTANCES OR REJECTIONS MAY NOT BE SOLICITED UNTIL A DISCLOSURE
        STATEMENT HAS BEEN APPROVED BY THE BANKRUPTCY COURT.




                                    IN THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE

            ------------------------------------------------------------- x
                                                                          :
            In re:                                                        :    Chapter 11
                                                                          :
                                                             1
            AIG FINANCIAL PRODUCTS CORP.,                                 :    Case No. 22-11309 (_____)
                                                                          :
                                                                          :
                                         Debtor.                          :
                                                                          :
            ------------------------------------------------------------- x

                                          PLAN OF REORGANIZATION
                                      FOR AIG FINANCIAL PRODUCTS CORP.
                                  UNDER CHAPTER 11 OF THE BANKRUPTCY CODE


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                               Proposed Co-Counsel for Debtor and Debtor-in-Possession




        Dated: December 14, 2022


        1
              The Debtor in this case, along with the last four digits of the Debtor’s federal tax identification number, is: AIG
              Financial Products Corp. (9410). The Debtor’s address is 50 Danbury Road, Wilton, Connecticut 06897.
29958243.1
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             PLAN OF REORGANIZATION FOR AIG FINANCIAL
       PRODUCTS CORP. UNDER CHAPTER 11 OF THE BANKRUPTCY CODE

        AIG Financial Products Corp., as debtor and debtor-in-possession (the “Debtor”),
proposes the following plan of reorganization (as has been, or may be, supplemented or amended
from time to time, the “Plan”) for the resolution of the outstanding Claims (as defined below)
against and Equity Interests (as defined below) in the Debtor. The Debtor is the proponent of this
Plan within the meaning of section 1129 of the Bankruptcy Code (as defined below). Reference
is made to the Disclosure Statement (as such term is defined herein and distributed
contemporaneously herewith) for a summary and analysis of this Plan. Other agreements and
documents that are referenced in this Plan or the Disclosure Statement as Exhibits and Plan
Schedules will be filed with the Bankruptcy Court (as defined below). All such Exhibits and Plan
Schedules are incorporated into and are a part of this Plan as if set forth in full herein. The Debtor
reserves the right to alter, amend, modify, revoke or withdraw this Plan prior to its substantial
consummation.

                                            ARTICLE I.

 RULES OF INTERPRETATION, COMPUTATION OF TIME AND DEFINED TERMS

A.      Rules of Interpretation; Computation of Time

        For purposes herein: (a) in the appropriate context, each term, whether stated in the singular
or the plural, shall include both the singular and the plural, and pronouns stated in the masculine,
feminine or neuter gender shall include the masculine, feminine and the neuter gender; (b) any
reference herein to a contract, lease, instrument, release, indenture, or other agreement or
document being in a particular form or on particular terms and conditions means that the referenced
item shall be substantially in that form or substantially on those terms and conditions; (c) except
as otherwise provided herein, any reference herein to an existing or to be Filed contract, lease,
instrument, release, indenture, or other agreement or document shall mean as it may be amended,
modified or supplemented from time to time; (d) any reference to a Person or an Entity as a Holder
of Claim or Equity Interest includes that Person’s or Entity’s successors and assigns; (e) unless
otherwise specified, all references herein to “Articles”, “Sections”, “Exhibits” and “Plan
Schedules” are references to Articles, Sections, Exhibits and Plan Schedules hereof or hereto; (f)
unless otherwise stated, the words ‘‘herein,’’ “hereof,” “hereunder” and ‘‘hereto’’ refer to this Plan
in its entirety rather than to a particular portion of this Plan; (g) subject to the provisions of any
contract, certificate of incorporation, by-law, instrument, release, indenture, or other agreement or
document entered into in connection with this Plan and except as expressly provided in Article
XII.C of this Plan, the rights and obligations arising pursuant to this Plan shall be governed by,
and construed and enforced in accordance with the applicable federal law, including the
Bankruptcy Code and Bankruptcy Rules; (h) captions and headings to Articles and Sections are
inserted for convenience of reference only and are not intended to be a part of or to affect the
interpretation hereof; (i) the rules of construction set forth in section 102 of the Bankruptcy Code
shall apply to this Plan; (j) references to a specific article, section, or subsection of any statute,
rule, or regulation expressly referenced herein shall, unless otherwise specified, include any
amendments to or successor provisions of such article, section, or subsection; (k) any term used in


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capitalized form herein that is not otherwise defined but that is used in the Bankruptcy Code or the
Bankruptcy Rules shall have the meaning assigned to that term in the Bankruptcy Code or the
Bankruptcy Rules, as the case may be; (l) all references to docket numbers of documents Filed in
the Chapter 11 Case are references to the docket numbers under the Bankruptcy Court’s Case
Management and Electronic Filing system; and (m) all references to statutes, regulations, orders,
rules of courts, and the like shall mean as amended from time to time, and as applicable to the
Chapter 11 Case, unless otherwise stated. Except as otherwise specifically provided in this Plan
to the contrary, references in this Plan to “the Debtor” or to “the Reorganized Debtor” shall mean
“the Debtor and the Reorganized Debtor”, as applicable, to the extent the context requires.

        Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a)
shall apply in computing any period of time prescribed or allowed herein. If the date on which a
transaction may occur pursuant to this Plan shall occur on a day that is not a Business Day, then
such transaction shall instead occur on the next succeeding Business Day.

B.      Defined Terms

      Unless the context otherwise requires, the following terms shall have the following
meanings when used in capitalized form herein:

         “Administrative Claim” means a Claim for costs and expenses of administration of the
Chapter 11 Case that are Allowed under sections 503(b), 507(a)(2), 507(b), or 1114(e)(2) of the
Bankruptcy Code, including, without limitation: (a) any actual and necessary costs and expenses
incurred on or after the Petition Date and through the Effective Date of preserving the Estate and
operating the business of the Debtor; (b) Professional Fee Claims and any other compensation for
legal, financial, advisory, accounting, and other services and reimbursement of expenses Allowed
by the Bankruptcy Court under sections 328, 330, 331 or 503(b) of the Bankruptcy Code to the
extent incurred on or after the Petition Date and through the Effective Date; (c) all fees and charges
assessed against the Estate under section 1930, chapter 123, of title 28, United States Code, and
any interest accruing thereon pursuant to 31 U.S.C. § 3717; and (d) the Cure Claim Amounts.

        “Affiliate” means an “affiliate”, as defined in section 101(2) of the Bankruptcy Code.

         “Allowed” means (i) any Claim or Equity Interest as to which the Debtor or the
Reorganized Debtor, as applicable, and the Holder thereof or the Bankruptcy Court, or another
court of competent jurisdiction, has determined such amount by Final Order; (ii) any Claim that is
listed in the Schedules as liquidated, non-contingent and undisputed; or (iii) any Claim or Equity
Interest expressly allowed hereunder; provided, however, that notwithstanding the foregoing, (x)
unless expressly waived by this Plan or Allowed in a specific amount by this Plan, the Allowed
amount of Claims and Equity Interests shall be subject to and shall not exceed the limitations or
maximum amounts permitted by the Bankruptcy Code, including section 502 or 503 of the
Bankruptcy Code, to the extent applicable, and (y) the Debtor or the Reorganized Debtor, as
applicable, shall retain all claims and defenses with respect to Allowed Claims that are reinstated
or otherwise Unimpaired pursuant to this Plan.




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        “Amended/New Organizational Documents” means, as applicable, the amended and
restated or new applicable organizational documents of Reorganized Debtor, in substantially the
form Filed with the Plan Supplement and any supplements or amendments thereto.

       “Avoidance Actions” means any and all avoidance, recovery, subordination or similar
actions or remedies that may be brought by and on behalf of the Debtor or its Estate under the
Bankruptcy Code or applicable non-bankruptcy law, including, without limitation, actions or
remedies arising under chapter 5 of the Bankruptcy Code.

        “Ballots” means the ballots distributed to Holders of Impaired Claims entitled to vote on
this Plan for the purpose of indicating their acceptance or rejection of this Plan, which were
approved by the Disclosure Statement Order.

      “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101-1532, as
amended from time to time and as applicable to the Chapter 11 Case.

      “Bankruptcy Court” means the United States Bankruptcy Court for the District of
Delaware, or any other court having jurisdiction over the Chapter 11 Case.

       “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure and the Local Rules
of the Bankruptcy Court, in each case as amended from time to time and as applicable to the
Chapter 11 Case.

       “Business Day” means any day, other than a Saturday, Sunday or “legal holiday” (as
defined in Bankruptcy Rule 9006(a)).

        “Cash” means the legal tender of the United States of America or the equivalent thereof.

        “Causes of Action” means any claims, causes of action (including Avoidance Actions),
demands, actions, suits, obligations, liabilities, cross-claims, counterclaims, offsets, or setoffs of
any kind or character whatsoever, in each case whether known or unknown, contingent or non-
contingent, matured or unmatured, suspected or unsuspected, foreseen or unforeseen, direct or
indirect, choate or inchoate, existing or hereafter arising, under statute, in contract, in tort, in law,
or in equity, or pursuant to any other theory of law, federal or state, whether asserted or assertable
directly or derivatively in law or equity or otherwise by way of claim, counterclaim, cross-claim,
third party action, action for indemnity or contribution or otherwise, based in whole or in part upon
any act or omission or other event occurring prior to the Petition Date or during the course of the
Chapter 11 Case, including through the Effective Date.

       “Chapter 11 Case” means the case under chapter 11 of the Bankruptcy Code commenced
by the Debtor in the Bankruptcy Court being administered under Case No. 22-11309 ([●]).

       “Claim” means any “claim” (as defined in section 101(5) of the Bankruptcy Code) against
the Debtor.

       “Claims Register” means the official register of Claims maintained by the Voting and
Claims Agent.


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        “Class” means a category of Holders of Claims or Equity Interests as set forth in Article
III hereof pursuant to section 1122(a) of the Bankruptcy Code.

        “Class 7 Cash Pool” means Cash in an aggregate amount equal to $1,000,000.

        “Collateral” means any property or interest in property of the Debtor’s Estate that is subject
to a valid and enforceable Lien to secure a Claim.

        “Commission” means the U.S. Securities and Exchange Commission.

        “Confirmation” means the occurrence of the Confirmation Date, subject to all conditions
specified in Article IX of this Plan having been satisfied or waived pursuant to Article IX of this
Plan.

      “Confirmation Date” means the date on which the clerk of the Bankruptcy Court enters the
Confirmation Order on the docket of the Bankruptcy Court in the Chapter 11 Case.

        “Confirmation Hearing” means the hearing held by the Bankruptcy Court pursuant to
section 1128 of the Bankruptcy Code to consider confirmation of this Plan, as such hearing may
be adjourned or continued from time to time.

       “Confirmation Order” means the order of the Bankruptcy Court confirming this Plan
pursuant to section 1129 of the Bankruptcy Code.

        “Consummation” means the occurrence of the Effective Date.

        “Cure Claim Amount” has the meaning set forth in Article VI.B of this Plan.

        “D&O Liability Insurance Policies” means all insurance policies (including, without
limitation, that certain directors’ and officers’ liability insurance policy purchased by the Debtor
prior to the Petition Date, any general liability policies, any errors and omissions policies, and, in
each case, any agreements, documents, or instruments related thereto) issued at any time and
providing coverage for liability of the Debtor’s directors, managers, and officers.

        “DCP Claimant” means any Holder of a Subordinated Claim.

       “DCP Plans” means, collectively, (i) the AIG Financial Products Corp. Deferred
Compensation Plan dated December 29, 2008, (ii) the AIG Financial Products Corp. 2007 Special
Incentive Plan dated December 29, 2008, and (iii) the AIG Financial Products Corp. 2008
Employee Retention Plan dated December 1, 2007 (each as amended, supplemented or modified
from time to time).

        “Debtor” means the above-captioned debtor and debtor-in-possession.

        “Debtor Release” has the meaning set forth in Article X.B hereof.

        “Debtor Releasing Parties” has the meaning set forth in Article X.B hereof.



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       “Disclosure Statement” means that certain Disclosure Statement for the Plan Of
Reorganization For AIG Financial Products Corp. Under Chapter 11 Of The Bankruptcy Code,
dated as of December 14, 2022 (as amended, supplemented, or modified from time to time) that
was approved by the Disclosure Statement Order.

       “Disclosure Statement Order” means that certain Order (A) Approving the Disclosure
Statement; (B) Establishing the Voting Record Date, Voting Deadline and Other Dates; (C)
Approving Procedures for Soliciting, Receiving and Tabulating Votes on the Plan and for Filing
Objections to the Plan; (D) Approving the Manner and Forms of Notice and Other Related
Documents; and (E) Granting Related Relief entered by the Bankruptcy Court in the Chapter 11
Case, as such order may be amended, supplemented, or modified from time to time.

        “Disputed Claim” means any Claim or any portion thereof, that has not been Allowed, but
has not been disallowed pursuant to this Plan or a Final Order of the Bankruptcy Court or other
court of competent jurisdiction.

        “Distribution Agents” means (a) the Reorganized Debtor or any party designated by the
Reorganized Debtor to serve as distribution agent under this Plan, or (b) with respect to
distributions on account of Class 7 Subordinated Claims only, counsel to the DCP Claimants or
any party designated by the DCP Claimants to serve as distribution agent for Class 7 Subordinated
Claims.

        “Distribution Record Date” means the date for determining which Holders of Claims are
eligible to receive distributions under this Plan, which date shall be the later of the Effective Date
or the occurrence of the applicable bar date as established by the Bankruptcy Court.

        “Effective Date” means the first Business Day on which the conditions specified in Article
IX of this Plan have been satisfied or waived in accordance with the terms of Article IX.

        “Entity” means an “entity” as defined in section 101(15) of the Bankruptcy Code.

        “Equity Interest” means any Equity Security in the Debtor, including, without limitation,
all issued, unissued, authorized or outstanding shares of stock and other ownership interests in
each case, as in existence immediately prior to the Effective Date.

      “Equity Security” means an “equity security” as defined in section 101(16) of the
Bankruptcy Code.

        “Estate” means the estate of the Debtor created under section 541 of the Bankruptcy Code.

       “Exchange Act” means the Securities Exchange Act of 1934, 15 U.S.C. §§ 78a et seq., as
now in effect or hereafter amended, and any similar federal, state or local law.

        “Exculpated Parties” means, collectively, the Debtor, the Reorganized Debtor, and, in each
case, their respective current and former officers, directors, principals, employees, members,
managers, attorneys, financial advisors, accountants, and other retained professionals that served
in such capacity at any time on or after the Petition Date.


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        “Exculpation” means the exculpation provision set forth in Article X.E hereof.

      “Executory Contract” means a contract to which the Debtor is a party that is subject to
assumption or rejection under section 365 of the Bankruptcy Code.

       “Exhibit” means an exhibit annexed to either this Plan or as an appendix to the Disclosure
Statement (as such exhibits are amended, modified or otherwise supplemented from time to time).

      “Existing AIG FP Interests” means the Equity Interests in the Debtor, as in existence
immediately prior to the Effective Date.

       “Exit Facility” means the revolving loan facility contemplated under the Exit Facility
Credit Agreement.

       “Exit Facility Credit Agreement” means the credit agreement, in substantially the form
Filed with the Plan Supplement.

       “Exit Facility Loans” means the loans made under or in connection with the Exit Facility
Credit Agreement.

       “File” or “Filed” or “Filing” means file, filed or filing with the Bankruptcy Court or its
authorized designee in the Chapter 11 Case.

        “Final Order” means an order or judgment of the Bankruptcy Court, or court of competent
jurisdiction with respect to the subject matter, as entered on the docket in the Chapter 11 Case or
the docket of any court of competent jurisdiction, and as to which the time to appeal, or seek
certiorari or move for a new trial, reargument, or rehearing has expired and no appeal or petition
for certiorari or other proceedings for a new trial, reargument, or rehearing has been timely taken,
or as to which any appeal that has been taken or any petition for certiorari that has been or may be
timely Filed has been withdrawn or resolved by the highest court to which the order or judgment
was appealed or from which certiorari was sought or the new trial, reargument, or rehearing shall
have been denied, resulted in no stay pending appeal of such order, or has otherwise been dismissed
with prejudice; provided, however, that the possibility that a motion under Rule 60 of the Federal
Rules of Civil Procedure, or any analogous rule under the Bankruptcy Rules, may be filed with
respect to such order shall not preclude such order from being a Final Order.

        “General Unsecured Claim” means any Claim that is not a/an: Administrative Claim
(including Professional Fee Claims); Priority Tax Claim; Other Priority Claim; Other Secured
Claim; Secured Tax Claim; Prepetition Revolving Loan Claim; Intercompany Claim; or
Subordinated Claim.

        “Global Settlement” means that certain settlement incorporated into and described in
Article V.A of this Plan, pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule
9019.

      “Governmental Unit” means a “governmental unit” as defined in section 101(27) of the
Bankruptcy Code.


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        “Holder” means a Person or an Entity holding a Claim or Equity Interest.

        “Impaired” means, when used in reference to a Claim or Equity Interest, a Claim or Equity
Interest that is “impaired” within the meaning of section 1124 of the Bankruptcy Code.

        “Indemnification Provisions” means, collectively, each of the provisions in existence
immediately prior to the Effective Date (whether in bylaws, certificates of formation or
incorporation, board resolutions, employment contracts, or otherwise) whereby the Debtor agrees
to indemnify, reimburse, provide contribution or advance fees and expenses to or for the benefit
of, defend, exculpate, or limit the liability of, any Indemnified Party.

       “Indemnified Parties” means the Debtor’s current and former directors, officers, and
managers in their respective capacities as such, and solely to the extent that such Person was
serving in such capacity on or any time after the Petition Date.

        “Intercompany Claim” means any Claim against the Debtor held by a non-Debtor Affiliate,
other than an Administrative Claim, or a Prepetition Revolving Loan Claim.

       “Insurance Contract” means all insurance policies and related agreements of indemnity
that have been issued at any time to, or provide coverage to, the Debtor and all agreements,
documents, or instruments relating thereto.

        “Insurer” means any company or other entity that issued any Insurance Contract, and any
respective predecessors and/or affiliates thereof.

        “IRC” means the Internal Revenue Code of 1986, as amended.

        “IRS” means the Internal Revenue Service of the United States of America.

        “Lien” means a “lien” as defined in section 101(37) of the Bankruptcy Code, and, with
respect to any property or asset, includes, without limitation, any mortgage, lien, pledge, charge,
security interest or other encumbrance of any kind, or any other type of preferential arrangement
that has the practical effect of creating a security interest, in respect of such property or asset.

        “Litigation Claims” means the claims, rights of action, suits or proceedings, whether in law
or in equity, whether known or unknown, that the Debtor or its Estate may hold against any Person
or Entity, including, without limitation, the Causes of Action of the Debtor or its Estate, in each
case solely to the extent of the Debtor’s or its Estate’s interest therein. A non-exclusive list of the
Litigation Claims held by the Debtor as of the Effective Date will be Filed with the Plan
Supplement, which shall be deemed to include any derivative actions filed against the Debtor or
by or on behalf of the Debtor or its Estate as of the Effective Date.

        “Local Rules” means the Local Rules of Bankruptcy Practice and Procedure of the United
States Bankruptcy Court for the District of Delaware.

        “New Board” means the initial members of the board of directors of the Reorganized
Debtor, to be put in place on and as of the Effective Date. The members of the initial board of
directors of Reorganized Debtor shall be identified in the Plan Supplement.

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        “Non-Voting Classes” means, collectively, Classes 1, 2, 3, 5, 6, and 8.

        “Notice” has the meaning set forth in Article XII.J of this Plan.

       “Ordinary Course Professionals Order” means that certain Order Authorizing the Debtor
to Employ and Compensate Certain Professionals in the Ordinary Course of Business Nunc Pro
Tunc to the Petition Date entered by the Bankruptcy Court, as amended, supplemented, or
modified from time to time.

       “Other Priority Claim” means any Claim accorded priority in right of payment under
section 507(a) of the Bankruptcy Code, other than a Priority Tax Claim, or an Administrative
Claim.

       “Other Secured Claim” means any Secured Claim other than an Administrative Claim or
Secured Tax Claim.

        “Parent” means American International Group, Inc.

        “Person” means a “person” as defined in section 101(41) of the Bankruptcy Code and also
includes any natural person, corporation, general or limited partnership, limited liability company,
firm, trust, association, government, governmental agency or other Entity, whether acting in an
individual, fiduciary or other capacity.

      “Petition Date” means December 14, 2022, the date on which the Debtor commenced the
Chapter 11 Case.

       “Plan” means this Plan Of Reorganization For AIG Financial Products Corp. Under
Chapter 11 Of The Bankruptcy Code, dated December 14, 2022, including the Exhibits and Plan
Schedules and all supplements, appendices, and schedules thereto, either in its present form or as
the same may be amended, supplemented, or modified from time to time.

       “Plan Objection Deadline” means the date and time by which objections to Confirmation
and Consummation of this Plan must be Filed with the Bankruptcy Court and served in accordance
with the Disclosure Statement Order.

       “Plan Schedule” means a schedule annexed to this Plan or an appendix to the Disclosure
Statement (as amended, modified or otherwise supplemented from time to time).

        “Plan Securities” has the meaning set forth in Article V.F of this Plan.

        “Plan Securities and Documents” has the meaning set forth in Article V.F of this Plan.

         “Plan Supplement” means, collectively, the compilation of documents and forms of
documents, and all exhibits, attachments, schedules, agreements, documents and instruments
referred to therein, ancillary or otherwise, including, without limitation, the Exhibits and Plan
Schedules, all of which are incorporated by reference into, and are an integral part of, this Plan, as
all of the same may be amended, supplemented, or modified from time to time prior to the Effective



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Date. The Exhibits and Plan Schedules (or substantially final forms thereof) shall be Filed with
the Bankruptcy Court at least seven (7) days prior to the Plan Objection Deadline.

       “Prepetition Revolving Loan Agreement” means that certain Revolving Credit Agreement,
dated as of September 22, 2008 (as the same may be amended, modified or supplemented) among
the Debtor, as borrower, and the Prepetition Revolving Lender.

       “Prepetition Revolving Loan Claims” means any and all Claims arising from, under or in
connection with the Prepetition Revolving Loan Agreement.

        “Prepetition Revolving Lender” means Parent (as successor to AIG Funding, Inc.) and any
of its successors and assigns, in its capacity as lender under the Prepetition Revolving Loan
Agreement.

        “Priority Tax Claim” means any Claim of a Governmental Unit of the kind specified in
section 507(a)(8) of the Bankruptcy Code.

       “Professional” means any Person or Entity retained by the Debtor in the Chapter 11 Case
pursuant to section 327, 328, 363, and/or 1103 of the Bankruptcy Code (other than an ordinary
course professional).

        “Professional Fee Claim” means all Claims for accrued, contingent, and/or unpaid fees,
costs, and expenses incurred by a Professional in the Chapter 11 Case on or after the Petition Date
and through and including the Effective Date that the Bankruptcy Court has not denied by Final
Order. To the extent that the Bankruptcy Court or any higher court of competent jurisdiction
denies or reduces by a Final Order any amount of a Professional’s fees, costs, or expenses, then
those reduced or denied amounts shall no longer constitute Professional Fee Claims.

        “Professional Fees Bar Date” means the Business Day that is thirty (30) days after the
Effective Date or such other date as approved by Final Order of the Bankruptcy Court.

       “Professional Fee Reserve” means the reserve established and maintained by the Debtor
and the Reorganized Debtor from Cash on hand existing immediately prior to the Effective Date
or from the Exit Facility Loans pursuant to and in accordance with Article V.N of this Plan.

        “Related Persons” means, with respect to any Person or Entity, such Person’s or Entity’s
predecessors, successors, assigns and present and former Affiliates (whether by operation of law
or otherwise) and subsidiaries, and each of their respective current and former officers, directors,
principals, employees, shareholders, members (including ex officio members and managing
members), managers, managed accounts or funds, management companies, fund advisors, traders,
advisory or subcommittee board members, partners, agents, financial advisors, attorneys,
accountants, investment bankers, investment advisors, consultants, representatives, and other
professionals, in each case acting in such capacity at any time on or after the Petition Date, and
any Person or Entity claiming by or through any of them, including such Related Persons’
respective heirs, executors, estates, servants, and nominees; provided, however, that no Insurer of
the Debtor or any DCP Claimant shall constitute a Related Person.



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       “Released and Settled Claims” means all Claims and/or Causes of Action made, or which
could have been made, by or on behalf of any of the DCP Claimants against the Debtor or any
other Released Party, in each case arising at any time prior to or on the Effective Date.

        “Released Party” means, collectively, the following:

            (a) the Debtor;

            (b) the Reorganized Debtor;

            (c) the Parent;

            (d) the Distribution Agents;

            (e) with respect to each of the foregoing Persons or Entities in clauses (a) through (d),
              each current and former Affiliate of each such Person or Entity; and

            (f) with respect to the foregoing Persons or Entities in clauses (a) through (e), each
              Related Person of such Persons or Entities.

        “Reorganized Debtor” means the Debtor, as reorganized pursuant to this Plan on or after
the Effective Date, and its respective successors.

        “Restructuring Documents” means, collectively, the documents and agreements (and the
exhibits, schedules, annexes and supplements thereto) necessary to implement, or entered into in
connection with, this Plan, including, without limitation, the Plan Supplement, the Exit Facility
Credit Agreement, the Exhibits, and the Plan Schedules.

       “Schedules” means the schedules of assets and liabilities, schedules of Executory
Contracts, and statement of financial affairs Filed by the Debtor pursuant to section 521 of the
Bankruptcy Code and the applicable Bankruptcy Rules, as such Schedules they may be amended,
modified, or supplemented from time to time, if any such Schedules are required to be Filed by
order of the Bankruptcy Court.

        “Secured Claim” means a Claim that is secured by a Lien on property in which the Debtor’s
Estate has an interest or that is subject to setoff under section 553 of the Bankruptcy Code, to the
extent of the value of the Claim holder’s interest in such Estate’s interest in such property or to the
extent of the amount subject to setoff, as applicable, as determined pursuant to section 506(a) of
the Bankruptcy Code or, in the case of setoff, pursuant to section 553 of the Bankruptcy Code.

        “Secured Tax Claim” means any Secured Claim which, absent its secured status, would be
entitled to priority in right of payment under section 507(a)(8) of the Bankruptcy Code.

       “Securities Act” means the Securities Act of 1933, 15 U.S.C. §§ 77c-77aa, as now in effect
or hereafter amended, and any similar federal, state or local law.

        “Stamp or Similar Tax” means any stamp tax, recording tax, conveyance fee, intangible
or similar tax, mortgage tax, personal or real property tax, real estate transfer tax, sales tax, use


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tax, transaction privilege tax (including, without limitation, such taxes on prime contracting and
owner-builder sales), privilege taxes (including, without limitation, privilege taxes on construction
contracting with regard to speculative builders and owner builders), and other similar taxes or fees
imposed or assessed by any Governmental Unit.

         “Subordinated Claim” means any Claim arising under, in connection with, or relating to
any of the DCP Plans, including, without limitation, those Claims asserted in the pending action
titled: Arthurs, et al. v. AIG Fin. Prod. Corp., Case No. X08-FST-CV-XX-XXXXXXX-S (Conn. Super.
Ct. Dec. 6, 2019). For the avoidance of doubt, the Debtor’s description or classification in this
Plan, the Disclosure Statement, or any other document of any obligations arising under or related
to the DCP Plans as Claims is not an admission that such obligations are debt, and the Debtor
reserves the right to object to the allowance of such Claims and to classify any such obligations as
Equity Interests.

      “Unexpired Lease” means a lease to which the Debtor is a party that is subject to
assumption or rejection under section 365 of the Bankruptcy Code.

       “Unimpaired” means, with respect to a Class of Claims or Equity Interests, a Claim or an
Equity Interest that is “unimpaired” within the meaning of section 1124 of the Bankruptcy Code.

        “Unused Professional Fee Reserve Amount” means the remaining Cash, if any, in the
Professional Fee Reserve after all obligations and liabilities for which such reserve was established
are paid, satisfied, and discharged in full in Cash or are disallowed by Final Order in accordance
with this Plan.

        “Voting and Claims Agent” means Epiq Corporate Restructuring, LLC, in its capacity as
solicitation, notice, claims and balloting agent for the Debtor.

        “Voting Classes” means Classes 4 and 7.

       “Voting Deadline” means the date and time by which all Ballots must be received by the
Voting and Claims Agent in accordance with the Disclosure Statement Order, which date is
[February 22], 2023 at 5:00 p.m. (prevailing Eastern Time).

        “Voting Record Date” means the date for determining which Holders of Claims in the
Voting Classes are entitled, as applicable, to receive the Disclosure Statement and to vote to accept
or reject this Plan, which date is [January 18], 2023, as set forth in the Disclosure Statement Order.

                                           ARTICLE II.

                    ADMINISTRATIVE AND PRIORITY TAX CLAIMS

A.      Administrative Claims

       On the later of the Effective Date or the date on which an Administrative Claim becomes
an Allowed Administrative Claim, or, in each such case, as soon as practicable thereafter, each
Holder of an Allowed Administrative Claim (other than an Allowed Professional Fee Claim) will
receive, in full satisfaction, settlement, discharge and release of, and in exchange for, such Claim

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either (i) Cash equal to the amount of such Allowed Administrative Claim; or (ii) such other less
favorable treatment as to which the Debtor or Reorganized Debtor, as applicable, and the Holder
of such Allowed Administrative Claim shall have agreed upon in writing; provided, however, that
Administrative Claims incurred by the Debtor in the ordinary course of business may be paid in
the ordinary course of business by the Debtor or the Reorganized Debtor in accordance with such
applicable terms and conditions relating thereto without further notice to or order of the
Bankruptcy Court.

        Professionals or other Entities asserting a Professional Fee Claim for services rendered
before the Effective Date must File and serve on the Reorganized Debtor and such other Persons
and Entities who are designated in the Confirmation Order an application for final allowance of
such Professional Fee Claim no later than the Professional Fees Bar Date; provided that the
Reorganized Debtor shall pay the reasonable fees, costs, and out-of-pocket expenses of the
Debtor’s Professionals in the ordinary course of business for any work performed after the
Effective Date, including those reasonable and documented fees, costs, and expenses incurred by
such Professionals in connection with the implementation and consummation of this Plan, in each
case without further application or notice to or order of the Bankruptcy Court; provided, further,
that any Debtor Professional who may receive compensation or reimbursement of expenses
pursuant to the Ordinary Course Professionals Order may continue to receive such compensation
and reimbursement of expenses from the Debtor and the Reorganized Debtor for services rendered
before the Effective Date pursuant to the Ordinary Course Professionals Order, in each case
without further application or notice to or order of the Bankruptcy Court.

        Objections to any Professional Fee Claim must be Filed and served on the Reorganized
Debtor and the requesting party by no later than thirty (30) days after the Filing of the applicable
final request for payment of the Professional Fee Claim. Each Holder of an Allowed Professional
Fee Claim shall be paid in full in Cash by the Reorganized Debtor, including from the Professional
Fee Reserve, within five (5) Business Days after entry of the order approving such Allowed
Professional Fee Claim. The Reorganized Debtor shall use such funds to pay only the Professional
Fee Claims, as and when allowed by order of the Bankruptcy Court (except that the Unused
Professional Fee Reserve Amount may be distributed from the Professional Fee Reserve as and
when provided in this Plan). Notwithstanding anything to the contrary contained in this Plan, the
failure of the Professional Fee Reserve to satisfy in full the Professional Fee Claims shall not, in
any way, operate or be construed as a cap or limitation on the amount of Professional Fee Claims
due and payable by the Reorganized Debtor.

B.      Priority Tax Claims

        Subject to Article VIII hereof, on the Effective Date, or as soon as reasonably practicable
thereafter, each Holder of an Allowed Priority Tax Claim shall receive in full satisfaction,
settlement, discharge and release of, and in exchange for, such Allowed Priority Tax Claim, at the
election of the Debtor or the Reorganized Debtor, as applicable: (A) Cash equal to the amount of
such Allowed Priority Tax Claim; (B) such other less favorable treatment as to which the Debtor
or the Reorganized Debtor, as applicable, and the Holder of such Allowed Priority Tax Claim shall
have agreed upon in writing; (C) such other treatment such that it will not be Impaired pursuant to
section 1124 of the Bankruptcy Code, or (D) pursuant to and in accordance with sections
1129(a)(9)(C) and 1129(a)(9)(D) of the Bankruptcy Code, Cash in an aggregate amount of such

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Allowed Priority Tax Claim payable in regular installment payments over a period ending not
more than five (5) years after the Petition Date, plus simple interest at the rate required by
applicable non-bankruptcy law on any outstanding balance from the Effective Date, or such lesser
rate as is agreed to in writing by a particular taxing authority and the Debtor or the Reorganized
Debtor, as applicable, pursuant to section 1129(a)(9)(C) of the Bankruptcy Code; provided,
however, that Priority Tax Claims incurred by the Debtor in the ordinary course of business may
be paid in the ordinary course of business by the Debtor or the Reorganized Debtor in accordance
with such applicable terms and conditions relating thereto without further notice to or order of the
Bankruptcy Court. Any installment payments to be made under clause (C) or (D) above shall be
made in equal quarterly Cash payments beginning on the Effective Date (or as soon as reasonably
practicable thereafter) and continuing on a quarterly basis until payment in full of the applicable
Allowed Priority Tax Claim.

                                           ARTICLE III.

                         CLASSIFICATION AND TREATMENT
                    OF CLASSIFIED CLAIMS AND EQUITY INTERESTS

A.      Summary

       All Claims and Equity Interests, except Administrative Claims (including Professional Fee
Claims) and Priority Tax Claims, are placed in the Classes set forth below. Any Class that is
vacant will be treated in accordance with Article III.D below.

        The categories of Claims and Equity Interests listed below classify Claims and Equity
Interests for all purposes, including, without limitation, for voting, confirmation and distribution
pursuant hereto and pursuant to sections 1122 and 1123(a)(1) of the Bankruptcy Code. This Plan
deems a Claim or Equity Interest to be classified in a particular Class only to the extent that the
Claim or Equity Interest qualifies within the description of that Class and shall be deemed
classified in a different Class to the extent that any remaining portion of such Claim or Equity
Interest qualifies within the description of such different Class. A Claim or Equity Interest is in a
particular Class only to the extent that any such Claim or Equity Interest is Allowed in that Class
and has not been paid, released, disallowed or otherwise settled prior to the Effective Date.

        Summary of Classification and Treatment of Classified Claims and Equity Interests

       Class            Claim/Equity Interest                   Status           Voting Rights

         1.     Other Priority Claims                        Unimpaired        Deemed to Accept

         2.     Other Secured Claims                         Unimpaired        Deemed to Accept

         3.     Secured Tax Claims                           Unimpaired        Deemed to Accept

         4.     Prepetition Revolving Loan Claims             Impaired          Entitled to Vote

         5.     General Unsecured Claims                     Unimpaired        Deemed to Accept


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       Class            Claim/Equity Interest                   Status            Voting Rights

         6.     Intercompany Claims                          Unimpaired         Deemed to Accept

         7.     Subordinated Claims                            Impaired          Entitled to Vote

         8.     Existing AIG FP Interests                      Impaired         Deemed to Reject


B.      Classification and Treatment of Claims and Equity Interests

        1. Class 1 - Other Priority Claims

                (a)    Classification: Class 1 consists of the Other Priority Claims.

                (b)    Treatment: Subject to Article VIII hereof, on the Effective Date or as soon
                       as reasonably practicable thereafter, each Holder of an Allowed Class 1
                       Claim shall receive in full satisfaction, settlement, discharge and release of,
                       and in exchange for, such Allowed Class 1 Claim, at the election of the
                       Debtor or Reorganized Debtor, as applicable: (A) Cash equal to the amount
                       of such Allowed Class 1 Claim; (B) such other less favorable treatment as
                       to which the Debtor or Reorganized Debtor, as applicable, and the Holder
                       of such Allowed Class 1 Claim shall have agreed upon in writing; or (C)
                       such other treatment such that it will not be impaired pursuant to section
                       1124 of the Bankruptcy Code; provided, however, that Class 1 Claims
                       incurred by the Debtor in the ordinary course of business may be paid in the
                       ordinary course of business by the Debtor or Reorganized Debtor in
                       accordance with the terms and conditions of any agreements relating thereto
                       without further notice to or order of the Bankruptcy Court.

                (c)    Voting: Class 1 is an Unimpaired Class, and the Holders of Claims in Class
                       1 are conclusively deemed to have accepted this Plan pursuant to section
                       1126(f) of the Bankruptcy Code. Therefore, the Holders of Claims in Class
                       1 are not entitled to vote to accept or reject this Plan.

        2. Class 2 - Other Secured Claims

                (a)    Classification: Class 2 consists of the Other Secured Claims. Class 2
                       consists of separate subclasses for each Other Secured Claim.

                (b)    Treatment: Subject to Article VIII hereof, on the Effective Date, or as soon
                       as reasonably practicable thereafter, each Holder of an Allowed Class 2
                       Claim shall receive in full satisfaction, settlement, discharge and release of,
                       and in exchange for, such Allowed Class 2 Claim, at the election of the
                       Debtor or Reorganized Debtor, as applicable: (A) Cash equal to the amount
                       of such Allowed Class 2 Claim; (B) such other less favorable treatment as
                       to which the Debtor or Reorganized Debtor, as applicable, and the Holder

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                      of such Allowed Class 2 Claim shall have agreed upon in writing; (C) the
                      Collateral securing such Allowed Class 2 Claim; or (D) such other treatment
                      such that it will not be impaired pursuant to section 1124 of the Bankruptcy
                      Code; provided, however, that Class 2 Claims incurred by the Debtor in the
                      ordinary course of business may be paid in the ordinary course of business
                      by the Debtor or Reorganized Debtor in accordance with the terms and
                      conditions of any agreements relating thereto without further notice to or
                      order of the Bankruptcy Court.

                (c)   Voting: Class 2 is an Unimpaired Class, and the Holders of Claims in Class
                      2 are conclusively deemed to have accepted this Plan pursuant to section
                      1126(f) of the Bankruptcy Code. Therefore, the Holders of Claims in Class
                      2 are not entitled to vote to accept or reject this Plan.

        3. Class 3 – Secured Tax Claims

                (a)   Classification: Class 3 consists of the Secured Tax Claims.

                (b)   Treatment: Subject to Article VIII hereof, on the Effective Date, or as soon
                      as reasonably practicable thereafter, each Holder of an Allowed Class 3
                      Claim shall receive in full satisfaction, settlement, discharge and release of,
                      and in exchange for, such Allowed Class 3 Claim, at the election of the
                      Debtor or Reorganized Debtor, as applicable: (A) Cash equal to the amount
                      of such Allowed Class 3 Claim; (B) such other less favorable treatment as
                      to which the Debtor or Reorganized Debtor, as applicable, and the Holder
                      of such Allowed Class 3 Claim shall have agreed upon in writing; (C) the
                      Collateral securing such Allowed Class 3 Claim; (D) such other treatment
                      such that it will not be impaired pursuant to section 1124 of the Bankruptcy
                      Code or (E) pursuant to and in accordance with sections 1129(a)(9)(C) and
                      1129(a)(9)(D) of the Bankruptcy Code, Cash in an aggregate amount of
                      such Allowed Class 3 Claim payable in regular installment payments over
                      a period ending not more than five (5) years after the Petition Date, plus
                      simple interest at the rate required by applicable non-bankruptcy law on any
                      outstanding balance from the Effective Date, or such lesser rate as is agreed
                      to in writing by a particular taxing authority and the Debtor or Reorganized
                      Debtor, as applicable, pursuant to section 1129(a)(9)(C) of the Bankruptcy
                      Code; provided, however, that Class 3 Claims incurred by the Debtor in the
                      ordinary course of business may be paid in the ordinary course of business
                      by the Debtor or Reorganized Debtor in accordance with such applicable
                      terms and conditions relating thereto without further notice to or order of
                      the Bankruptcy Court. Any installment payments to be made under clause
                      (D) or (E) above shall be made in equal quarterly Cash payments beginning
                      on the Effective Date (or as soon as reasonably practicable thereafter), and
                      continuing on a quarterly basis until payment in full of the applicable
                      Allowed Class 3 Claim.




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                (c)   Voting: Class 3 is an Unimpaired Class, and the Holders of Claims in Class
                      3 shall be conclusively deemed to have accepted this Plan pursuant to
                      section 1126(f) of the Bankruptcy Code. Therefore, Holders of Claims in
                      Class 3 are not entitled to vote to accept or reject this Plan.

        4. Class 4 - Prepetition Revolving Loan Claims

                (a)   Classification: Class 4 consists of the Prepetition Revolving Loan Claims.

                (b)   Allowance: The Prepetition Revolving Loan Claims are deemed Allowed
                      Claims in the aggregate principal amount of $37,438,254,000, plus any
                      accrued and unpaid fees, expenses, charges, indemnities and other
                      obligations incurred in connection therewith through the Effective Date.

                (c)   Treatment: The Parent, as the sole Holder of the Allowed Class 4
                      Prepetition Revolving Loan Claim, shall retain the Existing AIG FP
                      Interests in exchange for, and in full satisfaction, settlement, discharge and
                      release of, such Allowed Class 4 Claim. For the avoidance of doubt, the
                      Parent shall be entitled to retain the Existing AIG FP Interests solely on
                      account of the Parent’s Allowed Class 4 Claim, and not on account of the
                      Parent’s Allowed Class 8 Existing AIG FP Interests.

                (d)   Voting: Class 4 is Impaired, and the Parent is entitled to vote to accept or
                      reject this Plan in its capacity as the Holder of the Allowed Class 4
                      Prepetition Revolving Loan Claim.

        5. Class 5 - General Unsecured Claims

                (a)   Classification: Class 5 consists of the General Unsecured Claims.

                (b)   Treatment: Subject to Article VIII hereof, on the Effective Date, or as soon
                      as reasonably practicable thereafter, each Holder of an Allowed Class 5
                      Claim shall receive, in full satisfaction, settlement, discharge and release of,
                      and in exchange for, such Allowed Class 5 Claim, at the election of the
                      Debtor or Reorganized Debtor, as applicable: (A) Cash equal to the amount
                      of such Allowed Class 5 Claim; (B) such other less favorable treatment as
                      to which the Debtor or Reorganized Debtor, as applicable, and the Holder
                      of such Allowed Class 5 Claim shall have agreed upon in writing; or (C)
                      such other treatment such that it will not be impaired pursuant to section
                      1124 of the Bankruptcy Code; provided, however, that Class 5 Claims
                      incurred by the Debtor in the ordinary course of business may be paid in the
                      ordinary course of business by the Debtor or Reorganized Debtor in
                      accordance with the terms and conditions of any agreements relating thereto
                      without further notice to or order of the Bankruptcy Court.

                (c)   Voting: Class 5 is an Unimpaired Class, and the Holders of Claims in Class
                      5 are conclusively deemed to have accepted this Plan pursuant to section


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                            1126(f) of the Bankruptcy Code. Therefore, the Holders of Claims in Class
                            5 are not entitled to vote to accept or reject this Plan.

         6. Class 6 – Intercompany Claims

                   (a)      Classification: Class 6 consists of the Intercompany Claims.

                   (b)      Treatment: The Intercompany Claims shall be paid, adjusted, reinstated,
                            compromised, or cancelled, in each case at the option of the relevant Holder
                            of such Intercompany Claims.

                   (c)      Voting: Class 6 is an Unimpaired Class and the Holders of Claims in Class
                            6 are conclusively deemed to have accepted this Plan pursuant to section
                            1126(f) of the Bankruptcy Code. Therefore, the Holders of Claims in Class
                            6 are not entitled to vote to accept or reject this Plan.

         7. Class 7 – Subordinated Claims

                   (a)      Classification: Class 7 consists of the Subordinated Claims.2

                   (b)      Treatment:


                            (i)      IF AND ONLY IF CLASS 7 VOTES TO ACCEPT THIS PLAN:

                                     Each Holder of a Class 7 Claim shall receive, on or as soon as
                                     reasonably practicable after the Effective Date, in full satisfaction,
                                     settlement, discharge and release of, and in exchange for, its
                                     Allowed Class 7 Claim, an equal share of the Class 7 Cash Pool
                                     based on the number of Holders in Class 7 after payment therefrom
                                     of any taxes due with respect to the Class 7 Cash Pool (including,
                                     but not limited to, any employer taxes payable by the Debtor or any
                                     affiliate of the Debtor with respect to distributions of the Class 7
                                     Cash Pool, as determined by the Debtor).


                            (ii)     IF AND ONLY IF CLASS 7 VOTES TO REJECT THIS PLAN:

                                     Each Holder of a Class 7 Claim shall not receive any distribution
                                     nor retain any property on account of such Class 7 Claim and, on the



2   For the avoidance of doubt, the Debtor’s description or classification in this Plan, the Disclosure Statement, or any
    other document of any obligations arising under or related to the DCP Plans as Claims is not an admission that
    such obligations are debt, and the Debtor reserves the right to object to the allowance of such Claims and to classify
    any such obligations as Equity Interests.




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                               Effective Date, the Class 7 Claims shall be discharged without
                               further notice to, approval of, or action by any Person or Entity.

                (c)    Voting: Class 7 is an Impaired, and Holders of Claims in Class 7 are entitled
                       to vote to accept or reject this Plan.

        8. Class 8 – Existing AIG FP Interests

                (a)    Classification: Class 8 consists of the Existing AIG FP Interests.

                (b)    Treatment: The Existing AIG FP Interests shall remain effective and
                       outstanding on the Effective Date. In accordance with Article III.B.4
                       hereof, the Parent, as the sole Holder of the Allowed Class 4 Prepetition
                       Revolving Loan Claim, shall retain the Existing AIG FP Interests in
                       exchange for, and in full satisfaction, settlement, discharge and release of,
                       such Allowed Class 4 Claim. The Parent shall not retain any Existing AIG
                       FP Interests or receive any other distribution on account of its Allowed
                       Class 8 Existing AIG FP Interests.

                (c)    Voting: Class 8 is an Impaired Class and the Parent, in its capacity as Holder
                       of the Allowed Existing AIG FP Interests in Class 8, is conclusively deemed
                       to have rejected this Plan pursuant to section 1126(g) of the Bankruptcy
                       Code. Therefore, the Parent is not entitled to vote to accept or reject this
                       Plan in its capacity as Holder of the Allowed Class 8 Existing AIG FP
                       Interests.

C.      Special Provision Governing Unimpaired Claims

       Except as otherwise provided herein, nothing under this Plan shall affect or limit the
Debtor’s or the Reorganized Debtor’s rights and defenses (whether legal or equitable) in respect
of any Unimpaired Claims, including, without limitation, all rights in respect of legal and equitable
defenses to or setoffs or recoupments against any such Unimpaired Claims.

D.      Elimination of Vacant Classes

        Any Class of Claims that is not occupied as of the commencement of the Confirmation
Hearing by an Allowed Claim or a claim temporarily allowed under Bankruptcy Rule 3018, or as
to which no vote is cast, shall be deemed eliminated from this Plan for purposes of voting to accept
or reject this Plan and for purposes of determining acceptance or rejection of this Plan by such
Class pursuant to section 1129(a)(8) of the Bankruptcy Code.




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                                          ARTICLE IV.

                     ACCEPTANCE OR REJECTION OF THE PLAN

A.      Presumed Acceptance of Plan

       Classes 1, 2, 3, 5, and 6 are Unimpaired under this Plan. Therefore, the Holders of Claims
in such Classes are deemed to have accepted this Plan pursuant to section 1126(f) of the
Bankruptcy Code and are not entitled to vote to accept or reject this Plan.

B.      Deemed Rejection of Plan

        Class 8 is Impaired, and the Holder of Equity Interests in such Class shall receive no
distribution under this Plan on account of such Equity Interests. Therefore, such Holder is deemed
to have rejected this Plan pursuant to section 1126(g) of the Bankruptcy Code and is not entitled
to vote to accept or reject this Plan.

C.      Voting Classes

       Classes 4 and 7 are Impaired under this Plan. The Holders of Claims in such Classes as of
the Voting Record Date are entitled to vote to accept or reject this Plan.

D.      Acceptance by Impaired Class of Claims

        Pursuant to section 1126(c) of the Bankruptcy Code and except as otherwise provided in
section 1126(e) of the Bankruptcy Code, an Impaired Class of Claims has accepted this Plan if the
Holders of at least two-thirds (2/3) in dollar amount and more than one-half (1/2) in number of the
Allowed Claims in such Class actually voting have voted to accept this Plan.

E.      Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code

        Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of Confirmation
by acceptance of this Plan by Class 7. The Debtor requests confirmation of this Plan under section
1129(b) of the Bankruptcy Code with respect to any Impaired Class that does not accept this Plan
pursuant to section 1126 of the Bankruptcy Code. The Debtor reserves the right to modify this
Plan or any Exhibit or Plan Schedule in order to satisfy the requirements of section 1129(b) of the
Bankruptcy Code, if necessary.

F.      Votes Solicited in Good Faith

        The Debtor has, and upon the Confirmation Date shall be deemed to have, solicited votes
on this Plan from the Voting Classes in good faith and in compliance with the applicable provisions
of the Bankruptcy Code, including, without limitation, sections 1125 and 1126 of the Bankruptcy
Code, and any applicable non-bankruptcy law, rule, or regulation governing the adequacy of
disclosure in connection with the solicitation. Accordingly, the Debtor, the Reorganized Debtor,
and each of their respective Related Persons shall be entitled to, and upon the Confirmation Date
are hereby granted, the protections of section 1125(e) of the Bankruptcy Code.



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                                            ARTICLE V.

                     MEANS FOR IMPLEMENTATION OF THE PLAN

A.      Global Settlement

        This Plan incorporates a compromise and settlement of the Released and Settled Claims
held by the DCP Claimants in the form of a “Global Settlement,” which the Parent supports.
Pursuant to the Global Settlement, solely in the event that Class 7 votes to accept this Plan, the
Parent has agreed to permit each DCP Claimant to receive, in full satisfaction, settlement,
discharge and release of, and in exchange for, its Class 7 Subordinated Claim, an equal share of
the Class 7 Cash Pool based on the number of Holders in Class 7, after payment therefrom of any
taxes due with respect to the Class 7 Cash Pool (including, but not limited to, any employer taxes
paid or payable by the Debtor or any affiliate of the Debtor with respect to distributions of the
Class 7 Cash Pool, as determined by the Debtor). The Parent has consented to the funding of the
Class 7 Cash Pool with Cash, the value of which the Parent would otherwise be entitled to receive
as part of its recovery on account of its Class 4 Prepetition Revolving Loan Claims pursuant to
section 1129(b)(2) of the Bankruptcy Code. All taxes paid or payable by the Debtor or any affiliate
of the Debtor with respect to distributions of the Class 7 Cash Pool shall be deducted from the
Class 7 Cash Pool prior to the payment to each DCP Claimant of any distribution from the Class
7 Cash Pool. Any distribution of the Class 7 Cash Pool to each DCP Claimant will be subject to
any withholding or deduction for taxes required by applicable law.

        The Global Settlement is a cornerstone of the Plan and necessary to achieve a beneficial
and efficient resolution of the Chapter 11 Case for all parties-in-interest. This Plan shall be deemed
to constitute a motion seeking approval of the Global Settlement, and the entry of the Confirmation
Order shall constitute the Bankruptcy Court’s approval of such motion and each of the
compromises or settlements that comprise the Global Settlement, and the Bankruptcy Court’s
findings shall constitute its determination that such compromises and settlements are within the
range of reasonableness, in the best interests of the Debtor, its Estate, its creditors, and other
parties-in-interest, and fair and equitable.

B.      Continued Corporate Existence

       After the Effective Date, the Reorganized Debtor shall continue to exist as a legal entity in
accordance with the applicable law in the jurisdiction in which it is incorporated or formed and
pursuant to its certificate or articles of incorporation and by-laws, or other applicable
organizational documents, in effect immediately prior to the Effective Date, except to the extent
such certificate or articles of incorporation and by-laws, or other applicable organizational
documents, are amended, restated or otherwise modified under this Plan.

C.      Vesting of Assets in the Reorganized Debtor Free and Clear of Liens and Claims

        Except as otherwise expressly provided in this Plan, the Confirmation Order, or any
Restructuring Document, pursuant to sections 1123(a)(5), 1123(b)(3), 1141(b) and (c) and other
applicable provisions of the Bankruptcy Code, on and after the Effective Date, all property and
assets of the Estate of the Debtor, including all claims and rights of the Debtor, and any other assets

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or property acquired by the Debtor or the Reorganized Debtor during the Chapter 11 Case or under
or in connection with this Plan (other than any rejected Executory Contracts and/or Unexpired
Leases and the Professional Fee Reserve, but including the Unused Professional Fee Reserve
Amount), shall vest in the Reorganized Debtor free and clear of all Claims, Liens, charges, and
other encumbrances, subject to the Liens that survive the occurrence of the Effective Date as
described in Article III of this Plan. On and after the Effective Date, the Reorganized Debtor may
(i) operate its business, (ii) use, acquire, and dispose of its property and (iii) compromise or settle
any Claims, in each case without notice to, supervision of or approval by the Bankruptcy Court
and free and clear of any restrictions of the Bankruptcy Code or the Bankruptcy Rules, other than
restrictions expressly imposed by this Plan or the Confirmation Order.

D.      Exit Facility Credit Agreement

        On the Effective Date, the Debtor and the Reorganized Debtor, as applicable, shall be
authorized to execute and deliver, and to consummate the transactions contemplated by, the Exit
Facility Credit Agreement and any related loan documents, without further notice to or order of
the Bankruptcy Court, act or action under applicable law, regulation, order, or rule or the vote,
consent, authorization or approval of any Person or Entity (other than as expressly required by the
Exit Facility Credit Agreement or any related loan documents). On the Effective Date, the Exit
Facility Credit Agreement and any related loan documents shall constitute legal, valid, binding
and authorized indebtedness and obligations of the Reorganized Debtor, enforceable in accordance
with their respective terms and such indebtedness and obligations shall not be, and shall not be
deemed to be, enjoined or subject to discharge, impairment, release or avoidance under this Plan,
the Confirmation Order or on account of the Confirmation or Consummation of this Plan.

E.      Existing AIG FP Interests

        The Existing AIG FP Interests shall remain effective and outstanding on the Effective Date
and shall continue to be owned and held by the Parent. In accordance with Article III.B.4 hereof,
the Parent shall be entitled to retain the Existing AIG FP Interests in exchange for, and in full
satisfaction, settlement, discharge and release of, its Allowed Class 4 Prepetition Revolving Loan
Claims only. For the avoidance of doubt, in accordance with Article III.B.8 hereof, the Parent
shall not retain any Existing AIG FP Interests or receive any other distribution on account of its
Allowed Class 8 Existing AIG FP Interests.

F.       Plan Securities and Related Documentation; Exemption from Securities Laws

        To the extent applicable, on and after the Effective Date, the Debtor and the Reorganized
Debtor, as applicable, are authorized to and shall provide, any and all securities to be distributed
or issued under this Plan (collectively, the “Plan Securities”) and any and all other notes, stock,
instruments, certificates, and other documents or agreements required to be distributed, issued,
executed or delivered pursuant to or in connection with this Plan (collectively, the “Plan Securities
and Documents”), without further notice to or order of the Bankruptcy Court, act or action under




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applicable law, regulation, order, or rule or the vote, consent, authorization or approval of any
Person or Entity.

        To the extent applicable, the offer, distribution, and issuance, as applicable, of the Plan
Securities and Documents under this Plan shall be exempt from registration and prospectus
delivery requirements under applicable securities laws (including Section 5 of the Securities Act
or any similar state or local law requiring the registration and/or delivery of a prospectus for offer
or sale of a security or registration or licensing of an issuer of a security) pursuant to section
1145(a) of the Bankruptcy Code, Section 4(a)(2) of the Securities Act and/or other applicable
exemptions. An offering of Plan Securities provided in reliance on the exemption from registration
under the Securities Act pursuant to section 1145(a) of the Bankruptcy Code may be sold without
registration to the extent permitted under section 1145 of the Bankruptcy Code and is deemed to
be a public offering, and such Plan Securities may be resold without registration to the extent
permitted under section 1145 of the Bankruptcy Code. Any Plan Securities and Documents
provided in reliance on the exemption from registration under the Securities Act provided by
Section 4(a)(2) of such act will be provided in a private placement.

        Persons or Entities who purchase securities pursuant to the exemption from registration set
forth in section 4(a)(2) of the Securities Act or Regulation D promulgated thereunder will hold
“restricted securities.” Resales of such restricted securities would not be exempted by section
1145 of the Bankruptcy Code from registration under the Securities Act or other applicable law.
Holders of restricted securities would, however, be permitted to resell Plan Securities without
registration if they are able to comply with the applicable provisions of Rule 144 or Rule 144A or
any other applicable registration exemption under the Securities Act, or if such securities are
registered with the Commission.

G.      Release of Liens and Claims

        To the fullest extent provided under section 1141(c) and other applicable provisions of the
Bankruptcy Code, except as otherwise provided herein (including, without limitation, Article V.E
and Article V.F of this Plan) or in any contract, instrument, release or other agreement or document
entered into or delivered in connection with this Plan, on the Effective Date and concurrently with
the applicable distributions made pursuant to Article VII hereof, all Liens, Claims, mortgages,
deeds of trust, or other security interests against the assets or property of the Debtor or the Estate
shall be fully released, canceled, terminated, extinguished and discharged, in each case without
further notice to or order of the Bankruptcy Court, act or action under applicable law, regulation,
order, or rule or the vote, consent, authorization or approval of any Person or Entity. The filing of
the Confirmation Order with any federal, state, or local agency or department shall constitute good
and sufficient evidence of, but shall not be required to effect, the termination of such Liens, Claims
and other interests to the extent provided in the immediately preceding sentence. Any Person or
Entity holding such Liens, Claims or interests shall, pursuant to section 1142 of the Bankruptcy
Code, promptly execute and deliver to the Reorganized Debtor such instruments of termination,
release, satisfaction and/or assignment (in recordable form) as may be reasonably requested by the
Reorganized Debtor.




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H.      Organizational Documents of the Reorganized Debtor

         The organizational documents of the Debtor shall be amended and restated or replaced (as
applicable) in form and substance satisfactory to the Debtor and as necessary to satisfy the
provisions of this Plan and the Bankruptcy Code. Such organizational documents shall: (i) to the
extent required by section 1123(a)(6) of the Bankruptcy Code, include a provision prohibiting the
issuance of non-voting equity securities; (ii) to the extent necessary or appropriate, include
restrictions on the transfer of the Existing AIG FP Interests; and (iii) to the extent necessary or
appropriate, include such provisions as may be needed to effectuate and consummate this Plan and
the transactions contemplated herein. After the Effective Date, the Reorganized Debtor may,
subject to the terms and conditions of the Restructuring Documents, amend and restate its
organizational documents as permitted by applicable law.

I.      Directors and Officers of the Reorganized Debtor

       Each of the members of the Debtor’s existing board of directors shall continue to serve on
the board of directors of the Reorganized Debtor after the Effective Date, subject to approval of
the Bankruptcy Court pursuant to section 1129(a)(5) of the Bankruptcy Code.

        Pursuant to and to the extent required by section 1129(a)(5) of the Bankruptcy Code, the
Debtor will disclose, at or prior to the Confirmation Hearing, the identity and affiliations of the
existing members of the board of directors proposed to serve on the initial board of directors of
the Reorganized Debtor and any Person proposed to be an officer of the Reorganized Debtor, and,
to the extent such Person is an insider other than by virtue of being a director or an officer, the
nature of any compensation for such Person. Each such director and officer shall serve from and
after the Effective Date pursuant to applicable law and the terms of the Amended/New
Organizational Documents and the other constituent and organizational documents of the
Reorganized Debtor.

J.      Corporate Action

         The Debtor and the Reorganized Debtor may take any and all actions to execute, deliver,
file or record such contracts, instruments, releases and other agreements or documents and take
such actions as may be necessary or appropriate to effectuate and implement the provisions of this
Plan, in each case without further notice to or order of the Bankruptcy Court, act or action under
applicable law, regulation, order, or rule or any requirement of further action, vote or other
approval or authorization by the security holders, officers or directors of the Debtor or the
Reorganized Debtor or by any other Person or Entity (except for those expressly required pursuant
hereto or by the Restructuring Documents).

       Prior to, on or after the Effective Date (as appropriate), all matters provided for pursuant
to this Plan that would otherwise require approval of the stockholders, directors, officers,
managers, members or partners of the Debtor (as of prior to the Effective Date) shall be deemed
to have been so approved and shall be in effect prior to, on or after the Effective Date (as
appropriate) pursuant to applicable law and without any requirement of further action by the
stockholders, directors, officers, managers, members or partners of the Debtor or the Reorganized
Debtor, or the need for any approvals, authorizations, actions or consents of any Person or Entity.


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        As of the Effective Date, all matters provided for in this Plan involving the legal or
corporate structure of the Debtor or the Reorganized Debtor (including, without limitation, the
adoption of the Amended/New Organization Documents and similar constituent and
organizational documents, and the selection of directors and officers for, the Reorganized Debtor),
and any legal or corporate action required by the Debtor or the Reorganized Debtor in connection
with this Plan, shall be deemed to have occurred and shall be in full force and effect in all respects,
in each case without further notice to or order of the Bankruptcy Court, act or action under
applicable law, regulation, order, or rule or any requirement of further action, vote or other
approval or authorization by the stockholders, directors, officers, managers, members or partners
of the Debtor or the Reorganized Debtor or by any other Person or Entity.

        On and after the Effective Date, the appropriate officers of the Debtor and the Reorganized
Debtor are authorized to issue, execute, deliver, and consummate the transactions contemplated
by, the contracts, agreements, documents, guarantees, pledges, consents, securities, certificates,
resolutions and instruments contemplated by or described in this Plan in the name of and on behalf
of the Debtor and the Reorganized Debtor, in each case without further notice to or order of the
Bankruptcy Court, act or action under applicable law, regulation, order, or rule or any requirement
of further action, vote or other approval or authorization by any Person or Entity. Any officer of
the Debtor or Reorganized Debtor shall be authorized to certify or attest to any of the foregoing
actions.

K.      Cancellation of Notes and Instruments

         On the Effective Date, except to the extent otherwise provided herein (including, without
limitation, Article V.E and Article V.F), all notes, indentures, instruments, agreements and other
documents evidencing or relating to any Impaired Claim or any Claim being paid in full in Cash
under this Plan, shall be canceled, and the obligations of the Debtor thereunder or in any way
related thereto shall be fully released, terminated, extinguished and discharged, in each case
without further notice to or order of the Bankruptcy Court, act or action under applicable law,
regulation, order, or rule or any requirement of further action, vote or other approval or
authorization by any Person or Entity and, in the case of any Claim being paid in full in Cash, upon
the indefeasible payment of such Claim in full in Cash as contemplated by this Plan; provided,
that, any credit document or loan agreement that governs the rights of the Holder of a Claim shall
continue in effect for the limited purposes of allowing Holders of Claims to receive distributions
under this Plan, provided, further, however, that (a) the preceding proviso shall not affect the
discharge of Claims pursuant to the Bankruptcy Code, the Confirmation Order, or this Plan, or
result in any expense or liability to the Debtor or Reorganized Debtor, as applicable, except as
expressly provided for in this Plan, and (b) except as otherwise provided in this Plan, the terms
and provisions of this Plan shall not modify any existing credit document or loan agreement that
would in any way be inconsistent with distributions under this Plan. Except to the extent otherwise
provided herein (including, without limitation, Article V.E and Article V.F) and the Restructuring
Documents, upon completion of all such distributions in accordance with this Plan, the loan
agreements, credit documents, indentures, instruments, agreements and other documents
evidencing or relating to Impaired Claims against the Debtor and/or Claims that have been paid in
full in Cash shall terminate completely without further notice or action and be deemed surrendered.



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L.      Sources of Cash for Plan Distributions

        Except as otherwise provided in this Plan or the Confirmation Order, all Cash necessary
for the Debtor or the Reorganized Debtor, as applicable, to make payments required pursuant to
this Plan will be obtained from their respective Cash balances and the Exit Facility. The Debtor
and the Reorganized Debtor, as applicable, may also make such payments using Cash received
from their subsidiaries through their respective consolidated cash management systems and the
incurrence of intercompany transactions, but in all cases subject to the terms and conditions of the
Restructuring Documents.

M.      Continuing Effectiveness of Final Orders

        Payment authorization granted to the Debtor under any prior Final Order entered by the
Bankruptcy Court shall continue in effect after the Effective Date. Accordingly, the Debtor or the
Reorganized Debtor may pay or otherwise satisfy any Claim to the extent permitted by, and subject
to, the applicable Final Order without regard to the treatment that would otherwise be applicable
to such Claim under this Plan.

N.      Funding and Use of Professional Fee Reserve

        Each Professional shall provide the Debtor with a reasonable and good-faith estimate of its
fees, costs, and expenses expected to be incurred between the Confirmation Date and the Effective
Date, and shall deliver such estimate to the Debtor no later than five (5) days before the anticipated
Effective Date; provided that such estimate shall not limit the amount of Allowed Professional Fee
Claims payable or to be paid by the Debtor or the Reorganized Debtor. As soon as reasonably
practicable prior to the Effective Date, and no later than the Effective Date, the Debtor shall fund
the Professional Fee Reserve with Cash in the aggregate amount of (i) the aggregate unpaid
Professional Fee Claims incurred prior to and as of the Confirmation Date, plus (ii) the
Professionals’ good-faith estimate of their fees, costs, and expenses expected to be incurred
between the Confirmation Date and the Effective Date; provided that the foregoing shall not limit
the amount of Allowed Professional Fee Claims payable or to be paid by the Debtor or the
Reorganized Debtor.

        The Cash contained in the Professional Fee Reserve shall be used solely to pay the Allowed
Professional Fee Claims, with the Unused Professional Fee Reserve Amount (if any) being
returned to the Reorganized Debtor. The Debtor and the Reorganized Debtor, as applicable, shall
maintain detailed records of all payments made from the Professional Fee Reserve, such that all
payments and transactions shall be adequately and promptly documented in, and readily
ascertainable from, their respective books and records. After the Effective Date, neither the Debtor
nor the Reorganized Debtor shall include any other funds or property within the Professional Fee
Reserve without further order of the Bankruptcy Court. To the extent the Professional Fee Reserve
is insufficient to pay in full in Cash the obligations and liabilities for which such reserve was
established, then the Reorganized Debtor shall, within five (5) Business Days, pay such obligations
and liabilities from Cash on hand or by drawing under the Exit Facility Credit Agreement.

        The Professional Fee Reserve shall be maintained in trust for the Professionals and shall
not be considered property of the Debtor’s Estate; provided that the Reorganized Debtor shall have


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a reversionary interest in the Unused Professional Fee Reserve Amount. To the extent that funds
held in the Professional Fee Reserve do not or are unable to satisfy the full amount of the Allowed
Professional Fee Claims, such Professionals shall have an Allowed Administrative Claim for any
such deficiency, which shall be satisfied in full in Cash in accordance with Article II.A of this
Plan.

                                            ARTICLE VI.

       TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A.       Assumption of Executory Contracts and Unexpired Leases

       On the Effective Date, the Reorganized Debtor shall assume all Executory Contracts and
Unexpired Leases of the Debtor in accordance with, and subject to, the provisions and
requirements of sections 365 and 1123 of the Bankruptcy Code, except for those Executory
Contracts and Unexpired Leases that:

         (i)     have been assumed or rejected by the Debtor by prior order of the Bankruptcy
Court;

         (ii)    previously expired or terminated pursuant to its own terms;

        (iii)  are the subject of a motion to reject filed by the Debtor that is pending on the
Effective Date;

        (iv)    are identified in the Plan Supplement, which Plan Supplement may be amended by
the Debtor to add or remove Executory Contracts and Unexpired Leases by filing with the
Bankruptcy Court an amended Plan Schedule and serving it on the affected non-Debtor contract
parties at least seven (7) days prior to the Plan Objection Deadline or as soon as reasonably
practicable thereafter, provided that any such non-Debtor counterparty shall have seven (7) days
to object to the inclusion of their Executory Contract and/or Unexpired Lease on such schedule;
or

         (v)     are rejected by the Debtor or terminated pursuant to the terms of this Plan.

       Without amending or altering any prior order of the Bankruptcy Court approving the
assumption or rejection of any Executory Contract or Unexpired Lease, entry of the Confirmation
Order by the Bankruptcy Court shall constitute approval of such assumptions pursuant to sections
365(a) and 1123 of the Bankruptcy Code.

       To the maximum extent permitted by law, to the extent any provision in any Executory
Contract or Unexpired Lease assumed or assumed and assigned (as applicable) pursuant to this
Plan or any prior order of the Bankruptcy Court (including, without limitation, any “change in
control” provision, “change of control” provision, or provision with words of similar import)
prohibits, restricts or conditions, or purports to prohibit, restrict or condition, or is modified,
breached or terminated, or deemed modified, breached or terminated by, (i) the commencement of
this Chapter 11 Case or the insolvency or financial condition of the Debtor at any time before the
closing of its Chapter 11 Case, (ii) the Debtor’s or the Reorganized Debtor’s assumption or

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assumption and assignment (as applicable) of such Executory Contract or Unexpired Lease or (iii)
the Confirmation or Consummation of this Plan, then such provision shall be deemed modified
such that the transactions contemplated by this Plan shall not entitle the non-Debtor party thereto
to modify or terminate such Executory Contract or Unexpired Lease or to exercise any other
default-related rights or remedies with respect thereto, and any required consent under any such
contract or lease shall be deemed satisfied by the Confirmation of this Plan.

       Each Executory Contract and Unexpired Lease assumed and/or assigned pursuant to this
Plan shall revest in and be fully enforceable by the Reorganized Debtor or the applicable assignee
in accordance with its terms and conditions, except as modified by the provisions of this Plan, any
order of the Bankruptcy Court approving its assumption and/or assignment, or applicable law.

        Neither the assumption of any Executory Contract or Unexpired Lease pursuant to this Plan
nor the inclusion or exclusion of any contract or lease on any schedule or exhibit nor anything
contained in this Plan or Plan Supplement, shall constitute an admission by the Debtor that any
such contract or lease is in fact an Executory Contract or Unexpired Lease or that the Debtor or
the Reorganized Debtor has any liability thereunder. If there is a dispute regarding whether a
contract or lease is or was executory or unexpired at the time of assumption, the Debtor or the
Reorganized Debtor, as applicable, shall have thirty (30) calendar days following entry of a Final
Order resolving such dispute to alter its treatment of such contract or lease, including by rejecting
such contract or lease nunc pro tunc to the Confirmation Date. The deemed assumption provided
for herein shall not apply to any such contract or lease, and any such contract or lease shall be
assumed or rejected only upon motion of the Debtor following the Bankruptcy Court’s
determination that the contract is executory or the lease is unexpired.

B.      Cure of Defaults; Assignment of Executory Contracts and Unexpired Leases

        Any defaults under each Executory Contract and Unexpired Lease to be assumed, or
assumed and assigned, pursuant to this Plan shall be satisfied, pursuant to and to the extent required
by section 365(b)(1) of the Bankruptcy Code, by payment of the applicable default amount in Cash
on or in connection with the Effective Date or on such other terms as the Bankruptcy Court may
order or the parties to such Executory Contracts or Unexpired Leases may otherwise agree in
writing (the “Cure Claim Amount”).

         In the event of an assumption, or an assumption and assignment, of an Executory Contract
or Unexpired Lease under this Plan, at least fourteen (14) days prior to the Plan Objection
Deadline, the Debtor shall File and serve upon counterparties to such Executory Contracts and
Unexpired Leases, a notice of the proposed assumption, or proposed assumption and assignment,
which will: (a) list the applicable Cure Claim Amount, if any; (b) if applicable, identify the party
to which the Executory Contract or Unexpired Lease will be assigned; (c) describe the procedures
for filing objections thereto; and (d) explain the process by which related disputes will be resolved
by the Bankruptcy Court.

       Any objection by a counterparty to an Executory Contract or Unexpired Lease to a
proposed assumption, or proposed assumption and assignment under this Plan, or any related cure
amount, must be Filed, served and actually received by the Debtor prior to the Plan Objection
Deadline (notwithstanding anything in the Schedules or a proof of Claim to the contrary). Any


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counterparty to an Executory Contract or Unexpired Lease that fails to object timely to the
proposed assumption, or proposed assumption and assignment, or cure amount will be deemed to
have consented to such matters and will be deemed to have forever released and waived any
objection to such proposed assumption, proposed assumption and assignment, and cure amount.
The Confirmation Order shall constitute an order of the Bankruptcy Court approving each
proposed assumption, or proposed assumption and assignment, of Executory Contracts and
Unexpired Leases pursuant to sections 365 and 1123 of the Bankruptcy Code as of the Effective
Date.

        In the event of a dispute regarding (a) the amount of any cure payment, (b) the ability of
the Debtor or assignee to provide “adequate assurance of future performance” (within the meaning
of section 365 of the Bankruptcy Code) under the Executory Contract or Unexpired Lease to be
assumed, or assumed and assigned, or (c) any other matter pertaining to assumption or assignment,
the applicable cure payments required by section 365(b)(1) of the Bankruptcy Code shall be made
following the entry of a Final Order resolving the dispute and approving such assumption, or
assumption and assignment. If such objection is sustained by Final Order of the Bankruptcy Court,
the Debtor or the Reorganized Debtor, as applicable, may elect to reject such Executory Contract
or Unexpired Lease in lieu of assuming or assigning it. The Debtor or the Reorganized Debtor, as
applicable, shall be authorized to effect such rejection by filing a written notice of rejection with
the Bankruptcy Court and serving such notice on the applicable counterparty within ten (10) days
of the entry of such Final Order.

        Subject to any cure claims Filed with respect thereto, assumption or assumption and
assignment of any Executory Contract or Unexpired Lease pursuant to this Plan shall result in the
full release and satisfaction of any Claims or defaults, whether monetary or nonmonetary,
including defaults of provisions restricting the change in control or ownership interest composition
or other bankruptcy-related defaults, arising under any assumed Executory Contract or Unexpired
Lease at any time prior to the effective date of assumption or assumption and assignment, in each
case as provided in section 365 of the Bankruptcy Code. Any proofs of Claim filed with respect
to an Executory Contract or Unexpired Lease that has been assumed or assumed and assigned by
Final Order shall be deemed disallowed and expunged (subject to any cure claims Filed with
respect thereto), without further notice to or action, order, or approval of the Bankruptcy Court.

         With respect to any Executory Contract or Unexpired Lease assumed and assigned
pursuant to this Plan, upon and as of the Effective Date, the applicable assignee shall be deemed
to be substituted as a party thereto for the Debtor party to such assigned Executory Contract or
Unexpired Lease and, accordingly, the Debtor and the Reorganized Debtor shall be relieved,
pursuant to and to the extent set forth in section 365(k) of the Bankruptcy Code, from any further
liability under such assigned Executory Contract or Unexpired Lease.

C.      Rejection of Executory Contracts and Unexpired Leases

        The Debtor reserves the right, at any time prior to the Effective Date, except as otherwise
specifically provided herein, to seek to reject any Executory Contract or Unexpired Lease and to
file a motion requesting authorization for the rejection of any such contract or lease. All Executory
Contracts and Unexpired Leases listed on Plan Schedule A shall be deemed rejected as of the
Effective Date. The Confirmation Order shall constitute an order of the Bankruptcy Court

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approving the rejections described in this Article VI pursuant to sections 365 and 1123 of the
Bankruptcy Code as of the Effective Date. Rejection of any Executory Contract or Unexpired
Lease pursuant to this Plan or otherwise shall not constitute a termination of any preexisting
obligations owed to the Debtor or the Reorganized Debtor, as applicable, under such Executory
Contracts or Unexpired Leases.

D.      Claims on Account of the Rejection of Executory Contracts or Unexpired Leases

        All proofs of Claim with respect to Claims arising from the rejection of Executory
Contracts or Unexpired Leases, pursuant to this Plan or the Confirmation Order, if any, must be
filed with the Bankruptcy Court within thirty (30) days after service of an order of the Bankruptcy
Court (including the Confirmation Order) approving such rejection.

        Any Person or Entity that is required to file a proof of Claim arising from the rejection of
an Executory Contract or an Unexpired Lease that fails to timely do so shall be forever barred,
estopped and enjoined from asserting such Claim, and such Claim shall not be enforceable, against
the Debtor, the Reorganized Debtor or the Estate, and the Debtor, the Reorganized Debtor and
their Estate and their respective assets and property shall be forever discharged from any and all
indebtedness and liability with respect to such Claim unless otherwise ordered by the Bankruptcy
Court or as otherwise provided herein. All such Claims shall, as of the Effective Date, be subject
to the permanent injunction set forth in Article X.G hereof.

E.      D&O Liability Insurance Policies

        On the Effective Date, each D&O Liability Insurance Policy (including any “tail policy”)
shall be deemed and treated as an Executory Contract that is and shall be assumed by the Debtor
(and assigned to the Reorganized Debtor, if necessary) pursuant to section 365(a) and section 1123
of the Bankruptcy Code as to which no proof of Claim, request for administrative expense, or cure
claim need be Filed, and all Claims arising from the D&O Liability Insurance Policies shall survive
the Effective Date and be Unimpaired. Unless previously effectuated by separate order entered by
the Bankruptcy Court, entry of the Confirmation Order shall constitute the Bankruptcy Court’s
approval of the Debtor’s assumption of each of the D&O Liability Insurance Policies (including
any “tail policies”). After the Effective Date, neither the Debtor nor the Reorganized Debtor shall
terminate or otherwise reduce the coverage under any such policies (including any “tail policies”)
with respect to conduct occurring prior to and including the Effective Date, and all officers and
directors of the Debtor who served in such capacity at any time before or on the Effective Date
shall be entitled to the full benefits of any such policies regardless of whether such officers or
directors remain in such positions after the Effective Date. Confirmation and Consummation of
this Plan shall not impair or otherwise modify any available defenses of the Reorganized Debtor
under the D&O Liability Insurance Policies. For the avoidance of doubt, the D&O Liability
Insurance Policies shall continue to apply with respect to actions, or failures to act, that occurred
on or prior to the Effective Date, subject to the terms and conditions of the D&O Liability
Insurance Policies. The Debtor is further authorized to take such actions, and to execute and
deliver such documents, as may be reasonably necessary or appropriate to implement, maintain,
cause the binding of, satisfy any terms or conditions of, or otherwise secure for the insureds the
benefits of the D&O Liability Insurance Policies (including any “tail policies”), without further
notice to or order of the Bankruptcy Court or approval or consent of any Person or Entity.

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F.      Indemnification Provisions

        On the Effective Date, all Indemnification Provisions shall be deemed and treated as
Executory Contracts that are and shall be assumed by the Debtor (and assigned to the Reorganized
Debtor, if necessary) pursuant to section 365(a) and section 1123 of the Bankruptcy Code as to
which no proof of Claim, request for administrative expense, or cure claim need be Filed, and all
Claims arising from the Indemnification Provisions shall survive the Effective Date and be
Unimpaired. Unless previously effectuated by separate order entered by the Bankruptcy Court,
entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval of the Debtor’s
assumption of such Indemnification Provisions. Confirmation and Consummation of this Plan
shall not impair or otherwise modify any available defenses of the Reorganized Debtor or other
applicable parties under the Indemnification Provisions. For the avoidance of doubt, the
Indemnification Provisions shall continue to apply with respect to actions, or failures to act, that
occurred on or prior to the Effective Date, subject to the terms and conditions of the
Indemnification Provisions.

G.      Extension of Time to Assume or Reject

        Notwithstanding anything to the contrary set forth in Article VI of this Plan, in the event
of a dispute as to whether a contract is executory or a lease is unexpired, the right of the
Reorganized Debtor to move to assume or reject such contract or lease shall be extended until the
date that is ten (10) days after entry of a Final Order by the Bankruptcy Court determining that the
contract is executory or the lease is unexpired. The deemed assumption provided for in Article
VI.A of this Plan shall not apply to any such contract or lease, and any such contract or lease shall
be assumed or rejected only upon motion of the Reorganized Debtor following the Bankruptcy
Court’s determination that the contract is executory or the lease is unexpired.

H.      Modifications, Amendments, Supplements, Restatements, or Other Agreements

        Unless otherwise provided in this Plan, each Executory Contract or Unexpired Lease that
is assumed by the Debtor or the Reorganized Debtor shall include all modifications, amendments,
supplements, restatements, or other agreements that in any manner affect such Executory Contract
or Unexpired Lease, and all rights related thereto, if any, including all easements, licenses, permits,
rights, privileges, immunities, options, rights of first refusal, and any other interests, unless any of
the foregoing has been previously rejected or repudiated or is rejected or repudiated hereunder.
Modifications, amendments, supplements, and restatements to prepetition Executory Contracts
and Unexpired Leases that have been executed by the Debtor during the Chapter 11 Case shall not
be deemed to alter the prepetition nature of the Executory Contract or Unexpired Lease, or the
validity, priority, or amount of any Claims that may arise in connection therewith.




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                                           ARTICLE VII.

                       PROVISIONS GOVERNING DISTRIBUTIONS

A.      Distributions for Claims Allowed as of the Effective Date

        Except as otherwise provided in the “Treatment” sections in Article III hereof or as ordered
by the Bankruptcy Court, distributions to be made on account of Claims that are Allowed Claims
as of the Effective Date shall be made on the Effective Date or as soon as reasonably practicable
thereafter. Any payment or distribution required to be made under this Plan on a day other than a
Business Day shall be made on the next succeeding Business Day. Distributions on account of
Disputed Claims that first become Allowed Claims after the Effective Date shall be made pursuant
to Article VIII hereof.

B.      No Postpetition Interest on Claims

        Unless otherwise specifically provided for in this Plan, the Confirmation Order, or Final
Order of the Bankruptcy Court, or required by applicable bankruptcy law (including, without
limitation, as required pursuant to section 506(b) or section 511 of the Bankruptcy Code),
postpetition interest shall not accrue or be paid on any Claims and no Holder of a Claim shall be
entitled to interest accruing on or after the Petition Date on any Claim.

C.      Distributions by the Reorganized Debtor or Other Applicable Distribution Agent

        The Reorganized Debtor or other applicable Distribution Agent shall make all distributions
required to be distributed under this Plan. The Reorganized Debtor may employ or contract with
other entities to assist in or make the distributions required by this Plan and may pay the reasonable
fees and expenses of such entities and the Distribution Agents in the ordinary course of business.
No Distribution Agent shall be required to give any bond or surety or other security for the
performance of its duties unless otherwise ordered by the Bankruptcy Court.

D.      Delivery and Distributions; Undeliverable or Unclaimed Distributions

        1. Record Date for Distributions

        On the Distribution Record Date, the Claims Register shall be closed. Accordingly, the
Debtor, the Reorganized Debtor or other applicable Distribution Agent will have no obligation to
recognize the assignment, transfer or other disposition of, or the sale of any participation in, any
Allowed Claim that occurs after the close of business on the Distribution Record Date, and will be
entitled for all purposes herein to recognize and distribute securities, property, notices and other
documents only to those Holders of Allowed Claims who are Holders of such Claims, or
participants therein, as of the close of business on the Distribution Record Date. The Reorganized
Debtor or other applicable Distribution Agent shall be entitled to recognize and transact with, for
all purposes under this Plan, only those record holders stated on the Claims Register, or their books
and records, as of the close of business on the Distribution Record Date.




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        2. Delivery of Distributions in General

        Except as otherwise provided herein, the Debtor, the Reorganized Debtor or other
applicable Distribution Agent, as applicable, shall make distributions to Holders of Allowed
Claims, or in care of their authorized agents, as appropriate, at the address for each such Holder or
agent as indicated on the Debtor’s or other applicable Distribution Agent’s books and records as
of the date of any such distribution; provided, however, that the manner of such distributions shall
be determined in the discretion of the applicable Distribution Agent; provided further, that the
address for each Holder of an Allowed Claim shall be deemed to be the address set forth in the
latest proof of Claim, if any, Filed by such Holder pursuant to Bankruptcy Rule 3001 as of the
Distribution Record Date.

        3. Minimum Distributions

        Notwithstanding anything herein to the contrary, no Distribution Agent shall be required
to make distributions or payments of less than $10.00 (whether in Cash or otherwise) or to make
partial distributions or payments of fractions of dollars, in each case with respect to Impaired
Claims. With respect to Impaired Claims, whenever any payment or distribution of a fraction of
a dollar under this Plan would otherwise be called for, the actual payment or distribution will
reflect a rounding of such fraction to the nearest whole dollar (up or down), with half dollars or
more being rounded up to the next higher whole number and with less than half dollars being
rounded down to the next lower whole number.

        4. Undeliverable Distributions

                (a)    Holding of Certain Undeliverable Distributions

        If the distribution to any Holder of an Allowed Claim is returned to the Distribution Agent
as undeliverable or is otherwise unclaimed, no further distributions shall be made to such Holder
unless and until the Distribution Agent is notified in writing of such Holder’s then current address,
at which time (or as soon as reasonably practicable thereafter) all currently due but outstanding
distributions shall be made to such Holder. Undeliverable distributions shall remain in the
possession of the Reorganized Debtor or in the applicable reserve, subject to Article VII.D.4(b)
hereof, until such time as any such distributions become deliverable. Undeliverable distributions
shall not be entitled to any additional interest, dividends or other accruals of any kind on account
of their distribution being undeliverable.

                (b)    Failure to Claim Undeliverable Distributions

        Any Holder of an Allowed Claim (or any successor or assignee or other Person or Entity
claiming by, through, or on behalf of, such Holder) that does not assert a right pursuant to this Plan
for an undeliverable or unclaimed distribution within ninety (90) days after the later of the
Effective Date or the date such distribution is due shall be deemed to have forfeited its rights for
such undeliverable or unclaimed distribution and shall be forever barred and enjoined from
asserting any such rights for an undeliverable or unclaimed distribution against the Debtor or its
Estate, the Reorganized Debtor or its assets or property, or any Distribution Agent. In such case,
any Cash, Plan Securities and Documents, and/or other property, as applicable, held for
distribution on account of such Claim shall become the property of the Reorganized Debtor, free

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and clear of any Claims or other rights of such Holder with respect thereto and notwithstanding
any federal or state escheat laws to the contrary. Any such Cash, Plan Securities and Documents,
or other property shall thereafter be distributed or allocated in accordance with the applicable terms
and conditions of this Plan. Nothing contained in this Plan shall require the Debtor, the
Reorganized Debtor, or any Distribution Agent to attempt to locate any Holder of an Allowed
Claim.

                (c)    Failure to Present Checks

        Checks issued by the Distribution Agent on account of Allowed Claims shall be null and
void if not negotiated within 180 days after the issuance of such check. In an effort to ensure that
all Holders of Allowed Claims receive their allocated distributions, no later than 120 days after the
issuance of such checks, the Reorganized Debtor shall File with the Bankruptcy Court a list of the
Holders of any un-negotiated checks. This list shall be maintained and updated periodically in the
sole discretion of the Reorganized Debtor for as long as the Chapter 11 Case stays open. Requests
for reissuance of any check shall be made directly to the Distribution Agent by the Holder of the
relevant Allowed Claim with respect to which such check originally was issued. Any Holder of
an Allowed Claim holding an un-negotiated check that does not request reissuance of such un-
negotiated check within 90 days after the date of mailing or other delivery of such check shall have
its Claim for such un-negotiated check discharged and be forever barred, estopped and enjoined
from asserting any such Claim against the Debtor or its Estate, the Reorganized Debtor or its assets
or property. In such case, any Cash held for payment on account of such Claims shall be distributed
to the applicable Distribution Agent for distribution or allocation in accordance with this Plan, free
and clear of any Claims of such Holder with respect thereto and notwithstanding any federal or
state escheat laws to the contrary.

E.      Compliance with Tax Requirements

        In connection with this Plan and all distributions hereunder, the Reorganized Debtor or
other applicable Distribution Agent shall comply with all requirements for the payment of taxes
and with all withholding and reporting requirements, in each case imposed by any federal, state,
local, or foreign taxing authority, and all distributions hereunder shall be subject to any such
requirement to pay taxes or comply with withholding and reporting requirements, including
without limitation, with respect to both employee and employer portions of employment tax.
Notwithstanding any provision in the Plan to the contrary, the Reorganized Debtor or other
applicable Distribution Agent shall be authorized to take any and all actions that may be necessary
or appropriate to pay all taxes with respect to the Class 7 Cash Pool and comply with such
withholding and reporting requirements, including paying applicable employment taxes and
effecting withholding of any applicable taxes, withholding distributions pending receipt of
information necessary to facilitate such distributions or establishing any other mechanisms they
believe are reasonable and appropriate. All Persons or Entities holding Claims shall be required
to provide any information necessary to determine any taxes that are required to be paid with
respect to such distributions and effect information reporting and the withholding of such taxes (or
establish eligibility for an exemption from the withholding of taxes). In particular, as a condition
of making any distribution to any Holder of a Class 7 Claim under the Plan, such Holder is required
to provide a duly completed and executed copy of IRS Form W-4 and IRS Form W-9 and other
applicable documentation. Each Holder of an Allowed Claim shall have the sole and exclusive

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responsibility for the satisfaction and payment of any tax obligations imposed by any
Governmental Unit, including income, withholding, and other tax obligations, on account of such
distribution. Any amounts withheld or reallocated pursuant to this Article VII.E shall be treated
as if distributed to the Holder of the Allowed Claim or, as applicable, paid by the Reorganized
Debtor or other applicable Distribution Agent in connection with applicable distributions as
required by applicable law. For the avoidance of doubt, any and all taxes required to be paid,
deducted or withheld in connection with the payment of Class 7 Claims (including, but not limited
to, the employer portion of applicable employment taxes) shall be exclusively paid from the Class
7 Cash Pool pursuant to the Plan prior to any deduction or withholding, without any additional
amounts whatsoever to be paid by the Debtor with respect to such Class 7 Claims.

F.      Allocation of Plan Distributions Between Principal and Interest

       To the extent that any Allowed Claim entitled to a distribution under this Plan is comprised
of indebtedness and accrued but unpaid interest thereon, such distribution shall, to the extent
permitted by applicable law, be allocated for U.S. federal income tax purposes to the principal
amount of the Claim first and then, to the extent that the consideration exceeds the principal
amount of the Claim, to the portion of such Claim representing accrued but unpaid interest.

G.      Means of Cash Payment

        Payments of Cash made pursuant to this Plan shall be in U.S. dollars and shall be made, at
the option of the Debtor or the Reorganized Debtor (as applicable), by checks drawn on, or wire
transfer from, a domestic bank selected by the Debtor or the Reorganized Debtor. Cash payments
to foreign creditors may be made, at the option of the Debtor or the Reorganized Debtor, in such
funds and by such means as are necessary or customary in a particular foreign jurisdiction.

H.      Timing and Calculation of Amounts to Be Distributed

        Except as otherwise provided in the “Treatment” sections in Article III hereof or as ordered
by the Bankruptcy Court, on the Effective Date, or as soon as reasonably practicable thereafter,
each Holder of an Allowed Claim shall receive the full amount of the distributions that this Plan
provides for Allowed Claims in the applicable Class. If and to the extent that there are Disputed
Claims, distributions on account of any such Disputed Claims shall be made pursuant to the
provisions set forth in the applicable class treatment or in Article VIII hereof. Except as otherwise
provided herein, Holders of Claims shall not be entitled to interest, dividends or accruals on the
distributions provided for herein, regardless of whether such distributions are delivered on or at
any time after the Effective Date.

I.      Setoffs

       Without altering or limiting any of the rights and remedies of the Debtor and the
Reorganized Debtor under section 502(d) of the Bankruptcy Code, all of which rights and remedies
are hereby reserved, the Debtor and the Reorganized Debtor may, but shall not be required to,
withhold (but not setoff except as set forth below) from the distributions called for hereunder on
account of any Allowed Claim an amount equal to any claims, Causes of Action and Litigation
Claims of any nature that the Debtor or the Reorganized Debtor may hold against the Holder of
any such Allowed Claim; provided that, at least ten (10) days prior to effectuating such

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withholding, the Debtor or the Reorganized Debtor, as applicable, shall provide written notice
thereof to the applicable Holder of such Claim, and all objections and defenses of such Holder to
such withholding are preserved. In the event that any such claims, Causes of Action or Litigation
Claims are adjudicated by Final Order or otherwise resolved against the applicable Holder, the
Debtor and the Reorganized Debtor may, pursuant to section 553 of the Bankruptcy Code or
applicable non-bankruptcy law, set off against any Allowed Claim and the distributions to be made
pursuant hereto on account of such Allowed Claim (before any distribution is made on account of
such Allowed Claim), the amount of such adjudicated or resolved claims, Causes of Action or
Litigation Claims. Neither the failure to effect such a setoff nor the allowance of any Claim
hereunder shall constitute a waiver or release by the Debtor or the Reorganized Debtor of any such
claims, Causes of Action or Litigation Claims, all of which are reserved unless expressly released
or compromised pursuant to this Plan or the Confirmation Order.

                                          ARTICLE VIII.

                    PROCEDURES FOR RESOLVING CONTINGENT,
                      UNLIQUIDATED AND DISPUTED CLAIMS

A.      Resolution of Disputed Claims

        1. Allowance of Claims

        After the Effective Date, and except as otherwise provided in this Plan, the Reorganized
Debtor shall have and shall retain any and all available rights and defenses that the Debtor had
with respect to any Claim, including, without limitation, the right to assert any objection to Claims
based on the limitations imposed by sections 502 or 510 of the Bankruptcy Code. The Debtor and
the Reorganized Debtor may contest the amount and validity of any Disputed Claim or contingent
or unliquidated Claim in the ordinary course of business in the manner and venue in which such
Claim would have been determined, resolved or adjudicated if the Chapter 11 Case had not been
commenced.

        2. Prosecution of Objections to Claims

        After the Confirmation Date but before the Effective Date, the Debtor, and after the
Effective Date, the Reorganized Debtor, shall have the authority to File objections to Claims (other
than Claims that are Allowed under this Plan) and settle, compromise, withdraw or litigate to
judgment objections to any and all such Claims, regardless of whether such Claims are in an
Unimpaired Class or otherwise; provided, however, this provision shall not apply to Professional
Fee Claims, which may be objected to by any party-in-interest in this Chapter 11 Case. From and
after the Effective Date, the Reorganized Debtor may settle or compromise any Disputed Claim
without any further notice to or action, order or approval of the Bankruptcy Court. The
Reorganized Debtor shall have the sole authority to administer and adjust the Claims Register and
its books and records to reflect any such settlements or compromises without any further notice to
or action, order or approval of the Bankruptcy Court.




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        3. Claims Estimation

        After the Confirmation Date but before the Effective Date, the Debtor, and after the
Effective Date, the Reorganized Debtor, may at any time request that the Bankruptcy Court
estimate any Disputed Claim or contingent or unliquidated Claim pursuant to applicable law,
including, without limitation, section 502(c) of the Bankruptcy Code, and the Bankruptcy Court
shall retain jurisdiction under 28 U.S.C. §§ 157 and 1334 to estimate any such Claim, whether for
allowance or to determine the maximum amount of such Claim, including during the litigation
concerning any objection to any Claim or during the pendency of any appeal relating to any such
objection. All of the aforementioned Claims objection, estimation and resolution procedures are
cumulative and not exclusive of one another. Claims may be estimated and subsequently
compromised, settled, withdrawn or resolved by any mechanism approved by the Bankruptcy
Court. The rights and objections of all parties are reserved in connection with any such estimation.
Notwithstanding any provision otherwise in this Plan, a Claim that has been expunged from the
Claims Register, but that either is subject to appeal or has not been the subject of a Final Order,
shall be deemed to be estimated at zero dollars, unless otherwise ordered by the Bankruptcy Court.
In the event that the Bankruptcy Court estimates any contingent or unliquidated Claim, that
estimated amount shall constitute a maximum limitation on such Claim for all purposes under this
Plan (including for purposes of distributions), and the Reorganized Debtor may elect to pursue any
supplemental proceedings to object to any ultimate distribution on such Claim.

        4. No Filings of Proofs of Claim

         Except as otherwise provided in this Plan, including with respect to the Professional Fees
Bar Date and Claims arising from the rejection of Executory Contracts or Unexpired Leases,
Holders of Claims shall not be required to File a proof of Claim, and no such parties should File a
proof of Claim. The Debtor does not intend to object in the Bankruptcy Court to the allowance of
Claims Filed; provided, however, that the Debtor and the Reorganized Debtor, as applicable,
reserve the right to object to any Claim that is entitled, or deemed to be entitled, to a distribution
under this Plan or is rendered Unimpaired under this Plan. Instead, the Debtor intends to make
distributions, as required by this Plan, in accordance with the Debtor’s books and records and the
Schedules. Unless disputed by a Holder of a Claim, the amount set forth in the Debtor’s books
and records or the Schedules shall constitute the amount of the Allowed Claim of such Holder. If
any such Holder of a Claim disagrees with the Debtor’s books and records or the Schedules with
respect to the Allowed amount of such Holder’s Claim, such Holder must so advise the Debtor in
writing, in which event the Claim shall become a Disputed Claim. The Debtor and the Reorganized
Debtor, as applicable, intend to attempt to resolve any such disputes consensually or through
judicial means outside the Bankruptcy Court. Nevertheless, the Debtor and the Reorganized
Debtor, as applicable, may, in their discretion, File with the Bankruptcy Court (or any other court
of competent jurisdiction) an objection to the allowance of any Claim or other appropriate motion
or adversary proceeding with respect thereto. All such objections shall be litigated to Final Order;
provided, however, that the Debtor and the Reorganized Debtor, as applicable, may compromise,
settle, withdraw, or resolve by any other method approved by the Bankruptcy Court any objections
to Claims.




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B.      No Distributions Pending Allowance

        Notwithstanding any other provision of this Plan to the contrary, no payments or
distributions of any kind or nature shall be made with respect to all or any portion of a Disputed
Claim unless and until all objections to such Disputed Claim have been settled or withdrawn or
have been determined by Final Order, and the Disputed Claim has become an Allowed Claim
pursuant to a Final Order.

C.      Distributions on Account of Disputed Claims Once They Are Allowed

        The Reorganized Debtor or other applicable Distribution Agent shall make distributions
on account of any Disputed Claim that has become Allowed after the Effective Date at such time
that such Claim becomes Allowed (or as soon as reasonably practicable thereafter). Such
distributions shall be made pursuant to the applicable provisions of Article VII of this Plan.

D.      Reserve for Disputed Claims

        The Debtor, the Reorganized Debtor, and the Distribution Agent may, in their respective
sole discretion, establish such appropriate reserves for Disputed Claims in the applicable Class(es)
as they determine necessary and appropriate. Without limiting the foregoing, reserves (if any) for
Disputed Claims shall equal, as applicable, an amount of Cash equal to 100% of distributions to
which Holders of Disputed Claims in each applicable Class would otherwise be entitled under this
Plan as of such date if such Disputed Claims were Allowed, based on the Debtor’s books and
records; provided, however, that the Debtor and the Reorganized Debtor, as applicable, shall have
the right to file a motion seeking to estimate any Disputed Claims.

                                          ARTICLE IX.

                    CONDITIONS PRECEDENT TO CONFIRMATION
                       AND CONSUMMATION OF THE PLAN

A.      Conditions Precedent to Confirmation

       It shall be a condition to Confirmation of this Plan that the following conditions shall have
been satisfied or waived pursuant to the provisions of Article IX.C hereof:

        1. This Plan and the Restructuring Documents shall be in form and substance acceptable
to the Debtor and the Parent; and

       2. The Confirmation Order, which shall be in form and substance acceptable to the Debtor
and the Parent, shall have been entered by the Bankruptcy Court.

B.      Conditions Precedent to Consummation

       It shall be a condition to Consummation of this Plan that the following conditions shall
have been satisfied or waived pursuant to the provisions of Article IX.C hereof:




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       1. The Confirmation Order shall have become a Final Order and such order shall not have
been amended, modified, vacated, stayed, or reversed;

        2. The Bankruptcy Court shall have entered one or more Final Orders (which may include
the Confirmation Order) authorizing the assumption, assumption and assignment, and/or rejection
of the Executory Contracts and Unexpired Leases by the Debtor as contemplated in this Plan and
the Plan Supplement;

        3. This Plan and the Restructuring Documents shall not have been amended or modified
other than in a manner in form and substance acceptable to the Debtor and the Parent;

        4. The Restructuring Documents shall have been filed, tendered for delivery, and been
effectuated or executed by all Persons or Entities party thereto (as appropriate), and in each case
in full force and effect. All conditions precedent to the effectiveness of such Restructuring
Documents shall have been satisfied or waived pursuant to the terms of such applicable
Restructuring Documents (or shall be satisfied concurrently with the occurrence of the Effective
Date);

        5. All consents, actions, documents, certificates and agreements necessary to implement
this Plan and the transactions contemplated by this Plan shall have been, as applicable, obtained
and not otherwise subject to unfulfilled conditions, effected or executed and delivered to the
required parties and, to the extent required, filed with the applicable governmental units in
accordance with applicable laws, and in each case in full force and effect;

        6. All governmental approvals and consents, including Bankruptcy Court approval, that
are applicable and legally required for the consummation of this Plan shall have been obtained,
not be subject to unfulfilled conditions and be in full force and effect; and

       7. The Professional Fee Reserve shall have been funded in full in Cash by the Debtor in
accordance with the terms and conditions of this Plan.

C.      Waiver of Conditions

        Subject to section 1127 of the Bankruptcy Code, the conditions to Confirmation and
Consummation of this Plan set forth in this Article IX may be waived by the Debtor, with the
consent of the Parent, without notice, leave or order of the Bankruptcy Court or any formal action
other than proceeding to confirm or consummate this Plan. The failure of the Debtor or
Reorganized Debtor to exercise any of the foregoing rights shall not be deemed a waiver of any
other rights, and each right shall be deemed an ongoing right that may be asserted at any time.

D.      Effect of Non-Occurrence of Conditions to Confirmation or Consummation

        If the Confirmation or the Consummation of this Plan does not occur, then this Plan shall
be null and void in all respects and nothing contained in this Plan or the Disclosure Statement
shall: (1) constitute a waiver or release of any claims by or Claims against or Equity Interests in
the Debtor; (2) prejudice in any manner the rights of the Debtor, any Holders or any other Person
or Entity; (3) constitute an Allowance of any Claim or Equity Interest; or (4) constitute an


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admission, acknowledgment, offer or undertaking by the Debtor, any Holders or any other Person
or Entity in any respect.

                                           ARTICLE X.

         RELEASE, DISCHARGE, INJUNCTION AND RELATED PROVISIONS

A.      General

        With respect to Class 7 Claims only, pursuant to section 1123 of the Bankruptcy Code, and
in consideration for the classification, distributions, releases, and other benefits provided under
this Plan, upon the Effective Date, the provisions of this Plan shall constitute a good faith
compromise and settlement of such Class 7 Claims.

        Notwithstanding anything contained herein to the contrary, the allowance, classification
and treatment of all Allowed Claims and Equity Interests and their respective distributions (if any)
and treatments hereunder, takes into account the relative priority and rights of the Claims and the
Equity Interests in each Class in connection with any contractual, legal and equitable subordination
rights relating thereto whether arising under general principles of equitable subordination, section
510 of the Bankruptcy Code or otherwise. As of the Effective Date, any and all contractual, legal
and equitable subordination rights, whether arising under general principles of equitable
subordination, section 510 of the Bankruptcy Code or otherwise, relating to the allowance,
classification and treatment of all Allowed Claims and Equity Interests and their respective
distributions (if any) and treatments hereunder, are settled, compromised, terminated and released
pursuant hereto; provided, however, that nothing contained herein shall preclude any Person or
Entity from exercising their rights pursuant to and consistent with the terms of this Plan and the
contracts, instruments, releases, indentures, and other agreements or documents delivered under
or in connection with this Plan.

B.      Release by the Debtor and its Estate

       Pursuant to section 1123(b) and any other applicable provisions of the Bankruptcy
Code, and except as otherwise expressly provided in this Plan, effective as of the Effective
Date, for good and valuable consideration provided by each of the Released Parties, the
adequacy and sufficiency of which is hereby confirmed, the Debtor, in its capacity as debtor-
in-possession, and the Reorganized Debtor, on behalf of themselves and the Estate, including,
without limitation, any successor to the Debtor or any Estate representative appointed or
selected pursuant to section 1123(b)(3) of the Bankruptcy Code (collectively, the “Debtor
Releasing Parties”) will be deemed to have conclusively, absolutely, unconditionally,
irrevocably, and forever provided a full discharge, waiver and release to each of the Released
Parties (and each such Released Party so released shall be deemed forever released, waived
and discharged by the Debtor Releasing Parties) and their respective assets and properties
(the “Debtor Release”) from any and all Claims, Causes of Action, Litigation Claims and any
other debts, obligations, rights, suits, damages, actions, remedies, and liabilities whatsoever,
whether known or unknown, foreseen or unforeseen, whether directly or derivatively held,
existing as of the Effective Date or thereafter arising, in law, at equity or otherwise, whether
for tort, contract, violations of federal or state securities laws, or otherwise, based in whole


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or in part upon any act or omission, transaction, or other occurrence or circumstances
existing or taking place prior to or on the Effective Date arising from or related in any way
in whole or in part to any of the Debtor or its Affiliates, including, without limitation, (i) the
Chapter 11 Case, the Disclosure Statement, this Plan, the Restructuring Documents, or the
Prepetition Revolving Loan Documents, (ii) the subject matter of, or the transactions or
events giving rise to, any Claim or Equity Interest that is treated in this Plan, (iii) the business
or contractual arrangements between the Debtor and any Released Parties, (iv) the
negotiation, formulation or preparation of this Plan, the Disclosure Statement, the Plan
Supplement, the Restructuring Documents, the Prepetition Revolving Loan Documents or
related settlements, agreements, instruments or other documents, (v) the restructuring of
Claims or Equity Interests prior to or during the Chapter 11 Case, (vi) the purchase, sale, or
rescission of the purchase or sale of any Equity Interest of the Debtor or the Reorganized
Debtor, and/or (vii) the Confirmation or Consummation of this Plan or the solicitation of
votes on this Plan that such Debtor Releasing Party would have been legally entitled to assert
(whether individually or collectively) or that any Holder of a Claim or Equity Interest or
other Person or Entity would have been legally entitled to assert for, or on behalf or in the
name of, the Debtor, its Estate or the Reorganized Debtor (whether directly or derivatively)
against any of the Released Parties; provided, however, that the foregoing provisions of this
Debtor Release shall not operate to waive or release the rights of such Debtor Releasing Party
to enforce this Plan and the contracts, instruments, releases, indentures, and other
agreements or documents delivered under or in connection with this Plan (including, without
limitation, the Exit Facility Credit Agreement) or assumed pursuant to this Plan or assumed
pursuant to Final Order of the Bankruptcy Court.

        The foregoing release will be effective as of the Effective Date without further notice
to or order of the Bankruptcy Court, act or action under applicable law, regulation, order,
or rule or the vote, consent, authorization or approval of any Person or Entity and the
Confirmation Order shall permanently enjoin the commencement or prosecution by any
Person or Entity, whether directly, derivatively or otherwise, of any claims, obligations, suits,
judgments, damages, demands, debts, rights, Causes of Action, or liabilities released
pursuant to this Debtor Release. Notwithstanding the foregoing, nothing in this Article X.B
shall or shall be deemed to (i) prohibit the Debtor or the Reorganized Debtor from asserting
and enforcing any claims, obligations, suits, judgments, demands, debts, rights, Causes of
Action or liabilities they may have against any Person or Entity that is based upon an alleged
breach of a confidentiality or non-compete obligation owed to the Debtor or the Reorganized
Debtor and/or (ii) operate as a release or waiver of any Intercompany Claims, in each case
unless otherwise expressly provided for in this Plan.

        Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval
of the Debtor Release, which includes by reference each of the related provisions and
definitions contained herein, and further, shall constitute the Bankruptcy Court’s finding
that the Debtor Release is: (i) in exchange for the good and valuable consideration provided
by the Released Parties; (ii) a good faith settlement and compromise of the Claims and
Causes of Action released by the Debtor Release; (iii) in the best interest of the Debtor and
its Estate; (iv) fair, equitable and reasonable; and (v) given and made after due notice and
opportunity for hearing.


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C.      Waiver of Statutory Limitations on Debtor Release

         Each of the Debtor Releasing Parties in each of the releases contained above expressly
acknowledges that although ordinarily a general release may not extend to claims which the Debtor
Releasing Party does not know or suspect to exist in its favor, which if known by it may have
materially affected its settlement with the party released, they have carefully considered and taken
into account in determining to enter into the above releases the possible existence of such unknown
losses or claims. Without limiting the generality of the foregoing, each Debtor Releasing Party
expressly waives any and all rights conferred upon it by any statute or rule of law which provides
that a release does not extend to claims which the claimant does not know or suspect to exist in its
favor at the time of providing the release, which if known by it may have materially affected its
settlement with the released party. Except as otherwise provided in this Plan, the releases
contained in this Plan are effective regardless of whether those released matters are presently
known, unknown, suspected or unsuspected, foreseen or unforeseen.

D.      Discharge of Claims and Equity Interests

       To the fullest extent provided under section 1141(d)(1)(A) and other applicable
provisions of the Bankruptcy Code, except as otherwise expressly provided by this Plan
(including, without limitation, Article V.E and Article V.F of this Plan) or the Confirmation
Order, effective as of the Effective Date, all consideration distributed under this Plan shall
be in exchange for, and in complete satisfaction, settlement, discharge, and release of, all
Claims, Equity Interests and Causes of Action of any kind or nature whatsoever against the
Debtor or any of its assets or properties, and regardless of whether any property shall have
been distributed or retained pursuant to this Plan on account of such Claims, Equity
Interests or Causes of Action.

       Except as otherwise expressly provided by this Plan (including, without limitation,
Article V.E and Article V.F of this Plan) or the Confirmation Order, upon the Effective Date,
the Debtor and its Estate shall be deemed discharged and released under and to the fullest
extent provided under sections 524 and 1141(d)(1)(A) and other applicable provisions of the
Bankruptcy Code from any and all Claims of any kind or nature whatsoever, including, but
not limited to, demands and liabilities that arose before the Confirmation Date, and all debts
of the kind specified in sections 502(g), 502(h), or 502(i) of the Bankruptcy Code. Such
discharge shall void any judgment obtained against the Debtor or the Reorganized Debtor
at any time, to the extent that such judgment relates to a discharged Claim.

         Except as otherwise expressly provided by this Plan (including, without limitation,
Article V.E and Article V.F of this Plan) or the Confirmation Order, upon the Effective Date:
(i) the rights afforded herein and the treatment of all Claims and Equity Interests shall be in
exchange for and in complete satisfaction, settlement, discharge, and release of all Claims
and Equity Interests of any nature whatsoever, including any interest accrued on such
Claims from and after the Petition Date, against the Debtor or any of its assets, property, or
Estate; (ii) all Claims and Equity Interests shall be satisfied, discharged, and released in full,
and the Debtor’s liability with respect thereto shall be extinguished completely without
further notice or action; and (iii) all Persons and Entities shall be precluded from asserting
against the Debtor, the Estate, the Reorganized Debtor, each of their respective successors

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and assigns, and each of their respective assets and properties, any such Claims or Equity
Interests, whether based upon any documents, instruments or any act or omission,
transaction, or other activity of any kind or nature that occurred prior to the Effective Date
or otherwise.

E.      Exculpation

        Effective as of the Effective Date, to the fullest extent permitted by law, the
Exculpated Parties shall neither have nor incur any liability to any Person or Entity for any
Claims, Causes of Action, or Released and Settled Claims for any act taken or omitted to be
taken on or after the Petition Date and on or before the Effective Date in connection with, or
related to, formulating, negotiating, preparing, disseminating, implementing, administering,
confirming or effecting the Confirmation or Consummation of this Plan, the Disclosure
Statement, the Restructuring Documents, or any contract, instrument, release or other
settlement, agreement or document created or entered into in connection with this Plan or
any other prepetition or postpetition act taken or omitted to be taken in connection with or
in contemplation of the restructuring of the Debtor, the approval of the Disclosure Statement
or Confirmation or Consummation of this Plan; provided, however, that the foregoing
provisions of this exculpation shall not operate to waive or release: (i) any Causes of Action
arising from willful misconduct, actual fraud, or gross negligence of such applicable
Exculpated Party as determined by Final Order of the Bankruptcy Court or any other court
of competent jurisdiction; and/or (ii) the rights of any Person or Entity to enforce this Plan
and the contracts, instruments, releases, indentures, and other agreements and documents
delivered under or in connection with this Plan or assumed pursuant to this Plan or Final
Order of the Bankruptcy Court; provided, further, that each Exculpated Party shall be
entitled to rely upon the advice of counsel concerning its respective duties pursuant to, or in
connection with, the above referenced documents, actions or inactions. The foregoing
exculpation shall be effective as of the Effective Date without further notice to or order of
the Bankruptcy Court, act or action under applicable law, regulation, order, or rule or the
vote, consent, authorization or approval of any Person or Entity. Notwithstanding the
foregoing, nothing in this Article X.E shall or shall be deemed to prohibit the Debtor or the
Reorganized Debtor from asserting and enforcing any claims, obligations, suits, judgments,
demands, debts, rights, Causes of Action or liabilities they may have against any Person or
Entity that is based upon an alleged breach of a confidentiality or non-compete obligation
owed to the Debtor or the Reorganized Debtor, in each case unless otherwise expressly
provided for in this Plan.

F.      Preservation of Causes of Action

        1. Maintenance of Causes of Action

        Except as otherwise provided in this Article X (including, without limitation, and for the
avoidance of doubt, the Debtor Release contained in Article X.B, and Exculpation contained in
Article X.E hereof) or elsewhere in this Plan or the Confirmation Order, after the Effective Date,
the Reorganized Debtor shall retain all rights to commence, pursue, litigate or settle, as
appropriate, any and all Litigation Claims, whether existing as of the Petition Date or thereafter
arising, in any court or other tribunal including, without limitation, in an adversary proceeding

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Filed in the Chapter 11 Case. The Reorganized Debtor, as the successor-in-interest to the Debtor
and the Estate, may, and shall have the exclusive right to, enforce, sue on, settle, compromise,
transfer or assign (or decline to do any of the foregoing) any or all of such Litigation Claims
without notice to or approval from the Bankruptcy Court.

        2. Preservation of All Causes of Action Not Expressly Settled or Released

        Except as expressly set forth in this Plan, the Debtor expressly reserves all Causes of Action
and Litigation Claims for later adjudication by the Debtor or the Reorganized Debtor (including,
without limitation, Causes of Action and Litigation Claims not specifically identified or of which
the Debtor may presently be unaware or which may arise or exist by reason of additional facts or
circumstances unknown to the Debtor at this time or facts or circumstances that may change or be
different from those the Debtor now believe to exist) and, therefore, no preclusion doctrine,
including, without limitation, the doctrines of res judicata, collateral estoppel, issue preclusion,
claim preclusion, waiver, estoppel (judicial, equitable or otherwise) or laches shall apply to such
Causes of Action or Litigation Claims upon or after the Confirmation or Consummation of this
Plan based on the Disclosure Statement, this Plan, or the Confirmation Order, except in each case
where such Causes of Action or Litigation Claims have been expressly waived, relinquished,
released, compromised or settled in this Plan (including, without limitation, and for the avoidance
of doubt, the Debtor Release contained in Article X.B and Exculpation contained in Article X.E
hereof) or any other Final Order (including, without limitation, the Confirmation Order). In
addition, the Debtor and the Reorganized Debtor expressly reserve the right to pursue or adopt any
claims alleged in any lawsuit in which the Debtor is a plaintiff, defendant or an interested party,
against any Person or Entity, including, without limitation, the plaintiffs or co-defendants in such
lawsuits.

        No Person or Entity may rely on the absence of a specific reference in this Plan, the Plan
Supplement, or the Disclosure Statement to any Cause of Action or Litigation Claim against them
as any indication that the Debtor or the Reorganized Debtor will not pursue any and all available
Causes of Action or Litigation Claims against them. The Debtor and the Reorganized Debtor
expressly reserve all rights to prosecute any and all Causes of Action and Litigation Claims against
any Person or Entity, except as otherwise expressly provided in this Plan or the Confirmation Order
(including, without limitation, and for the avoidance of doubt, the Debtor Release contained in
Article X.B and the Exculpation contained in Article X.E hereof).

G.      Injunction

       EXCEPT AS OTHERWISE EXPRESSLY PROVIDED IN THIS PLAN OR THE
CONFIRMATION ORDER, FROM AND AFTER THE EFFECTIVE DATE, ALL
PERSONS AND ENTITIES ARE, TO THE FULLEST EXTENT PROVIDED UNDER
SECTION 524 AND OTHER APPLICABLE PROVISIONS OF THE BANKRUPTCY
CODE, PERMANENTLY ENJOINED FROM (I) COMMENCING OR CONTINUING, IN
ANY MANNER OR IN ANY PLACE, ANY SUIT, ACTION OR OTHER PROCEEDING;
(II) ENFORCING, ATTACHING, COLLECTING, OR RECOVERING IN ANY MANNER
ANY JUDGMENT, AWARD, DECREE, OR ORDER; (III) CREATING, PERFECTING,
OR ENFORCING ANY LIEN OR ENCUMBRANCE; (IV) ASSERTING A SETOFF OR
RIGHT OF SUBROGATION OF ANY KIND; OR (V) COMMENCING OR CONTINUING

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IN ANY MANNER ANY ACTION OR OTHER PROCEEDING OF ANY KIND, IN EACH
CASE ON ACCOUNT OF OR WITH RESPECT TO ANY CLAIM, DEMAND,
LIABILITY, OBLIGATION, DEBT, RIGHT, CAUSE OF ACTION, EQUITY INTEREST,
OR REMEDY RELEASED OR TO BE RELEASED, EXCULPATED OR TO BE
EXCULPATED, SETTLED OR TO BE SETTLED OR DISCHARGED OR TO BE
DISCHARGED PURSUANT TO THIS PLAN OR THE CONFIRMATION ORDER
AGAINST ANY PERSON OR ENTITY SO RELEASED, DISCHARGED, OR
EXCULPATED (OR THE PROPERTY OR ESTATE OF ANY PERSON OR ENTITY SO
RELEASED, DISCHARGED, OR EXCULPATED). ALL INJUNCTIONS OR STAYS
PROVIDED FOR IN THE CHAPTER 11 CASE UNDER SECTION 105 OR SECTION 362
OF THE BANKRUPTCY CODE, OR OTHERWISE, AND IN EXISTENCE ON THE
CONFIRMATION DATE, SHALL REMAIN IN FULL FORCE AND EFFECT UNTIL
THE EFFECTIVE DATE.

H.      Binding Nature Of Plan

      ON THE EFFECTIVE DATE, AND EFFECTIVE AS OF THE EFFECTIVE DATE,
THIS PLAN SHALL BIND, AND SHALL BE DEEMED BINDING UPON, THE DEBTOR,
THE REORGANIZED DEBTOR, ANY AND ALL HOLDERS OF CLAIMS AGAINST
AND EQUITY INTERESTS IN THE DEBTOR, ALL PERSONS AND ENTITIES THAT
ARE PARTIES TO OR ARE SUBJECT TO THE SETTLEMENTS, COMPROMISES,
RELEASES, DISCHARGES, AND INJUNCTIONS DESCRIBED IN THIS PLAN, EACH
PERSON AND ENTITY ACQUIRING PROPERTY UNDER THIS PLAN, ANY AND ALL
NON-DEBTOR PARTIES TO EXECUTORY CONTRACTS AND UNEXPIRED LEASES
WITH THE DEBTOR AND THE RESPECTIVE SUCCESSORS AND ASSIGNS OF EACH
OF THE FOREGOING, TO THE MAXIMUM EXTENT PERMITTED BY APPLICABLE
LAW, AND NOTWITHSTANDING WHETHER OR NOT SUCH PERSON OR ENTITY
(I) WILL RECEIVE OR RETAIN ANY PROPERTY, OR INTEREST IN PROPERTY,
UNDER THIS PLAN, (II) HAS FILED A PROOF OF CLAIM OR INTEREST IN THE
CHAPTER 11 CASE OR (III) FAILED TO VOTE TO ACCEPT OR REJECT THIS PLAN,
AFFIRMATIVELY VOTED TO REJECT THIS PLAN OR IS CONCLUSIVELY
PRESUMED TO REJECT THIS PLAN.

I.      Released and Settled Claims

        Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, this Plan
incorporates an integrated compromise, settlement, and release of the Released and Settled Claims,
to achieve a beneficial and efficient resolution of this Chapter 11 Case for all parties in interest.
The entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, as of the
Effective Date, of the compromise or settlement of all such Released and Settled Claims and the
Bankruptcy Court’s determination that such compromises and settlements are in the best interests
of the Debtor, its Estate, the Reorganized Debtor, creditors, and all other parties in interest, and
are fair, equitable, and within the range of reasonableness. The compromises, settlements, and
releases described herein shall be deemed nonseverable from each other and from all other terms
of this Plan.




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J.      Protection Against Discriminatory Treatment

        To the extent provided by section 525 of the Bankruptcy Code and the Supremacy Clause
of the United States Constitution, all Persons and Entities, including Governmental Units, shall
not discriminate against the Reorganized Debtor or deny, revoke, suspend or refuse to renew a
license, permit, charter, franchise or other similar grant to, condition such a grant to, discriminate
with respect to such a grant, against the Reorganized Debtor, or another Person or Entity with
whom the Reorganized Debtor has been associated, solely because the Debtor has been a debtor
under chapter 11 of the Bankruptcy Code, has been insolvent before the commencement of the
Chapter 11 Case (or during the Chapter 11 Case but before the Debtor is granted or denied a
discharge) or has not paid a debt that is dischargeable in the Chapter 11 Case.

K.      Integral Part of Plan

       Each of the provisions set forth in this Plan with respect to the settlement, release,
discharge, exculpation, injunction, indemnification and insurance of, for or with respect to Claims
and/or Causes of Action are an integral part of this Plan and essential to its implementation.
Accordingly, each Person or Entity that is a beneficiary of such provision shall have the right to
independently seek to enforce such provision and such provision may not be amended, modified,
or waived after the Effective Date without the prior written consent of such beneficiary.

                                           ARTICLE XI.

                                RETENTION OF JURISDICTION

        Pursuant to sections 105(c) and 1142 of the Bankruptcy Code and notwithstanding the entry
of the Confirmation Order and the occurrence of the Effective Date, the Bankruptcy Court shall,
on and after the Effective Date, retain exclusive jurisdiction over the Chapter 11 Case and all
Persons and Entities with respect to all matters related to the Chapter 11 Case, the Debtor, and this
Plan as legally permissible, including, without limitation, jurisdiction to:

        1. allow, disallow, determine, liquidate, classify, estimate or establish the priority or
secured or unsecured status of any Claim or Equity Interest, including, without limitation, the
resolution of any request for payment of any Administrative Claim and the resolution of any and
all objections to the allowance or priority of any such Claim or Equity Interest;

        2. grant or deny any applications for allowance of compensation or reimbursement of
expenses authorized pursuant to the Bankruptcy Code or this Plan, for periods ending on or before
the Effective Date; provided, however, that, from and after the Effective Date, the Reorganized
Debtor shall pay Professionals in the ordinary course of business for any work performed after the
Effective Date and such payment shall not be subject to the approval of the Bankruptcy Court;

        3. resolve any matters related to the assumption, assignment or rejection of any Executory
Contract or Unexpired Lease and to adjudicate and, if necessary, liquidate, any Claims arising
therefrom, including, without limitation, those matters related to any amendment to this Plan after
the Effective Date to add Executory Contracts or Unexpired Leases to the list of Executory
Contracts and Unexpired Leases to be assumed or rejected (as applicable);


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        4. resolve any issues related to any matters adjudicated in the Chapter 11 Case;

       5. ensure that distributions to Holders of Allowed Claims are accomplished pursuant to
the provisions of this Plan;

        6. decide or resolve any motions, adversary proceedings, contested or litigated matters
and any other Causes of Action that are pending as of the Effective Date or that may be commenced
in the future, and grant or deny any applications involving the Debtor that may be pending on the
Effective Date or instituted by the Reorganized Debtor after the Effective Date, provided, however
that the Reorganized Debtor shall reserve the right to commence actions in all appropriate forums
and jurisdictions;

       7. enter such orders as may be necessary or appropriate to implement or consummate the
provisions of this Plan and all other contracts, instruments, releases, indentures and other
agreements or documents adopted in connection with this Plan, the Plan Supplement or the
Disclosure Statement;

       8. resolve any cases, controversies, suits or disputes that may arise in connection with the
Consummation, interpretation or enforcement of this Plan or any Person’s or Entity’s obligations
incurred in connection with this Plan;

       9. hear and determine all Causes of Action that are pending as of the Effective Date or
that may be commenced in the future;

        10. issue injunctions and enforce them, enter and implement other orders or take such other
actions as may be necessary or appropriate to restrain interference by any Person or Entity with
Consummation or enforcement of this Plan;

       11. enforce the terms and conditions of this Plan, the Confirmation Order, and the
Restructuring Documents;

        12. resolve any cases, controversies, suits or disputes with respect to the Debtor Release,
the Exculpation, the Indemnification and other provisions contained in Article X hereof and enter
such orders or take such others actions as may be necessary or appropriate to implement or enforce
all such provisions;

        13. hear and determine all Litigation Claims;

       14. enter and implement such orders or take such other actions as may be necessary or
appropriate if the Confirmation Order is modified, stayed, reversed, revoked or vacated;

        15. resolve any other matters that may arise in connection with or relate to this Plan, the
Disclosure Statement, the Confirmation Order or any release or exculpation adopted in connection
with this Plan; and

        16. enter an order concluding or closing the Chapter 11 Case.




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        Notwithstanding the foregoing, (i) any dispute arising under or in connection with the Exit
Facility shall be dealt with in accordance with the provisions of the applicable document and (ii)
if the Bankruptcy Court abstains from exercising, or declines to exercise, jurisdiction or is
otherwise without jurisdiction over any matter arising in, arising under, or related to the Chapter
11 Case, including the matters set forth in this Article of this Plan, the provisions of this Article
XI shall have no effect upon and shall not control, prohibit, or limit the exercise of jurisdiction by
any other court having jurisdiction with respect to such matter.

                                           ARTICLE XII.

                               MISCELLANEOUS PROVISIONS

A.      Substantial Consummation

      “Substantial Consummation” of this Plan, as defined in 11 U.S.C. § 1101(2), shall be
deemed to occur on the Effective Date.

B.      Payment of Statutory Fees; Post-Effective Date Fees and Expenses

        All fees due and payable pursuant to section 1930 of Title 28 of the U.S. Code prior to the
Effective Date shall be paid by the Debtor in full in cash on the Effective Date. On and after the
Effective Date, the Reorganized Debtor shall pay any and all such fees when due and payable in
full in cash, and shall file with the Bankruptcy Court quarterly reports in a form reasonably
acceptable to the United States Trustee. The Debtor shall remain obligated to pay quarterly fees
to the Office of the United States Trustee until the earliest of the Debtor’s case being closed,
dismissed, or converted to a case under Chapter 7 of the Bankruptcy Code. Notwithstanding
anything else in this Plan to the contrary, the United States Trustee is not required to file any proof
of claim or other request for payment of quarterly fees. Interest, if any, on quarterly fees shall be
paid pursuant to 31 U.S.C. § 3717. Notwithstanding anything else in this Plan to the contrary,
nothing in this Plan will release or discharge liability for quarterly fees.

        The Reorganized Debtor shall pay the liabilities and charges that it incurs on or after the
Effective Date for Professionals’ fees, disbursements, expenses, or related support services
(including reasonable fees, costs and expenses incurred by Professionals relating to the preparation
of interim and final fee applications and obtaining Bankruptcy Court approval thereof) in the
ordinary course of business and without application or notice to, or order of, the Bankruptcy Court,
including, without limitation, the reasonable fees, expenses, and disbursements of the Distribution
Agents, and the fees, costs and expenses incurred by Professionals in connection with the
implementation, enforcement and Consummation of this Plan and the Restructuring Documents.

C.      Conflicts

        In the event that a provision of the Restructuring Documents or the Disclosure Statement
(including any and all exhibits and attachments thereto) conflicts with a provision of this Plan or
the Confirmation Order, the provision of this Plan and the Confirmation Order (as applicable) shall
govern and control to the extent of such conflict. In the event that a provision of this Plan conflicts
with a provision of the Confirmation Order, the provision of the Confirmation Order shall govern
and control to the extent of such conflict.

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D.      Modification of Plan

        Effective as of the date hereof and subject to the limitations and rights contained in this
Plan: (a) the Debtor reserves the right, in accordance with the Bankruptcy Code and the
Bankruptcy Rules, to amend or modify this Plan prior to the entry of the Confirmation Order in a
manner acceptable to the Parent in accordance with section 1127(a) of the Bankruptcy Code; and
(b) after the entry of the Confirmation Order, the Debtor or the Reorganized Debtor, as applicable,
may, upon order of the Bankruptcy Court, amend or modify this Plan in a manner acceptable to
the Parent in accordance with section 1127(b) of the Bankruptcy Code or to remedy any defect or
omission or reconcile any inconsistency in this Plan in such manner as may be necessary to carry
out the purpose and intent of this Plan. A Holder of a Claim that has accepted this Plan shall be
deemed to have accepted this Plan, as altered, amended or modified, if the proposed alteration,
amendment or modification does not materially and adversely change the treatment of the Claim
of such Holder.

E.      Revocation or Withdrawal of Plan

        The Debtor reserves the right to revoke or withdraw this Plan prior to the Effective Date
and/or to File subsequent chapter 11 plans. If the Debtor revokes or withdraws this Plan, or if
Confirmation or Consummation of this Plan does not occur, then: (1) this Plan shall be null and
void in all respects; (2) any settlement or compromise embodied in this Plan (including, without
limitation, the Global Settlement), assumption or rejection of Executory Contracts or Unexpired
Leases effected by this Plan and any document or agreement executed pursuant hereto shall be
deemed null and void except as may be set forth in a separate order entered by the Bankruptcy
Court; and (3) nothing contained in this Plan shall: (a) constitute a waiver or release of any Claims
by or against, or any Equity Interests in, the Debtor or any other Person or Entity; (b) prejudice in
any manner the rights of the Debtor or any other Person or Entity; or (c) constitute an admission,
acknowledgement, offer or undertaking of any sort by the Debtor or any other Person or Entity.

F.      Successors and Assigns

        This Plan shall be binding upon and inure to the benefit of the Debtor, the Reorganized
Debtor, all present and former Holders of Claims and Equity Interests, other parties-in-interest,
and their respective heirs, executors, administrators, successors, and assigns. The rights, benefits,
and obligations of any Person or Entity named or referred to in this Plan shall be binding on, and
shall inure to the benefit of, any heir, executor, administrator, successor, or assign of such Person
or Entity.

G.      Reservation of Rights

        Except as expressly set forth herein, this Plan shall have no force or effect unless and until
the Bankruptcy Court enters the Confirmation Order and this Plan is Consummated. Neither the
filing of this Plan, any statement or provision contained herein, nor the taking of any action by the
Debtor or any other Person or Entity with respect to this Plan shall be or shall be deemed to be an
admission or waiver of any rights of: (1) the Debtor with respect to the Holders of Claims or Equity
Interests or other Person or Entity; or (2) any Holder of a Claim or an Equity Interest or other
Person or Entity prior to the Effective Date.


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H.      Further Assurances

        The Debtor or the Reorganized Debtor, as applicable, all Holders of Claims receiving
distributions hereunder and all other Persons and Entities shall, from time to time, prepare, execute
and deliver any agreements or documents and take any other actions as may be necessary or
advisable to effectuate the provisions and intent of this Plan or the Confirmation Order.

I.      Severability

         If, prior to the Confirmation Date, any term or provision of this Plan is determined by the
Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court will have the power
to alter and interpret such term or provision to make it valid or enforceable to the maximum extent
practicable, consistent with the original purpose of the term or provision held to be invalid, void,
or unenforceable, and such term or provision will then be applicable as altered or interpreted.
Notwithstanding any such holding, alteration or interpretation, the remainder of the terms and
provisions of this Plan will remain in full force and effect and will in no way be affected, impaired,
or invalidated by such holding, alteration, or interpretation. The Confirmation Order will
constitute a judicial determination and will provide that each term and provision of this Plan, as it
may have been altered or interpreted in accordance with the foregoing, is valid and enforceable
pursuant to its terms.




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J.      Service of Documents

        Any notice, direction or other communication given regarding the matters contemplated by
this Plan (each, a “Notice”) must be in writing, sent by personal delivery, electronic mail, courier
or facsimile and addressed as follows:


                        AIG Financial Products Corp.
                        50 Danbury Road
                        Wilton, CT 06897
                        Attn: Paul Stubbs
                        Telephone: 203.529.9494
                        Fax: 203.529.9994
                        Email: paul.stubbs@aig.com

                        with a copy to:

                        Latham & Watkins LLP
                        1271 Avenue of the Americas
                        New York, NY 10020
                        Attn: George A. Davis, Keith A. Simon, David A. Hammerman,
                        Annemarie V. Reilly and Madeleine C. Parish
                        Telephone: 212.906.1200
                        Fax: 212.751.4864
                        Emails: george.davis@lw.com, keith.simon@lw.com,
                        david.hammerman@lw.com, annemarie.reilly@lw.com and
                        madeleine.parish@lw.com

                        and

                        Young Conaway Stargatt & Taylor LLP
                        Rodney Square
                        1000 North King Street
                        Wilmington, Delaware 19801
                        Attn: Michael R. Nestor, Kara Hammond Coyle, Shane M. Reil, and
                        Catherine C. Lyons
                        Telephone: 302.571.6600
                        Facsimile: 302.571.1253
                        Emails: mnestor@ycst.com, kcoyle@ycst.com, sreil@ycst.com, and
                        clyons@ycst.com


         A Notice is deemed to be given and received (a) if sent by personal delivery or courier, on
the date of delivery if it is a Business Day and the delivery was made prior to 4:00 p.m. (local time
in place of receipt) and otherwise on the next Business Day, or (b) if sent by facsimile, on the
Business Day following the date of confirmation of transmission by the originating facsimile, or
(c) if sent by electronic mail, when the sender receives an email from the recipient acknowledging

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receipt, provided, that, an automatic “read receipt” does not constitute acknowledgment of an
email for purposes of this Section. Any party may change its address for service from time to time
by providing a Notice in accordance with the foregoing. Any element of a party’s address that is
not specifically changed in a Notice will be assumed not to be changed. Sending a copy of a Notice
to a party’s legal counsel as contemplated above is for information purposes only and does not
constitute delivery of the Notice to that party. The failure to send a copy of a Notice to legal
counsel does not invalidate delivery of that Notice to a party.

K.      Exemption from Transfer Taxes Pursuant to Section 1146(a) of the Bankruptcy Code

        Pursuant and to the fullest extent permitted by section 1146(a) of the Bankruptcy Code,
any issuance, transfer, or exchange of a security, or the making or delivery of an instrument of
transfer of property, pursuant to or in connection with this Plan or the Restructuring Documents
shall not be subject to any Stamp or Similar Tax or governmental assessment in the United States
or by any other Governmental Unit, and the Confirmation Order shall direct the appropriate
federal, state or local (domestic or foreign) governmental officials or agents to forgo the collection
of any such Stamp or Similar Tax or governmental assessment and to accept for filing and
recordation instruments or other documents evidencing such action or event without the payment
of any such Stamp or Similar Tax or governmental assessment.

L.      Governing Law

        Except to the extent that the Bankruptcy Code, the Bankruptcy Rules or other federal law
is applicable, or to the extent that a Restructuring Document or an exhibit or schedule to this Plan
provides otherwise, the rights and obligations arising under this Plan shall be governed by, and
construed and enforced in accordance with, the laws of the State of Delaware, without giving effect
to the principles of conflicts of law of such jurisdiction.

M.      Tax Reporting and Compliance

       The Reorganized Debtor is hereby authorized, on behalf of the Debtor, to request an
expedited determination under section 505(b) of the Bankruptcy Code of the tax liability of the
Debtor for all taxable periods ending after the Petition Date through and including the Effective
Date.

N.      Schedules

       All exhibits and schedules to this Plan, including the Exhibits and Plan Schedules, are
incorporated herein and are a part of this Plan as if set forth in full herein.

O.      No Strict Construction

        This Plan is the product of extensive discussions and negotiations between and among,
inter alia, the Debtor, the Parent, and their respective professionals. Each of the foregoing was
represented by counsel of its choice who either participated in the formulation and documentation
of, or was afforded the opportunity to review and provide comments on, this Plan, the Disclosure
Statement, the Exhibits and the Plan Schedules, and the agreements and documents ancillary or
related thereto. Accordingly, unless explicitly indicated otherwise, the general rule of contract

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construction known as “contra proferentem” or other rule of strict construction shall not apply to
the construction or interpretation of any provision of this Plan, the Disclosure Statement, the
Exhibits or the Plan Schedules, or the documents ancillary and related thereto.

P.      Entire Agreement

        Except as otherwise provided herein or therein, this Plan and the Restructuring Documents
supersede all previous and contemporaneous negotiations, promises, covenants, agreements,
understandings, and representations on such subjects, all of which have become merged and
integrated into this Plan and the Restructuring Documents.

Q.      Closing of Chapter 11 Case

       The Reorganized Debtor shall, promptly after the full administration of the Chapter 11
Case, File with the Bankruptcy Court all documents required by Bankruptcy Rule 3022 and any
applicable order of the Bankruptcy Court to close the Chapter 11 Case.

R.      2002 Notice Parties

        After the Effective Date, the Debtor and the Reorganized Debtor, as applicable, are
authorized to limit the list of Persons and Entities receiving documents pursuant to Bankruptcy
Rule 2002 to those Persons and Entities who have Filed a renewed request after the Confirmation
Hearing to receive documents pursuant to Bankruptcy Rule 2002; provided, however, that post-
Effective Date notices and pleadings shall be served on all parties whose rights are affected by
such notices or pleadings, even if such parties do not submit a renewed request for notice.




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Dated: December 14, 2022
                                     Respectfully submitted,

                                         AIG FINANCIAL PRODUCTS CORP.

                                         By:      /s/ William C. Kosturos
                                         Title:   Chief Restructuring Officer




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                                      Exhibit B

                                 Financial Projections




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                                      AIG Financial Products Corp.


Overview to Financial Projections

As a condition to Confirmation, the Bankruptcy Code requires, among other things, the Bankruptcy Court
to find that entry of a Confirmation Order is not likely to be followed by either a liquidation or the need to
further reorganize the Debtor or any successor to the Debtor. In accordance with this condition and in order
to assist each holder of a Claim in determining whether to vote to accept or reject the Debtor’s Joint Plan
of Reorganization Pursuant to Chapter 11 of the Bankruptcy Code (the "Plan"), the Debtor’s management
team ("Management"), with the assistance of its restructuring advisor, developed financial projections (the
"Financial Projections") to support the feasibility of the Plan, which were prepared as of December 14 2022.

The Financial Projections were prepared in good faith by Management, with the assistance of its
restructuring advisor, and are based on a number of assumptions made by Management, within the bounds
of their knowledge of the Debtor’s business and operations, with respect to the future performance of the
Debtor’s operations. In addition, the Financial Projections contain statements which constitute "forward-
looking statements" within the meaning of the Securities Act and the Securities Exchange Act of 1934, as
amended by the Private Securities Litigation Reform Act of 1995. Forward-looking statements in these
projections include the intent, belief, or current expectations of the Debtor and members of its Management
with respect to the timing of, completion of, and scope of the current restructuring, the Plan, the Debtor’s
strategic business plan, and the Debtor’s future liquidity, as well as the assumptions upon which such
statements are based. Although Management has prepared the Financial Projections in good faith and
believes the assumptions to be reasonable, it is important to note that the Debtor can provide no assurance
that such assumptions will be realized. Because future events and circumstances may well differ from those
assumed and unanticipated events or circumstances may occur, the Debtor expects that the actual and
projected results will differ and the actual results may be materially greater or less than those contained in
the Financial Projections and from those contemplated by such forward-looking statements. No
representations can be made as to the accuracy of the Financial Projections or the Debtor’s ability to achieve
the projected results. Therefore, the Financial Projections may not be relied upon as a guarantee or as any
other form of assurance as to the actual results that will occur. The inclusion of the Financial Projections
herein should not be regarded as an indication that the Debtor considered or consider the Financial
Projections to reliably predict future performance. Accordingly, in deciding whether to vote to accept or
reject the Plan, creditors should review the Financial Projections in conjunction with a review of the risk
factors set forth in the Disclosure Statement and the assumptions and risks described herein, including all
relevant qualifications and footnotes.

  AS ILLUSTRATED BY THE FINANCIAL PROJECTIONS, THE DEBTOR BELIEVES IT
  WILL HAVE SUFFICIENT LIQUIDITY TO PAY ITS OBLIGATIONS AND TO OPERATE
  ITS BUSINESS. THE DEBTOR BELIEVES THAT CONFIRMATION AND
  CONSUMMATION ARE NOT LIKELY TO BE FOLLOWED BY THE LIQUIDATION OR
  FURTHER REORGANIZATION OF THE COMPANY. ACCORDINGLY, THE COMPANY
  BELIEVES THAT THE PLAN SATISFIES THE FEASIBILITY REQUIREMENT OF
  SECTION 1129(a)(11) OF THE BANKRUPTCY CODE.



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The Financial Projections were not prepared with a view toward compliance with published rules of the
Securities and Exchange Commission or the American Institute of Certified Public Accountants regarding
projections. The Debtor’s independent auditor has not examined, compiled, or performed any procedures
with respect to the prospective financial information contained in this exhibit and, accordingly, it does not
express an opinion or any other form of assurance on such information or its achievability. The Debtor’s
independent auditor assumes no responsibility for and denies any association with the prospective financial
information.

Accordingly, neither the Debtor nor the reorganized company intends to and disclaim any obligation to: (1)
furnish updated Financial Projections to holders of Claims or Equity Interests prior to the Effective Date or
to any other party after the Effective Date, except as required by the Plan; (2) include any such updated
information in any documents that may be required to be filed with the Securities and Exchange
Commission; or (3) otherwise make such updated information publicly available.

The Debtor does not intend to update or otherwise revise the Financial Projections to reflect circumstances
that may occur after their preparation, or to reflect the occurrence of unanticipated events, even in the event
that any or all of the underlying assumptions are shown to be in error.

Additional information relating to the principal assumptions used in preparing the Financial Projections are
set forth below.

 THE FINANCIAL PROJECTIONS ARE BASED UPON A NUMBER OF SIGNIFICANT
 ASSUMPTIONS. ACTUAL OPERATING RESULTS AND VALUES MAY VARY
 SIGNIFICANTLY FROM THESE FINANCIAL PROJECTIONS.




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Select Assumptions of the Financial Projections

The Financial Projections are based on, but not limited to factors such as industry performance, general
business, economic, competitive, regulatory, market, and financial conditions, as well as the assumptions
detailed below. Many of these factors and assumptions are beyond the control of the Debtor and do not take
into account the uncertainty and disruptions of business that may accompany an in-court restructuring.
Accordingly, the assumptions should be reviewed in conjunction with a review of the risk factors set forth
in the Disclosure Statement.

       Methodology: The Financial Projections were developed by Management with the assistance of
        its restructuring advisor and are presented solely for purposes set forth herein and in the Disclosure
        Statement to which the Financial Projections are attached as Exhibit B. No representation or
        warranty, express or implied, is provided in relation to the fairness, accuracy, correctness,
        completeness, or reliability of the information, opinions, or conclusions expressed herein.

       Plan and Effective Date: The Financial Projections assume that the Plan will be consummated in
        accordance with its terms and that all transactions contemplated by the Plan will be consummated
        by [April 30, 2023] (the “Effective Date”). Any significant delay in the Effective Date may have a
        significant negative effect on the operations and financial performance of the Debtor including the
        incurrence of higher reorganization expenses. Although the Financial Projections represent the
        Debtor’s best estimates and good faith judgment of the results of future operations, financial
        position, and cash flows of the Debtor, they are only estimates and actual results may vary
        considerably from such Financial Projections. Consequently, the inclusion of the Financial
        Projections herein should not be regarded as a representation by the Debtor, the Debtor’s advisors
        or any other person that the projected results of operations, financial position, and cash flows of
        the Debtor will be achieved.

       Projection Period: The Debtor prepared the Financial Projections based on, among other things,
        the anticipated future financial condition and results of operations of the Debtor using the business
        plan. Management developed and refined the business plan and prepared consolidated Financial
        Projections of the Debtor for the fiscal years ending December 2023 (fiscal year (“FY”) 2023)
        through December 2026 (FY 2026) (the "Projection Period"). The end of the Projection Period
        coincides with the maturity of the Debtor’s primary remaining asset, which will continue to provide
        economic value to The Debtor through maturity.


       Operating Impacts: The Financial Projections incorporate multiple operating considerations
        including, but not limited to:
            o   Current and projected market conditions in which the Debtor operates;
            o   No material changes to existing operations;
            o   No new business undertakings, rather a continued winddown of existing operations;
            o   The Financial Projections do not consider any potential impact of the application of “fresh
                start” accounting under Accounting Standards Codification 852, “Reorganizations” (“ASC
                852”) that may potentially apply upon the Effective Date. If the Debtor determines the need to
                fully implement fresh start accounting, differences from the depiction presented are
                anticipated and those differences may be material. If required to apply the provisions of




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         ASC 852, upon emergence, the Debtor will be required to determine the amount by which
         its reorganization value as of the Effective Date exceeds, or is less than, the fair value at
         the time, which may be based on, any event, such valuation, as well as the determination
         of the fair value of the Debtor’s assets and liabilities, will be made as of the Effective Date.
         The differences between the amounts of any or all of the foregoing items as assumed in the
         Financial Projections and the actual amounts thereof as of the Effective Date may be
         material.



THE INDEPENDENT AUDITOR FOR THE DEBTOR HAS NOT EXAMINED, COMPILED OR
OTHERWISE PERFORMED ANY PROCEDURES ON THE FOLLOWING PROSPECTIVE
FINANCIAL INFORMATION, AND CONSEQUENTLY, DOES NOT EXPRESS AN OPINION
OR ANY OTHER FORM OF ASSURANCE WITH RESPECT TO THE PROSPECTIVE
FINANCIAL INFORMATION.




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                                     AIG FINANCIAL PRODUCTS CORP.
                                   PROJECTED STATEMENT OF OPERATIONS
                                               (UNAUDITED)



STATEMENT OF OPERATIONS                                           Notes         2023 1              2024             2025             2026
(USD MMs)
   Interest Income                                                 [1]      $            0 $               0 $              0 $              0
Net Revenue                                                                 $            0      $          0     $          0     $          0
   MTM Adjustments                                                 [2]               -                 -                -                -
Gross Margin                                                                $            0      $          0     $          0     $          0
   SG&A                                                            [3]                   (5)               (7)              (7)              (7)
Net Income Before Tax                                                       $            (5) $             (7) $            (7) $            (7)
   Income Taxes                                                    [4]               -                 -                -                -
Net Income                                                                  $            (5) $             (7) $            (7) $            (7)




1. Reflects the 8 month period following the confirmation date of 4/30/23




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                                   AIG FINANCIAL PRODUCTS CORP.
                                      PROJECTED BALANCE SHEET
                                             (UNAUDITED)



BALANCE SHEET                                      Notes       Dec-23            Dec-24           Dec-25           Dec-26
(USD MMs)
Assets:
 Cash                                               [5]    $        18 $              38 $             56 $             69
 Bonds                                                                  0                 0                0                0
 Derivatives (Net of Cash Collateral)                               -                 -                -                -
 Excess Cash Collateral Posted                                      -                 -                -                -
 Structured Leasing Transactions                                    -                 -                -                -
 Intercompany Receivables                           [6]                 0                 0                0                0
 Intracompany Receivables                           [7]             42                42               42               42
 Other Assets                                       [8]            216               189              163              143
 Investment in Subsidiaries                         [9]            173               173              173              173
Total Assets                                               $       449       $       442      $       435      $       428

Liabilities:
 Guaranteed Investment Contracts                                    -                 -                -                -
 Derivatives (Net of Cash Collateral)                               -                 -                -                -
 Excess Cash Collateral Held                                        -                 -                -                -
 Structured Leasing Transactions                                    -                 -                -                -
 Intercompany Payables                             [10]                 6                 6                6                6
 Intracompany Payables                             [11]            264               264              264              264
 AIG Inc. Revolver                                                  -                 -                -                -
 Other Issued Debt                                                  -                 -                -                -
 Other Liabilities                                 [12]             28                28               28               28
Total Liabilities                                          $       297       $       297      $       297      $       297
Total Equity                                       [13]            152               145              138              131
Total Liabilities + Equity                                 $       449       $       442      $       435      $       428




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                                        AIG FINANCIAL PRODUCTS CORP.
                                           PROJECTED CASH FLOWS
                                                 (UNAUDITED)



CASH FLOW                                                         Notes         2023 1              2024             2025             2026
(USD MMs)
   Inflows from Structured Leasing Transaction                     [14]     $        14 $                  27 $             26 $             20
   Shared Service Payments                                         [15]                  (4)               (6)              (6)              (6)
   Direct Expenses                                                 [16]                  (1)               (1)              (1)              (1)

Total Cash Flow                                                             $            9      $          20    $          18    $          13

   Beginning Cash Balance                                                                9                 18               38               56
   Net Cash Flow                                                                         9                 20               18               13

Ending Cash Balance                                                         $        18         $          38    $          56    $          69



1. Reflects the 8 month period following the confirmation date of 4/30/23




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                              NOTES TO FINANCIAL PROJECTIONS

Note [1] – Interest Income

Represents interest income on the cash balances held by the Debtor in its operating accounts.
Note [2] – MTM Adjustments
Represents mark-to-market adjustments to the Debtor’s financial assets and liabilities. After Effective Date, no
such MTM adjustments are assumed in the Financial Projections.
Note [3] – SG&A

Represents shared services and other payments on account of employee compensation, office rent, research
tools, data management, and other miscellaneous operating expenses.

Note [4] – Income Taxes

The Financial Projections do not anticipate any taxable income after the Effective Date.

Note [5] – Cash

Represents the Debtor’s projected cash balances.

Note [6] – Intercompany Receivables

Includes receivables from affiliate entities due to historical transactions. The Financial Projections do not
anticipate any changes to this balance.

Note [7] – Intracompany Receivables

Receivables from the Debtor’s subsidiaries in lieu of ordinary course transfers of cash and bonds prior to
petition date. The Financial Projections do not anticipate any changes to this balance.
Note [8] – Other Assets

Other Assets consist of:

1) A receivable for a credit linked note of approximately $66 million at emergence. The analysis assumes
   the asset is held until maturity, but it is a financial instrument that could be sold at any time.

2) A long-dated receivable with a mark-to-market value of approximately $7 million at emergence resulting
   from a terminated derivative. The analysis assumes the asset is held until receipt, which is beyond the
   forecast period.

3) Deferred Tax Asset accruals of approximately $154 million at emergence. The Financial Projections do
   not anticipate any changes to this balance.

4) Other prepaid expenses of approximately $3 million. The Financial Projections do not anticipate any
   changes to this balance.
Note [9] – Investment in Subsidiaries

The Financial Projections do not forecast changes in the equity value of the Debtor’s subsidiaries.
Note [10] – Intercompany Payables

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The Financial Projections do not forecast changes in the Intercompany Payables, which represents balances
with the Debtor’s parent and other affiliates.

Note [11] – Intracompany Payables

The Financial Projections do not forecast changes in the Intracompany Payables, which represents balances
with the Debtor’s subsidiaries.

Note [12] – Other Liabilities

The Financial Projections do not forecast changes in Other Liabilities, which represents accrued expenses
and certain balance sheet reserves.

Note [13] – Equity

Represents the Debtor’s net book value of shareholders’ equity.

Note [14] – Inflows from Structured Leasing Transaction

Represents the return of principal and interest from a credit linked note expiring in 2026.

Note [15] – Shared Service Payments

Includes payments for shared services provided by the Debtor’s affiliates, including employee
compensation, rent, and other miscellaneous operating expenses.

Note [16] – Direct Expenses

Represents payments made directly by the Debtor to third party professionals and vendors for miscellaneous
operating expenses.




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                                      Exhibit C

                                 Liquidation Analysis




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                                         LIQUIDATION ANALYSIS
                                         AIG Financial Products Corp.
I. INTRODUCTION
Section 1129(a)(7) of the Bankruptcy Code, often called the “best interests test,” requires that a bankruptcy
court find, as a condition of confirmation, that the Chapter 11 plan provides, with respect to each class, that
each holder of an Allowed Claim either (i) has accepted the plan of reorganization, or (ii) will receive or
retain under the plan property of a value, as of the plan’s assumed effective date, that is not less than the
value such non-accepting holders would receive or retain if the debtor were to be liquidated under chapter
7 of the Bankruptcy Code.
Accordingly, to demonstrate that the proposed Plan satisfies the “best interest” of creditors test, the Debtor,
with assistance from its restructuring advisor, has prepared the following hypothetical liquidation analysis
(“Liquidation Analysis”), in connection with the Plan and the Disclosure Statement.1 The Liquidation
Analysis indicates the estimated recoveries that may be obtained by Classes of Claims or Interests assuming
a hypothetical liquidation under chapter 7 of the Bankruptcy Code upon disposition of the Debtor’s assets
as an alternative to the Plan. Accordingly, the values discussed in the Liquidation Analysis may be different
from amounts referred to in the Plan. The Liquidation Analysis is based on certain assumptions in the
Disclosure Statement and in the accompanying notes to the Liquidation Analysis.
II. STATEMENT OF LIMITATIONS
The determination of the costs of, and proceeds from, the hypothetical liquidation of the Debtor’s assets in
a chapter 7 case is an uncertain process involving the extensive use of significant estimates and assumptions
that, although considered reasonable by the Debtor based upon its business judgment and input from certain
of its advisors, are inherently subject to significant business, economic, and competitive uncertainties and
contingencies beyond the control of the Debtor, its management and advisors. Inevitably, some assumptions
in the Liquidation Analysis would not materialize in an actual chapter 7 liquidation, and unanticipated
events and circumstances could materially affect the ultimate results in an actual chapter 7 liquidation. The
Liquidation Analysis was prepared for the sole purpose of generating a reasonable good faith estimate of
the proceeds that would be generated if the Debtor’s assets were liquidated in accordance with chapter 7 of
the Bankruptcy Code. The Liquidation Analysis is not intended and should not be used for any other
purpose. The underlying financial information in the Liquidation Analysis was not compiled or examined
by independent accountants in accordance with standards promulgated by the American Institute of
Certified Public Accountants.
NEITHER THE DEBTOR NOR ITS ADVISORS MAKE ANY REPRESENTATION OR WARRANTY
THAT THE ACTUAL RESULTS WOULD OR WOULD NOT APPROXIMATE THE ESTIMATES
AND ASSUMPTIONS REPRESENTED IN THE LIQUIDATION ANALYSIS. ACTUAL RESULTS
COULD VARY MATERIALLY. NOTHING CONTAINED IN THIS LIQUIDATION ANALYSIS IS
INTENDED TO BE, OR CONSTITUTES, A CONCESSION, ADMISSION, OR ALLOWANCE OF
ANY CLAIM BY THE DEBTOR. THE ACTUAL AMOUNT OR PRIORITY OF ALLOWED CLAIMS
IN THE CHAPTER 11 CASES COULD MATERIALLY DIFFER FROM THE ESTIMATED AMOUNTS
SET FORTH AND USED IN THIS LIQUIDATION ANALYSIS. THE DEBTOR RESERVES ALL
RIGHTS TO SUPPLEMENT, MODIFY, OR AMEND THE ANALYSIS SET FORTH HEREIN.


1
 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Disclosure
Statement for the Plan of Reorganization for AIG Financial Products Corp. Under Chapter 11 of the Bankruptcy
Code.

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III. OVERVIEW AND GENERAL ASSUMPTIONS
Hypothetical Chapter 7 recoveries set forth in this Liquidation Analysis were determined through
multiple steps, as set forth below. The basis of the Liquidation Analysis is the Debtor’s projected cash
balance and assets as of December 14, 2023 (the “Conversion Date”) and the net costs to execute the
administration of the wind down of the Estate. The Liquidation Analysis assumes that the Debtor
would commence a Chapter 7 liquidation on or about the Conversion Date under the supervision of a
court appointed Chapter 7 trustee. The Liquidation Analysis reflects the wind down and liquidation of
substantially all the Debtor’s remaining assets and the distribution of available proceeds to holders of
Allowed Claims during the period after the Conversion Date.

Summary Notes to Liquidation Analysis
1.      Dependence on Assumptions. The Liquidation Analysis depends on a number of estimates
     and assumptions. Although developed and considered reasonable by the management and the
     restructuring advisor of the Debtor, the assumptions are inherently subject to significant economic,
     business, regulatory and competitive uncertainties, and contingencies beyond the control of the
     Debtor or its management. The Liquidation Analysis is also based on the Debtor’s best judgment
     of how numerous decisions in the liquidation process would be resolved. Accordingly, there can
     be no assurance that the values reflected in the Liquidation Analysis would be realized if the
     Debtor was, in fact, to undergo such a liquidation and actual results could vary materially and
     adversely from those contained herein.
2.      Dependence on a Forecast Balance Sheet. This Liquidation Analysis contains numerous
     estimates that are subject to further legal and accounting analysis.
3.      No DIP facility assumed. The Liquidation Analysis assumes no DIP facility. The chapter 7
     case is assumed to be funded by cash on hand and liquidation of assets.
4.      Chapter 7 liquidation process. The liquidation of the Debtor’s assets is assumed to be
     completed over a 9-month period inside of a Chapter 7 case managed by the Chapter 7 trustee. The
     Chapter 7 trustee would manage the bankrupt estate to maximize recovery to creditors as
     expeditiously as possible and would appoint professionals to assist in the liquidation and wind
     down of the Estate. During this 9-month timeframe, the Debtor would complete a sale process to
     monetize its remaining financial assets and receivables, as well as administrative activities such
     as claims reconciliation, distributions to holders of various claims, and other activities necessary
     to wind down the estate.
5.      Claims Estimates. In preparing this Liquidation Analysis, the Debtor has preliminarily
     estimated an amount of Allowed Claims for each Class based upon a review of the Debtor’s
     estimated balance sheet. Administrative claims were estimated based on the company’s financial
     projections as of the Conversion Date. Additional Claims were estimated to include certain
     Chapter 7 administrative obligations incurred after the Conversion Date. The estimate of all
     allowed claims in this Liquidation Analysis is based on the estimated book value of those claims,
     where applicable. No order or finding has been entered or made by the Bankruptcy Court
     estimating or otherwise fixing the amount of Claims at the estimated amounts of Allowed Claims
     set forth in this Liquidation Analysis. The estimate of the amount of Allowed Claims set forth in
     this Liquidation Analysis should not be relied upon for any other purpose, including, without
     limitation, any determination of the value of any distribution to be made on account of Allowed
     Claims under the Plan. The actual amount of Allowed Claims could be materially different from
     the amount of Claims estimated in this Liquidation Analysis.


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    IV. CONCLUSION


    THE DEBTOR HAS DETERMINED, AS SUMMARIZED IN THE FOLLOWING ANALYSIS, THAT
    CONFIRMATION OF THE PLAN WILL PROVIDE CREDITORS WITH A RECOVERY THAT IS NOT
    LESS THAN WHAT THEY WOULD OTHERWISE RECEIVE IN CONNECTION WITH A
    LIQUIDATION OF THE DEBTOR UNDER CHAPTER 7 OF THE BANKRUPTCY CODE.


    V. LIQUIDATION ANALYSIS RESULTS


Presented below is a summary of asset recoveries and distributions to various classes of claims resulting
from the hypothetical Liquidation Analysis.2

       $ in millions                                                                                Estimated Liquidation Recovery
                                                         Notes   Pro Forma                             %                     $
       Assets
        Cash                                              [1]    $              9                     100%            $             9
        Bonds                                                                   0                       0%                        -
        Derivatives (Net of Cash Collateral)                                -                           0%                        -
        Excess Cash Collateral Posted                                       -                           0%                        -
        Structured Leasing Transactions                                     -                           0%                        -
        Intercompany Receivables                          [2]                 0                         0%                        -
        Intracompany Receivables                          [3]                42                       100%                         42
        Other Assets                                      [4]                75                        32%                         24
        Investment in Subsidiaries                        [5]               173                         0%                        -
       Total Assets and Estimated Gross Proceeds                 $          300                       25%             $           75

       Chapter 7 Wind-down Costs

                                                                                                                          Estimated
                                                                                                                          Expenses
       Professional Fees                                  [6]                                                                      (9)
       Operating Expenses                                 [7]                                                                      (6)
       Trustee Fees                                       [8]                                                                      (2)
       Total Chapter 7 Wind-down Costs                                                                                $          (17)

       Net Proceeds Available                                                                                         $           58

       Claims & Recoveries

                                                                                                         Estimated Recovery
                                                                 BS Liability        Claim             %                     $
       General Unsecured Claims                           [9]
       Revolving Loan Claims                                              37,438       37,438        0.15%                         58
       Intercompany Claims                                                   269          269        0.15%                        0.4
       Other General Unsecured Claims                                         28            8        0.15%                       0.01
       Total General Unsecured Claims                            $       37,735     $ 37,715         0.15%            $           58

       Remaining Distributable Value Before DCP Claims                                                                $          -

       Subordinated DCP Litigation Claims                                 [TBD]         [TBD]         0.00%                       -

       Total Claims / Recovery                                   $       37,735     $ 37,715         0.15%            $           58




2
 The estimated claim amounts reflected above may differ from the actual Allowed Claims, as this analysis is based
on preliminary estimates for such claims.

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VI. NOTES FOR PROCEEDS AVAILABLE FOR DISTRIBUTION
Note [1] – Cash and Cash Equivalents

The Liquidation Analysis assumes 100% recovery for all cash and cash equivalents.
Note [2] – Intercompany Receivables
Intercompany Receivables primarily consist of accounting accruals from affiliate entities for
historical transactions, assumed to have zero balance and assumed to have no recovery.
Note [3] – Intracompany Receivables
Intracompany Receivables represent amounts owed to the Debtor by its subsidiaries. In the ordinary
course of business, the Debtor transferred cash or bonds to certain of its subsidiaries to meet their
financial obligations including the posting of collateral. Any such transfers were offset by a
receivable from those subsidiaries. The obligations of FP and its subsidiaries are guaranteed by AIG
Inc. thus the Liquidation Analysis assumes FP receives a full recovery from its receivables.
Note [4] –Other Assets
Other Assets consists of:
1) A credit-linked note receivable from Gibraltar of approximately $66 million at emergence. For
   purposes of the Liquidation Analysis, three factors were taken into consideration that impact the
   estimated recovery from this asset: 1) discounting all future cash flows using presumed market
   rates for such products, 2) default risk on the underlying lease, and 3) fire sale discount to
   account for a quick Chapter 7 liquidation.
2) A long-dated receivable of with a mark-to-market value of approximately $7 million at
   emergence resulting from a terminated derivative. The value of the future receivable has been
   discounted to present value on the balance sheet and the analysis assumes a recovery of 50% of
   the reported value due to the difficulty of selling this asset in a liquidation.
3) Other prepaid expenses of approximately $2 million assumed to have no recovery in a Chapter 7
   liquidation.
Note [5] – Investment in Subsidiaries
The equity value of the Debtor’s subsidiaries consists primarily of intracompany receivables from the
Debtor and its other subsidiaries. Recoveries from these intracompany receivables by these subsidiaries
of the debtor are expected to be minimal, and any such minimal recovery by the Debtor’s subsidiaries is
expected to pay off potential subrogation claims by the Debtor’s parent AIG Inc. in lieu of AIG Inc.’s
guarantee payments to the Debtor on account of its Intracompany Receivables from its subsidiaries (see
Note 3 above). While AIG, Inc. has generally guaranteed all of the obligations of the Debtor, including
those to its subsidiaries, we have not included the value of the payment of the AIG FP subsidiaries’
intracompany claims as it would create an artificially inflated liquidation value of AIG FP as a result of
the return of the guaranteed amount(s) paid by AIG Inc. to AIG Inc. As a result, no recovery value is
projected from the Debtor’s investment in subsidiaries in the event of a Chapter 7 liquidation.
II.   WIND-DOWN COSTS
Note [6] – Professional Fees
Chapter 7 professional fees include costs for legal and financial advisors, and other professionals to
assist in the sale of assets, distributions, and winddown of the estate.

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Note [7] – Operating Expenses
Consist of shared service reimbursements and direct payments related to employee compensation,
office rent, research tools, data management, and other miscellaneous operating expenses.
Note [8] – Trustee Fees
Consistent with statutory guidelines, the Chapter 7 Trustee fee is estimated at 3% of total net
recovery (net of fees and expenses) to interested parties.
III.       UNSECURED CLAIMS

Note [9] – General Unsecured Claims

General Unsecured Claims include the AIG Inc. Revolver, intercompany claims and other unsecured
claims. The Liquidation Analysis estimates [0.15]% recovery to holders of General Unsecured
Claims.
       •   Revolving Loan Claims represent book value as of the Conversion Date.
       •   Intercompany Claims are asserted pari-passu with other general unsecured claims.
           Intercompany Claims represent estimated intercompany balances between affiliates and
           subsidiaries as of the Conversion Date.
       •   Other General Unsecured Claims represent the estimated amount of various accrued
           operating expenses and other payables as of the Conversion Date.



  IT SHOULD BE NOTED THAT NO ORDER OR FINDING HAS BEEN ENTERED OR MADE BY THE
  BANKRUPTCY COURT ESTIMATING OR OTHERWISE FIXING THE AMOUNT OF CLAIMS AT
  THE ESTIMATED AMOUNTS OF ALLOWED CLAIMS SET FORTH IN THE LIQUIDATION
  ANALYSIS. THE ESTIMATE OF THE AMOUNT OF ALLOWED CLAIMS SET FORTH IN THIS
  LIQUIDATION ANALYSIS SHOULD NOT BE RELIED UPON FOR ANY OTHER PURPOSE,
  INCLUDING, WITHOUT LIMITATION, ANY DETERMINATION OF THE VALUE OF ANY
  DISTRIBUTION TO BE MADE ON ACCOUNT OF ALLOWED CLAIMS UNDER THE PLAN. THE
  ACTUAL AMOUNT OF ALLOWED CLAIMS COULD BE MATERIALLY DIFFERENT FROM THE
  AMOUNT OF CLAIMS ESTIMATED IN THIS LIQUIDATION ANALYSIS.




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